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           EXHIBIT A
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                           DECLARATION IN SUPPORT OF
                     PLAINTIFF’S REQUEST FOR ATTORNEYS’ FEES

        “I, Jim Dunnam, under penalty of perjury, declare as follows:

        "My name is Jim Dunnam. I am over 18 years of age, and I live in McLennan County, Texas.

I have never been convicted of a crime, and I am fully competent to make this Declaration. I have

personal knowledge of the facts stated herein, and they are all true and correct.

        “I am the attorney for ProTradeNet LLC and Dwyer Franchising LLC in Consolidated Civil

Action No. 6:18-CV-38-ADA in the United States District Court for the Western District of Texas –

Waco Division. I am familiar with the file, records, and pleadings in this matter.

        “I am an attorney licensed to practice law in the State of Texas, and have been licensed since

May 1988. I am Board Certified by the Texas Board of Legal Specialization in Civil Trial Law, an area

and category of law within which the present case is situated. I have been licensed in the Western

District of Texas since September 7, 1989. I am also licensed in the Eastern District of Texas, the

United States Court of Appeals for the Fifth Circuit and the United States Supreme Court. I am also

licensed to practice law in the State of Colorado.

        “I have represented the ProTradeNet LLC and Dwyer Franchising LLC in this action since

its inception, and I am familiar with cases such as the present case, having fully handled numerous

similar cases. I am fully familiar with all of the proceedings in the present case. I am fully familiar

with the amount of work necessary to handle a case of this nature and the reasonable fees for such

work in McLennan County and in the Waco Division of the Western District of Texas. My opinions

are based on the factors established in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th

Cir. 1974), those included in Rule 1.04 of the Texas Disciplinary Rules of Professional Conduct, the

attorneys’ fees standard set forth by the Texas Supreme Court, as well as my participation in this case,

my prior experience and additional factors such as the following: the time and labor involved, the

novelty and difficulty of the questions involved, and the skill required to perform the legal services
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properly; the likelihood that the acceptance of the particular employment will preclude other

employment by myself and my firm; the fee customarily charged in the present locality for similar legal

services; the amount involved and the results to be obtained; the time limitations imposed by the client

or the circumstances; the nature and length of the professional relationship with the client; and

whether the fee is fixed or contingent on results obtained or uncertainty of collection before the legal

services have been rendered.

        “I have attached as Exhibit A to this Declaration a true and copy of the bill for work conducted

by my firm, Dunnam & Dunnam LLP, in this case. By virtue of my duties I am familiar with the

manner by which these records are created and maintained. These records are kept in the regular

course of business. The records were made at or near the time of each act, event, condition, opinion,

or diagnosis set forth. The records were made by, or from information transmitted by, persons with

knowledge of the matters set forth. It is the regular practice of the business activity to make the

records. The records attached are original or exact duplicates of the original.

        “In the attached records, for the present case my time is billed at the rates reflected in Exhibit

A. The time spent and amount charged reflected in the records for me are reasonable and necessary.

        “My legal associate, Andrea Mehta, billed for the present case at the rates reflected in Exhibit

A. She has been licensed to practice law in the State of Texas since November 4, 2011 and has been

licensed to practice law in the Western District of Texas since May 23, 2017. I have personally reviewed

all the time recorded by Ms. Mehta in this matter. The time spent and amount charged reflected in the

records are reasonable and necessary.

        “My legal associate, Eleeza Johnson, billed at the rates reflected in Exhibit A. She has been

licensed to practice in the State of Texas since May 2, 2008 and is licensed to practice law in the

Western District of Texas. I have personally reviewed all the time recorded by Eleeza Johnson in this

matter. The time spent and amount charged reflected in the records are reasonable and necessary.
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             "My former legal intern and current legal associate. Mason Dunnam, was billed at the rates

     reflected in Exhibit A. He has been licensed to practice law in the State of Texas since November

     2019 and is licensed to practice law in the Western District of Texas since January 13, 2020. I have

     personally reviewed all the tune recorded by Mason Dunnam in dus matter. The rime spent and

     aniount charged reflected in the records are reasonable and necessary.

             Legal assistant time of Nicole RatUff, Marie Zapata, and Leianne Eakin, as well as Baylor law

     student interns, are biUed at the rates reflected in Exhibit A. I have personally reviewed and have

     knowledge of the time that Ms. Ratliff, Ms. Zapata, and Ms. Eakin, as well as Baylor law student

     interns on those bUls, incurred in dus case working direcdy for me and at my direction and supervision.

     The time spent and amount charged as reflected in the records are reasonable and necessary.

             "These billed fees are supported by the detailed invoices and biUing records set forth as Exhibit

     A. The rime expended on this case was reasonable and necessary. The costs incurred were necessary

     for the lidgation of this case and reasonable in amount. In determining the Lodestar a court should

     usually consider the actual hours devoted to the case and the market hourly rate for the lawyer in

     question. It is my opinion the fees and expenses claimed in the provided statements are reasonable

     and necessary.

            "Assuming the case is appealed to the United States Court of Appeals for the Fifth Circuit,

     and ProTradeNet and Dwyer are successful, I estimate that a reasonable and necessary attorneys' fee
1>


     to handle such an appeal would be $100,000.00.

            "I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct."

            Executed on March 2, 2020.




                                                             ^I     u     -AM
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           EXHIBIT A
         to the Declaration of Jim Dunnam
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Dunnam & Dunnam, L.L.P.
4125 W. Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                       Balance         $16,827.42
Attn: Accounts Payable                                                                Invoice #       40188
1010 North University Parks Drive
Waco, Texas 76707                                                                     Invoice Date    April 12, 2018
                                                                                      Payment Terms   Due on Receipt
                                                                                      Due Date        April 12, 2018



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE    Activity         Description                                             Rate      Hours   Line Total

                                    Correspondence with Client re: Predictive Profiles;
12/20/2017   JD    Email                                                                   375.00      0.75     281.25
                                    Review and Analyze same

                                    Correspondence with Client; Review and Set up file
12/20/2017   NR    Email                                                                   125.00      0.50       62.50
                                    re: Same

                                    Correspondence with Client re: Analysis;
01/02/2018   JD    Email                                                                   375.00      0.25       93.75
                                    Telephone Call with AM re: Same

                                    Correspondence with Client re: Analysis and draft
01/04/2018   JD    Email                                                                   375.00      0.80     300.00
                                    letter to send; Review Client documents

                                    Correspondence with Client re: Case documents;
01/04/2018   NR    Email            Review and Download same; Edit and Send                125.00      0.60       75.00
                                    correspondence to A. Soffer

                                    Correspondence from A. Soffer re: Response to
01/05/2018   JD    Email                                                                   375.00      0.50     187.50
                                    Letter; Correspondence with client re: Same

                                    Correspondence from A. Soffer re: Response;
01/05/2018   NR    Email                                                                   125.00      0.25       31.25
                                    Correspondence with client re: Same

                                    Correspondence from client re: Franchisee
01/08/2018   JD    Email                                                                   375.00      0.40     150.00
                                    complaints; Review same

                                    Correspondence from Client re: Authorization of
01/09/2018   JD    Email                                                                   375.00      0.25       93.75
                                    SpeeDee

                                    Correspondence to Client re: Filing Suit; Research
01/10/2018   JD    Email            and Draft Plaintiff's Original Petition;               375.00      2.50     937.50
                                    Correspondence with client re: Same

                                    Correspondence with Client re: Complaint and
01/11/2018   JD    Email                                                                   375.00      0.50     187.50
                                    Termination; Interoffice meeting re: Same

                   Interoffice
01/11/2018   NR                     Meeting with JD and AM re: Filing Suit                 125.00      0.30       37.50
                   Conference
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                                     Correspondence with Client re: Termination Letter;
                                     Review and Analyze same; Interoffice meeting re:
01/12/2018   JD   Email              Same; Review and Analyze Plaintiff's Original            375.00   2.30   862.50
                                     Petition for filing; Correspondence with A. Soffer re:
                                     Petition

                                     Email correspondence with Client re: Termination
                  Documents
01/12/2018   NR                      Letter; Review and Edit Plaintiff's Original Petition;   125.00   0.75    93.75
                  Prepared
                                     Filing of the same

                                     Correspondence with A. Soffer re: Waiver of
01/15/2018   JD   Email                                                                       375.00   0.50   187.50
                                     Service; Researching same

                                     Correspondence with A. Soffer re: Waiver of
01/16/2018   JD   Email              Service and Local Counsel; Correspondence with           375.00   0.40   150.00
                                     Client re: Same

                                     Reminder to receive response from A. Soffer or
01/16/2018   NR   Calendar                                                                    125.00   0.25    31.25
                                     local counsel

01/30/2018   JD   Email              Correspondence with Client re: Service                   375.00   0.25    93.75

                                     Correspondence to A. Soffer re: Waiver of Service
01/31/2018   JD   Email                                                                       375.00   0.50   187.50
                                     and Concerns

                                     Correspondence with J. Mayfield re: Answer;
02/02/2018   JD   Email                                                                       375.00   0.40   150.00
                                     Correspondence with Client re: Same

                                     Interoffice phone conference to discuss notices of
02/09/2018   AM   Phone Conference   filing in federal court; have not received Notice of     275.00   0.25    68.75
                                     Removal

                  Documents          Motion for Removal and Defendant's Original
02/09/2018   JD                                                                               375.00   0.50   187.50
                  Reviewed           Answer

                  Documents          Motion for Removal and Defendant's Original
02/09/2018   NR                                                                               125.00   0.30    37.50
                  Reviewed           Answer; Downloading of Same

                                     JD/AM - conference re: removal/remand and
02/10/2018   AM   Meeting                                                                     275.00   0.25    68.75
                                     scheduling conference

02/10/2018   JD   Email              Correspondence with Client re: Removal                   375.00   0.40   150.00

                  Documents
02/24/2018   JD                      Predictive Profiles First Amended Complaint              375.00   0.25    93.75
                  Reviewed

                  Documents          Predictive Profiles Amended Complaint;
02/25/2018   JD                                                                               375.00   0.25    93.75
                  Reviewed           Correspondence with Client re: Same

                                     Correspondence with Client re: Predictive Profiles
02/26/2018   JD   Email                                                                       375.00   0.50   187.50
                                     Amended Complaint; Interoffice meeting re: Same

                  Interoffice        Interoffice Meeting re: Predictive Profiles Amended
02/26/2018   NR                                                                               125.00   0.25    31.25
                  Conference         Complaint

                                     Correspondence with J. Mayfield re: Waiver of
03/01/2018   JD   Email                                                                       375.00   0.75   281.25
                                     Service; Review and Research re: Same

03/02/2018   AM   Research           Research on Motion to Remand.                            275.00   0.50   137.50

                                     Intern: Performed legal research regarding
03/05/2018   AM   Research                                                                    125.00   4.00   500.00
                                     standard of remand with forum selection.

                  Interoffice
03/05/2018   JD                      Remand discussion with Andrea and Nicole                 375.00   0.20    75.00
                  Conference

                  Interoffice        Interoffice Meeting re: Remand; Correspondence
03/05/2018   JD                                                                               375.00   0.50   187.50
                  Conference         with Client re: Same
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                                   Correspondence with Client re: Complaints from
03/05/2018   JD   Email                                                                  375.00   0.40    150.00
                                   Franchisees; Phone Call to J. Mayfield re: Same

                                   Interoffice e-mail re: drafting of Motion for
03/06/2018   AM   Email                                                                  275.00   0.25     68.75
                                   Temporary Injunction

                                   Correspondence with J. Mayfield re: Complaints
03/06/2018   JD   Email            and Injunction; Researching re: Same;                 375.00   0.60    225.00
                                   Correspondence with client re: Same

                                   Correspondence with J. Mayfield and J. Klein re:
03/08/2018   JD   Email                                                                  375.00   0.30    112.50
                                   Conferring on Temporary Injunction

03/09/2018   JD   Phone Call       Call with Client re: Temporary Injunction             375.00   0.25     93.75

                                   Correspondence with Client and J. Klein re:
03/09/2018   JD   Email                                                                  375.00   0.40    150.00
                                   Complaints

                                   Correspondence with J. Klein re: Remand,
03/12/2018   JD   Email                                                                  375.00   0.50    187.50
                                   Scheduling Order, and Complaints

                                   Call with Client re: Temporary Injunction and
03/13/2018   JD   Phone Call                                                             375.00   0.30    112.50
                                   Meeting

                                   Correspondence with J. Klein re: Rule 26
                                   Conference and Scheduling Order; Interoffice
03/14/2018   JD   Email                                                                  375.00   0.75    281.25
                                   Meeting re: Same; Review Draft of Scheduling
                                   Order; Correspondence with Client re: Meeting

03/14/2018   NR   Email            Correspondence with Client re: Meeting                125.00   0.30     37.50

                                   Meeting with Mary, Grayson, and Christina re:
03/15/2018   NR   Meeting                                                                125.00   1.00    125.00
                                   Temporary Injunction

                                   Meeting with Mary, Grayson, and Christina re:
03/15/2018   JD   Meeting                                                                375.00   1.00    375.00
                                   Temporary Injunction

                                   Meeting with Mary, Grayson, and Christina re:
03/15/2018   AM   Meeting                                                                325.00   1.00    325.00
                                   Temporary Injunction

                  Documents
03/15/2018   AM                    Drafted Proposed Scheduling Order                     325.00   0.25     81.25
                  Prepared

                                   E-mail to JD re: case strategy and Proposed
03/15/2018   AM   Email                                                                  325.00   0.25     81.25
                                   Scheduling Order.

                                   Correspondence to J. Klein and J. Mayfield re:
03/16/2018   JD   Email                                                                  375.00   0.40    150.00
                                   Proposed Scheduling Order; Reviewing same

                                   Correspondence with Client re: Indeed fix;
03/21/2018   JD   Email            Correspondence with J. Mayfield and J. Klein re:      375.00   0.30    112.50
                                   Same

                  Documents        Correspondence to J. Klein and J. Mayfield re:
03/21/2018   NR                                                                          125.00   0.25     31.25
                  Prepared         Indeed fix

                                   Correspondence with J. Klein re: Proposed
03/23/2018   JD   Email                                                                  375.00   0.25     93.75
                                   Scheduling Order

                  Interoffice      Interoffice conference re: FRCP, timelines, and
03/28/2018   AM                                                                          325.00   0.50    162.50
                  Conference       OC's e-mail regarding scheduling order.

                                   Correspondence with opposing counsel and
                                   interoffice conference regarding status and options
03/28/2018   JD   Correspondence                                                         375.00   3.75   1,406.25
                                   moving forward with procedural intricacies of both
                                   cases.

                                   Correspondence with J. Klein re: Indeed fix and
03/28/2018   JD   Email            Scheduling Order; Correspondence with Client re:      375.00   1.25    468.75
                                   Same
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                  Documents         Drafted Motion for Scheduling Order/Report
03/29/2018   AM                                                                             325.00   1.00    325.00
                  Prepared          Pursuant to FRCP 26

                                    Proofread and made edits to Plaintiff's Motion for
                  Documents
03/29/2018   AM                     Proposed Scheduling Order and Report on Rule 26         325.00   1.75    568.75
                  Prepared
                                    Conference

                  Conference and
03/29/2018   JD                     Regarding motion and initial disclosure                 375.00   3.50   1,312.50
                  drafting/review

03/29/2018   AM   Email             E-mail to client re: unauthorized job postings.         325.00   0.25     81.25

                                    Review and Edit Motion for Scheduling Order;
                                    Prepare and Organize Exhibits re: Same;
                  Documents         Preparing and Filing Motion for Scheduling Order;
03/29/2018   NR                                                                             125.00   2.30    287.50
                  Prepared          Correspondence with J. Kline re: Same; Review
                                    and Edit Plaintiff's Initial Disclosures;
                                    Correspondence with Client re: Same

                                    Draft Initial Disclosures; Correspondence with
                  Documents         Client re: Same; Research and Draft Plaintiff's
03/29/2018   JD                                                                             375.00   3.00   1,125.00
                  Prepared          Opposed Motion for Entry of Proposed Scheduling
                                    Order and Report on Scheduling Conference

03/29/2018   JD   Email             Correspondence with Client re: Postings                 375.00   0.25     93.75

                                    Reviewed Predictive Profile's First Amended
                  Documents
04/02/2018   AM                     Complaint, performed legal research, and started        325.00   2.00    650.00
                  Prepared
                                    drafting Motion to Dismiss.

                                    Review Case file; Update information for April Case
04/02/2018   JD   Miscellaneous                                                             375.00   0.25     93.75
                                    Update

                                    Review Case file; Update information for April Case
04/02/2018   AM   Miscellaneous                                                             275.00   0.25     68.75
                                    Update

                                    Review Case file; Update information for April Case
04/02/2018   NR   Miscellaneous                                                             125.00   0.25     31.25
                                    Update

                                    Correspondence with Client re: Postings;
04/02/2018   JD   Email                                                                     375.00   0.25     93.75
                                    Correspondence to AM re: Same

                                    E-mailed OC regarding filing of Joint Motion for
04/03/2018   AM   Email                                                                     325.00   0.25     81.25
                                    Entry of Proposed Scheduling Order.

                                    Correspondence with OC re: Proposed Scheduling
                  Documents         Order; Drafting and Editing Joint Motion for Entry of
04/05/2018   NR                                                                             125.00   1.25    156.25
                  Prepared          Scheduling Order and Proposed Scheduling Order;
                                    Preparing and Filing of Same

                                    Review and Edit Motion for Entry of Scheduling
                  Documents
04/05/2018   JD                     Order and Proposed Scheduling Order;                    375.00   0.25     93.75
                  Prepared
                                    Correspondence re: Same

                  Documents         Review Judge's Order Mooting Opposed Motion for
04/06/2018   JD                                                                             375.00   0.25     93.75
                  Reviewed          Entry of Scheduling Order

                  Documents         Review Judge's Order Mooting Opposed Motion for
04/06/2018   NR                                                                             125.00   0.25     31.25
                  Reviewed          Entry of Scheduling Order

                                    Review Court's Order re: Initial Pretrial Conference;
04/10/2018   NR   Miscellaneous     Set up call in information re: Same;                    125.00   0.50     62.50
                                    Correspondence with Court and Counsel re: Same

                  Documents         Review and Download Order setting Initial Pretrial
04/10/2018   NR                                                                             125.00   0.40     50.00
                  Reviewed          Conference; Setting up conference re: Same

                  Documents
04/10/2018   JD                     Review Order Setting Initial Pretrial Conference        375.00   0.25     93.75
                  Reviewed
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                                                                    Totals:          54.55   $16,518.75

Expenses

Date         EE   Activity       Description                         Cost         Quantity    Line Total

01/12/2018   NR   E-Filing Fee   Plaintiff's Original Petition     308.67              1.0      308.67

                                                                            Expense Total:      $308.67


                                                                 Time Entry Sub-Total:       16,518.75
                                                                   Expense Sub-Total:           308.67
                                                                              Sub-Total:     16,827.42


                                                                                  Total:     16,827.42
                                                                       Amount Paid:                0.00

                                                                        Balance Due:         $16,827.42
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Dunnam & Dunnam, L.L.P.
4125 W. Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                            Balance         $30,110.42
Attn: Accounts Payable                                                                     Invoice #       40283
1010 North University Parks Drive
Waco, Texas 76707                                                                          Invoice Date    June 12, 2018
                                                                                           Payment Terms   Due on Receipt
                                                                                           Due Date        June 12, 2018



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity          Description                                                  Rate      Hours   Line Total

                                    Emails with Client re: Letter to Franchisees and
04/12/2018   JD   Correspondence    Letter to Predictive Profiles; Reviewing and Editing        375.00      1.25     468.75
                                    same

                                    Email with Client and JD re: Correspondence to
04/12/2018   NR   Correspondence                                                                125.00      0.25       31.25
                                    Predictive Profiles

                  Documents         Drafting and editing correspondence concerning
04/13/2018   JD                                                                                 375.00      0.80     300.00
                  Prepared          termination of PP

04/13/2018   JD   Phone Call        Jordan Mayfield                                             375.00      0.30     112.50

                                    Email with AM re: Examples of Predictive Profiles
04/14/2018   NR   Correspondence                                                                125.00      0.28       35.42
                                    actions

                  Documents
04/16/2018   AM                     Worked on Motion to Dismiss                                 325.00      0.50     162.50
                  Prepared

                                    Email from client re: Letter to Predictive; Drafting
04/16/2018   NR   Correspondence                                                                125.00      0.50       62.50
                                    and Formatting same

                  Documents         Review and edit correspondence to Predictive
04/16/2018   JD                                                                                 375.00      0.25       93.75
                  Reviewed          Profiles

                                    Email with NR re: Examples of Predictive Profiles
04/17/2018   AM   Correspondence                                                                325.00      0.25       81.25
                                    actions

                  Documents         Finalizing and Sending C&D letter to Predictive
04/17/2018   NR                                                                                 125.00      0.25       31.25
                  Prepared          Profiles

                  Documents
04/19/2018   JD                     First Request for Production to Defendant                   375.00      1.10     412.50
                  Prepared

                                    Correspondence regarding Defendants continued
04/19/2018   JD   Correspondence                                                                375.00      0.50     187.50
                                    use of brands and marks

04/19/2018   JD   Correspondence    Issues regarding confirmation of correspondence             375.00      0.40     150.00
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                                     Email to J. Klein and J. Mayfield re: ProTradeNet
                                     marks C&D; Correspondence with Client re:
04/19/2018   JD   Correspondence                                                          375.00   1.75    656.25
                                     Confirmation of receipt of letter


04/19/2018   NR   Correspondence     Email with Client re: Receipt of C&D Letter          125.00   0.50     62.50

                                     Sent e-mail re: question about contract
04/20/2018   AM   Email                                                                   325.00   0.25     81.25
                                     term/effective date.

                  Documents
04/20/2018   AM                      Worked on Motion to Dismiss                          325.00   0.50    162.50
                  Prepared

                                     Email with Client re: termination and
04/20/2018   JD   Correspondence                                                          375.00   0.50    187.50
                                     correspondence from J. Klein

04/20/2018   AM   Research           (Intern) Motion to Dismiss research                  125.00   6.00    750.00

                  Conference and     Exchanges with Mayfield and work on Dismissal
04/23/2018   JD                                                                           375.00   1.20    450.00
                  drafting/review    motion

                  Documents
04/23/2018   AM                      Worked on Motion to Dismiss draft.                   325.00   2.00    650.00
                  Prepared

                                     Correspondence from Client re: Communication to
04/23/2018   JD   Correspondence     Dina Dwyer; Correspondence with J. Klein re:         375.00   0.50    187.50
                                     Same

                  Documents          Finished Motion to Dismiss, proofread, added
04/24/2018   AM                                                                           325.00   6.00   1,950.00
                  Prepared           citations, and finalized for filing.

                                     Email correspondence with Client re: C. Bainbridge
04/24/2018   JD   Correspondence     direct communication and Injunction;                 375.00   0.75    281.25
                                     Correspondence with J. Klein re: Same

                  Documents          Review and Compile Exhibits for Motion to Dismiss;
04/24/2018   NR                                                                           125.00   1.00    125.00
                  Prepared           Filing and Downloading of Same

                  Documents
04/24/2018   JD                      Review, Edit and Research Motion to Dismiss          375.00   3.00   1,125.00
                  Prepared

                                     Researched Declaratory Judgment; conference
04/25/2018   AM   Research                                                                325.00   0.50    162.50
                                     with JD re: the same.

                                     Reviewed e-mail from client re: infringement and
04/25/2018   AM   Email                                                                   325.00   0.25     81.25
                                     responded to the same.

                                     Preparation for and Attending Telephonic
04/25/2018   JD   Hearing                                                                 375.00   1.00    375.00
                                     Conference with Court re: Scheduling

                                     Preparation for and Attending Telephonic
04/25/2018   NR   Hearing                                                                 125.00   0.50     62.50
                                     Conference with Court re: Scheduling

                                     Emails with client re: Trademarks and Amending
04/25/2018   JD   Correspondence                                                          375.00   1.25    468.75
                                     Pleading

04/26/2018   JD   Correspondence     Email with client re: Trademarks                     375.00   0.50    187.50

                  Documents          Draft and File Consent to Trial by US Magistrate
04/27/2018   NR                                                                           125.00   0.50     62.50
                  Prepared           Judge

                  Documents
04/27/2018   JD                      Review Consent to Trial by US Magistrate Judge       375.00   0.25     93.75
                  Reviewed

04/27/2018   JD   Correspondence     Email with Client re: Trademarks                     375.00   0.25     93.75

                                     Phone conference with Grayson and Mary
04/30/2018   AM   Phone Conference                                                        325.00   0.25     81.25
                                           Conference with JD re: the same.
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                  Documents        For case updates- January to April (.25 per month
04/30/2018   AM                                                                          325.00   1.00    325.00
                  Prepared         x 4 months)

                  Documents        For case updates- January to April (.25 per month
04/30/2018   NR   Prepared         x 4 months)                                           125.00   1.00    125.00


                  Documents        For case updates- January to April (.25 per month
04/30/2018   JD                                                                          375.00   1.00    375.00
                  Prepared         x 4 months)

04/30/2018   JD   Correspondence   Email with J. Klein re: Amendment and Trademarks      375.00   0.50    187.50

                  Documents
05/01/2018   JD                    Reviewed Motion to Extension of Time.                 375.00   0.25     93.75
                  Reviewed

                  Documents
05/01/2018   NR                    Monthly Case Updates                                  125.00   0.25     31.25
                  Prepared

                  Documents
05/01/2018   AM                    Monthly Case Updates                                  325.00   0.25     81.25
                  Prepared

                  Documents
05/01/2018   JD                    Monthly Case Updates                                  375.00   0.25     93.75
                  Prepared

                  Documents        Review and Edit Limited Trademark Enforcement
05/01/2018   JD                                                                          375.00   1.50    562.50
                  Reviewed         Assignment; Correspondence with Client re: Same

                                   Email with J. Klein, J. Mayfield, and R. Little re:
05/02/2018   JD   Correspondence   Extension on Rsp to Motion to Dismiss and             375.00   0.50    187.50
                                   Amended Petition

                                   Email with J. Klein re: Amended Petition;
                                   Research, Draft and Edit Motion for Leave and
05/03/2018   JD   Correspondence                                                         375.00   1.75    656.25
                                   Amended Complaint; Correspondence with Client
                                   re: Same

                  Documents        Review and Download Unopposed Motion for
05/07/2018   NR                                                                          125.00   0.25     31.25
                  Reviewed         Extension of Time

                  Documents        Review and Download Motion for Summary
05/14/2018   NR                                                                          125.00   0.25     31.25
                  Reviewed         Judgment

                  Documents        Review Motion for Summary Judgment;
05/14/2018   JD                                                                          375.00   1.00    375.00
                  Reviewed         Correspondence with Client

                                   Review, Edit and Research Motion for Leave to
                  Documents
05/15/2018   JD                    Amend and First Amended Complaint;                    375.00   4.00   1,500.00
                  Prepared
                                   Correspondence with Client re: Same

                  Documents        Review and Compile Exhibits for Motion for Leave
05/15/2018   NR                                                                          125.00   2.00    250.00
                  Prepared         to Amend and First Amended Complaint

                  Documents        Review, Edit and Research Motion for Leave to
05/15/2018   AM                                                                          325.00   3.00    975.00
                  Prepared         Amend and First Amended Complaint

                                   Review and Edit Motion for Leave to Amend and
                  Documents
05/16/2018   JD                    First Amended Complaint; Correspondence with          375.00   0.50    187.50
                  Prepared
                                   Client re: Same

                  Documents        Review, Edit and File Motion for Leave to Amend
05/16/2018   NR                                                                          125.00   0.50     62.50
                  Prepared         and First Amended Complaint

                                   Email from C. Bainbridge; Email with Client re:
05/18/2018   JD   Correspondence                                                         375.00   0.25     93.75
                                   Same

05/21/2018   JD   Correspondence   Email with Client re: "Code of Values Request"        375.00   0.25     93.75

05/23/2018   JD   Correspondence   Email with AM re: Response to Motion for Leave        375.00   0.25     93.75
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                  Interoffice
05/23/2018   AM                    Interoffice conference re: MSJ Response                325.00    0.25     81.25
                  Conference

                  Interoffice
05/23/2018   NR                    Meeting re: MSJ Response                               125.00    0.25     31.25
                  Conference

05/23/2018   JD   Interoffice      Meeting re: MSJ Response                               375.00    0.25     93.75
                  Conference

                  Documents        Reviewed Defendant's Memorandum in Opposition
05/24/2018   JD                                                                           375.00    0.25     93.75
                  Reviewed         to Motion

                  Documents        Reviewed Defendants Brief in Opposition to
05/24/2018   AM                                                                           325.00    0.25     81.25
                  Reviewed         Plaintiff's Motion to Dismiss

                  Documents        Reviewed Defendant's Memorandum in Opposition
05/24/2018   AM                                                                           325.00    0.50    162.50
                  Reviewed         to Motion

                  Documents
05/29/2018   JD                    Response to MSJ and Declaration                        375.00    1.50    562.50
                  Reviewed

                                   Email to R. Little re: Extension for Reply to Motion
                  Documents
05/29/2018   JD                    to Dismiss; Draft, Edit and Review Motion for          375.00    1.75    656.25
                  Prepared
                                   Summary Judgement Response

                  Documents        Review, Compile Exhibits, and File Response to
05/29/2018   NR                                                                           125.00    1.50    187.50
                  Prepared         Motion to Dismiss

                  Documents        Draft, Edit and Research Plaintiff's Response to
05/29/2018   AM                                                                           325.00    6.00   1,950.00
                  Prepared         Defendant's Motion for Summary Judgment

                  Documents        Draft, Review and research Plaintiff's Response to
05/29/2018   JD                                                                           375.00    2.00    750.00
                  Prepared         Defendant's Motion for Summary Judgment

05/30/2018   JD   Correspondence   Email with Client re: Trademarks and Status            375.00    0.25     93.75

                  Documents        Draft, Edit and File Unopposed Motion for
05/30/2018   NR                                                                           125.00    0.50     62.50
                  Prepared         Extension of Time

                                   Reviewed Response in Opposition to Motion for
                  Documents
05/30/2018   AM                    Leave and began drafting Reply. Email to JD            325.00    0.50    162.50
                  Reviewed
                                   regarding the same

                  Documents        Review Memorandum in Opposition to Motion to
05/31/2018   JD                                                                           375.00    0.50    187.50
                  Reviewed         Leave

                  Documents        Review and Download Memorandum in Opposition
05/31/2018   NR                                                                           125.00    0.25     31.25
                  Reviewed         to Motion to Leave

                  Documents        Review Memorandum Opposition to Motion to
05/31/2018   AM                                                                           325.00    0.50    162.50
                  Reviewed         Leave

                  Documents
06/01/2018   NR                    Draft and File ADR Report                              125.00    0.50     62.50
                  Prepared

                  Documents
06/01/2018   JD                    Review and Edit ADR Report                             375.00    0.25     93.75
                  Prepared

                  Documents        Review, Edit and Research Motion to Dismiss;
06/04/2018   JD                                                                           375.00    2.00    750.00
                  Prepared         Email with Client re: Same

                  Documents
06/04/2018   AM                    Reviewed research for MTD reply                        325.00    0.50    162.50
                  Reviewed

06/05/2018   AM   Research         (Intern) Research for Motion to Dismiss Reply          125.00   12.00   1,500.00

                  Documents        Review, Edit and Research Reply to Motion for
06/06/2018   JD                                                                           375.00    1.50    562.50
                  Reviewed         Leave to Amend
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                  Documents   finished draft of Reply to Motion for Leave,
06/06/2018   AM                                                                  325.00             4.00     1,300.00
                  Prepared    proofread, and filed

                  Documents   Review, Edit, and Research Reply to Motion to
06/07/2018   JD                                                                  375.00             4.00     1,500.00
                  Reviewed    Dismiss; Correspondence with Client re: Same

                  Documents   Drafted, edited, proofread, and filed Reply to
06/07/2018   AM                                                                  325.00             6.00     1,950.00
                  Prepared    Motion to Dismiss.

                                                                                  Totals:         104.08   $30,110.42


                                                                               Time Entry Sub-Total:       30,110.42
                                                                                            Sub-Total:     30,110.42


                                                                                                Total:     30,110.42
                                                                                     Amount Paid:                0.00

                                                                                      Balance Due:         $30,110.42
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                         Balance         $60,848.50
Attn: Accounts Payable                                                                  Invoice #       40658
1010 North University Parks Drive
Waco, TX 76707                                                                          Invoice Date    February 6, 2019
                                                                                        Payment Terms   Due on Receipt
                                                                                        Due Date        February 06, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity           Description                                                 Rate    Hours   Line Total

06/26/2018   AM   Email              from S. McCloskey re: update on case                     $325.00     0.25     $81.25

                                     to S. McCloskey re: no update; have not had a
06/27/2018   AM   Email                                                                       $325.00     0.25     $81.25
                                     ruling

                                     to J. Klein re: motions currently pending/
06/27/2018   JD   Email                                                                       $375.00     0.25     $93.75
                                     agreement to extension/

06/28/2018   JD   Email              from J. Mayfield re: agreement to extension              $375.00     0.25     $93.75

                                     to J. Mayfield re: review and edits to the Joint
06/28/2018   AM   Email                                                                       $325.00     0.25     $81.25
                                     Motion to Extend

                  Documents
06/29/2018   AM                      reviewed Proposed Order for Motion to Extend             $325.00     0.25     $81.25
                  Reviewed

06/29/2018   AM   Email              from J. Mayfield re: filing Motion                       $325.00     0.25     $81.25

                                     Reviewed Notice of Electronic Filing re: Joint
06/29/2018   AM   Email                                                                       $325.00     0.25     $81.25
                                     Motion to Extend Scheduling Order Deadlines

                                     Reviewed Notice of Electronic Filing re: Order
07/02/2018   AM   Email              Granting Motion to Extend Scheduling Order               $325.00     0.25     $81.25
                                     Deadlines

07/25/2018   AM   Phone Conference   conference call with GB re: potential next steps         $325.00     0.25     $81.25

                  Interoffice        interoffice conference re: the case and potential
07/25/2018   AM                                                                               $325.00     0.50    $162.50
                  Conference         next steps

                  Interoffice        interoffice conference re: the case and potential
07/25/2018   JD                                                                               $375.00     0.50    $187.50
                  Conference         next steps

08/01/2018   JD   Email              from G. Brown                                            $375.00     0.25     $93.75

                                     to G. Brown
08/01/2018   JD   Email                                                                       $375.00     0.25     $93.75
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08/01/2018   JD   Email         from G. Brown                                             $375.00   0.25    $93.75


                                from G. Brown
08/02/2018   AM   Email                                                                   $325.00   0.25    $81.25


08/02/2018   AM   Email         from G. Brown                                             $325.00   0.25    $81.25

08/03/2018   JD   Email         from G. Brown                                             $375.00   0.25    $93.75

                                to G. Brown
08/03/2018   JD   Email                                                                   $375.00   0.25    $93.75

                                from G. Brown
08/03/2018   JD   Email                                                                   $375.00   0.25    $93.75

08/03/2018   AM   Email         to J. Dunnam                                              $325.00   0.25    $81.25

08/03/2018   JD   Email         to A. Mehta                                               $375.00   0.25    $93.75

                                to G. Brown
08/03/2018   AM   Email                                                                   $325.00   0.25    $81.25

08/03/2018   AM   Email         from G. Brown                                             $325.00   0.25    $81.25

                                to J. Mayfield re: Proposed Order and Motion to
08/06/2018   AM   Email                                                                   $325.00   0.25    $81.25
                                Extend attachments

08/06/2018   AM   Email         from J. Mayfield re: agreed to file as Joint              $325.00   0.25    $81.25

                                Reviewed Notice of Electronic Filing re: Joint
08/06/2018   AM   Email                                                                   $325.00   0.25    $81.25
                                Motion to Extend Scheduling Order Deadlines

08/08/2018   AM   Discussion    discussed              with JD; drafted the same          $325.00   0.50   $162.50

                  Interoffice   reviewed Court's ruling; interoffice conference re:
08/23/2018   AM                                                                           $325.00   0.50   $162.50
                  Conference    the same

                  Interoffice   reviewed Court's ruling; interoffice conference re:
08/23/2018   JD                                                                           $375.00   0.50   $187.50
                  Conference    the same

                                interoffice conference re: Motion for Preliminary
                  Interoffice
08/24/2018   AM                 Injunction, discovery issues, and moving forward          $325.00   0.50   $162.50
                  Conference
                                with the case

                                interoffice conference re: Motion for Preliminary
                  Interoffice
08/24/2018   JD                 Injunction, discovery issues, and moving forward          $375.00   0.50   $187.50
                  Conference
                                with the case.

                                to M. Thompson re: information needed to get
08/24/2018   AM   Email                                                                   $325.00   0.25    $81.25
                                Motion for Preliminary Injunction filed.

                                from M. Thompson re: responding to A Mehta email
08/24/2018   AM   Email         re: information needed to file Motion for Preliminary     $325.00   0.25    $81.25
                                Injunction

08/24/2018   JD   Email         to J. Mayfield re: moving forward                         $375.00   0.25    $93.75

08/24/2018   JD   Email         from J. Klein re: providing copies of the complaints      $375.00   0.25    $93.75

                                to J. Klein re: will client agree to request for
08/24/2018   JD   Email                                                                   $375.00   0.25    $93.75
                                injunctive relief.

08/24/2018   JD   Email         from J. Klein re: listings                                $375.00   0.25    $93.75

                                to J. Klein: listings/ posting jobs for franchisees not
08/24/2018   JD   Email                                                                   $375.00   0.25    $93.75
                                open

                                from M. Thompson re: Predictive Profiles Job
08/24/2018   AM   Email                                                                   $325.00   0.25    $81.25
                                Application Process screen shot
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08/25/2018   JD   Email         from G. Brown re: filing the PI                       $375.00   0.25    $93.75

                  Interoffice   Interoffice conference re: Motion for Preliminary
08/28/2018   AM   Conference    Injunction                                            $325.00   0.25    $81.25


                  Interoffice   Interoffice Conference re: Motion for Preliminary
08/28/2018   JD                                                                       $375.00   0.25    $93.75
                  Conference    Injunction

                                from G. Brown re: documentation/emails regarding
09/04/2018   AM   Email                                                               $325.00   0.25    $81.25
                                Predictive Profiles

                  Documents     reviewed e-mails and made edits to Stanton
09/10/2018   AM                                                                       $325.00   2.50   $812.50
                  Prepared      declaration

09/10/2018   AM   Email         to G. Brown re: updated declaration                   $325.00   0.25    $81.25

                                from G. Brown re: fwd email re: another job posting
09/11/2018   AM   Email                                                               $325.00   0.25    $81.25
                                listed

                                to S. McCloskey
09/13/2018   AM   Email                                                               $325.00   0.25    $81.25

                                to G. Brown re: updated declaration/ added
09/13/2018   AM   Email                                                               $325.00   0.25    $81.25
                                additional comments

                                from M. Thompson re: attached requested job
09/13/2018   AM   Email                                                               $325.00   0.25    $81.25
                                posting

                                from L. Stanton re: updated content to the
09/13/2018   AM   Email                                                               $325.00   0.25    $81.25
                                declaration.

                                to G. Brown re: draft of the Motion for Preliminary
09/13/2018   AM   Email         Injunction/edits and additional edits to the          $325.00   0.25    $81.25
                                Declaration.

                                to G. Brown re: copy of the declaration with
09/14/2018   AM   Email                                                               $325.00   0.25    $81.25
                                additional edits

                  Interoffice
09/17/2018   AM                 Interoffice conference re: Preliminary Injunction     $325.00   0.25    $81.25
                  Conference

                  Interoffice
09/17/2018   JD                 Interoffice conference re: Preliminary Injunction     $375.00   0.25    $93.75
                  Conference

                                from G. Brown re: comments to the Motion for
09/19/2018   AM   Email                                                               $325.00   0.25    $81.25
                                Preliminary Injunction

09/20/2018   AM   Draft         updated drafted of Motion for PI                      $325.00   1.00   $325.00

09/20/2018   AM   Phone Call    called C. Smith re: e-mail needed                     $325.00   0.25    $81.25

                                to G. Brown re: incorporating edits to the current
09/20/2018   AM   Email                                                               $325.00   0.25    $81.25
                                version of the Motion for Preliminary Injunction

09/20/2018   AM   Email         from C. Smith re: executed declaration                $325.00   0.25    $81.25

                                to G. Brown re: updated draft of the Motion for
09/21/2018   AM   Email                                                               $325.00   0.25    $81.25
                                Preliminary Injunction / edits

                                to C. Smith re: filing Motion for Preliminary
09/21/2018   AM   Email                                                               $325.00   0.25    $81.25
                                Injunction

                                Reviewed Notice of Electronic Filing re: Order
09/23/2018   AM   Email                                                               $325.00   0.25    $81.25
                                reassigning Case

                  Documents     Redline of Preliminay Injunction to G. Brown
09/24/2018   AM                                                                       $325.00   0.25    $81.25
                  Reviewed

                  Documents     proofread Motion, made edits to Order, and
09/24/2018   AM                                                                       $325.00   2.00   $650.00
                  Prepared      reviewed all documents to prepare for filing
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                              from G. Brown re: responded to AM re: updated
09/24/2018   AM   Email                                                             $325.00   0.25    $81.25
                              draft of the Motion for Preliminary Injunction

09/24/2018   AM   Email       to G. Brown re: track changes version                 $325.00   0.25    $81.25


                              from G. Brown re: responded to AM email re: track
09/24/2018   AM   Email                                                             $325.00   0.25    $81.25
                              changes version

                              Reviewed Notice of Electronic Filing re: Motion for
09/24/2018   AM   Email                                                             $325.00   0.25    $81.25
                              Preliminary Injunction

09/25/2018   JD   Email       E-mail to OC re: scheduling order.                    $375.00   0.25    $93.75

09/25/2018   JD   Email       E-mail from OC re: scheduling order.                  $375.00   0.25    $93.75

09/25/2018   JD   Email       to J. Klein re: revised scheduling order              $375.00   0.25    $93.75

                              from J. Mayfield re: responded to JD email re:
09/25/2018   JD   Email                                                             $375.00   0.25    $93.75
                              revised scheduling order

09/26/2018   JD   Email       E-mail from OC re: extension on PI response.          $375.00   0.25    $93.75

09/26/2018   JD   Email       E-mail to OC.                                         $375.00   0.25    $93.75

09/26/2018   JD   Email       E-mail from OC re: trial.                             $375.00   0.25    $93.75

09/26/2018   JD   Email       E-mail re: no opposition.                             $375.00   0.25    $93.75

09/26/2018   JD   Email       E-mail from OC.                                       $375.00   0.25    $93.75

                  Documents
09/26/2018   JD               Reviewed OC's Motion for Extension of Time.           $375.00   0.25    $93.75
                  Reviewed

09/26/2018   JD   Email       from J. Mayfield re: Injunction filed/ extension      $375.00   0.25    $93.75

                              to J. Mayfield re: responded to J. Mayfield re:
09/26/2018   JD   Email                                                             $375.00   0.25    $93.75
                              extension

09/26/2018   JD   Email       from J. Mayfield re: same                             $375.00   0.25    $93.75

09/26/2018   JD   Email       to J. Mayfield re: unopposed                          $375.00   0.25    $93.75

09/26/2018   JD   Email       from J. Mayfield re: same                             $375.00   0.25    $93.75

09/27/2018   JD   Email       E-mail from GB.                                       $375.00   0.25    $93.75

09/27/2018   JD   Email       E-mail to GB re: update.                              $375.00   0.25    $93.75

09/27/2018   JD   Email       E-mail from GB.                                       $375.00   0.25    $93.75

09/27/2018   JD   Email       E-mail from GB forwarding postings.                   $375.00   0.25    $93.75

09/27/2018   AM   Research    Preliminary research for Reply.                       $325.00   0.75   $243.75

09/28/2018   AM   Email       E-mail re: supplementing Initial Disclosures.         $325.00   0.25    $81.25

09/28/2018   AM   Email       E-mail from CS.                                       $325.00   0.25    $81.25

09/28/2018   AM   Email       E-mail to CS.                                         $325.00   0.25    $81.25

09/28/2018   AM   Email       E-mail from CS.                                       $325.00   0.25    $81.25

                  Documents   Drafted proposed scheduling order. Discussed the
09/28/2018   AM                                                                     $325.00   0.75   $243.75
                  Prepared    same with JD.

                  Documents   Reviewed proposed scheduling order and
09/28/2018   JD                                                                     $375.00   0.50   $187.50
                  Prepared    discussed the same with AM.

09/28/2018   AM   Email       to G. Brown re: Initial Disclosures                   $325.00   0.25    $81.25

09/28/2018   AM   Email       from C. Smith re: Initial disclosures/ answers        $325.00   0.25    $81.25
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                               to C. Smith re: responded to C. Smith email re:
09/28/2018   AM   Email                                                              $325.00   0.25    $81.25
                               initial disclosures

10/01/2018   AM   Email        Sent proposed scheduling order to OC.                 $325.00   0.25    $81.25

10/01/2018   AM   Email        E-mail from OC re: proposed scheduling order.         $325.00   0.25    $81.25

10/01/2018   AM   Email        from C. Smith re: same                                $325.00   0.25    $81.25


                               to J. Mayfield re: draft of the Proposed Scheduling
10/01/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Order/ Edits

                               from J. Mayfield re: responded to AM email re:
10/01/2018   AM   Email                                                              $325.00   0.25    $81.25
                               draft of proposed scheduling order/ edits

                               E-mail from CS re: potential witnesses to add to
10/03/2018   AM   Email                                                              $325.00   0.25    $81.25
                               initial disclosures.

                  Documents    Added witnesses to Supplemental Initial Disclosure
10/03/2018   MZ                                                                      $125.00   1.00   $125.00
                  Prepared     draft; formatted the same.

10/10/2018   JD   Email        E-mail to OC about Scheduling Order.                  $375.00   0.25    $93.75

10/10/2018   JD   Email        E-mail from OC re: scheduling order.                  $375.00   0.25    $93.75

10/10/2018   JD   Email        E-mail from OC re: dates for hearing.                 $375.00   0.25    $93.75

10/10/2018   JD   Conference   Interoffice phone conference re: OC's request.        $375.00   0.25    $93.75

10/10/2018   AM   Conference   Interoffice phone conference re: OC's request.        $325.00   0.25    $81.25

10/10/2018   JD   Email        to J. Mayfield re: filing a motion                    $375.00   0.25    $93.75

                               from S. Keppler re: discussing and circulating
10/10/2018   JD   Email                                                              $375.00   0.25    $93.75
                               draft/edits of the proposed scheduling order

                               from J. Mayfield re: Injunction/Motion for Summary
10/10/2018   JD   Email                                                              $375.00   0.25    $93.75
                               Judgment and dates for trial

10/11/2018   AM   Email        Reviewed Court's text order re: extension.            $325.00   0.25    $81.25

                               Reviewed Notice of Electronic Filing re: Order
10/11/2018   AM   Email        Granting Motion for Extension of Time to file         $325.00   0.25    $81.25
                               Response/Reply

                               Reviewed Memorandum in Opposition filed by
                  Documents
10/16/2018   AM                Predictive; took notes re: the same; conference       $325.00   1.00   $325.00
                  Reviewed
                               with JD re: the same.

                  Documents    Reviewed Memorandum in Opposition and
10/16/2018   JD                                                                      $375.00   0.50   $187.50
                  Reviewed     discussed the same with AM.

10/16/2018   NR   Email        E-mail to client forwarding draft of PI response.     $125.00   0.25    $31.25

10/17/2018   AM   Email        E-mail from GB.                                       $325.00   0.25    $81.25

10/17/2018   JD   Email        E-mail re: adding to reply.                           $375.00   0.25    $93.75

10/17/2018   JD   Email        E-mail from GB.                                       $375.00   0.25    $93.75

10/17/2018   JD   Email        E-mail from GB.                                       $375.00   0.25    $93.75

10/17/2018   JD   Email        E-mail from GB re: damage model.                      $375.00   0.25    $93.75

                               Interoffice conference re: OC and Scheduling
10/18/2018   JD   Conference                                                         $375.00   0.25    $93.75
                               Order.

                               Interoffice conference re: OC and Scheduling
10/18/2018   AM   Conference                                                         $325.00   0.25    $81.25
                               Order.

10/18/2018   JD   Email        E-mail to OC on Scheduling Order issue.               $375.00   0.25    $93.75
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10/18/2018   JD   Email        Reply from OC re: hearing dates.                       $375.00   0.25    $93.75

10/18/2018   JD   Email        E-mail to OC re: timeline of Court's request.          $375.00   0.25    $93.75

10/18/2018   JD   Email        E-mail from OC.                                        $375.00   0.25    $93.75

10/18/2018   JD   Email        E-mail to OC re: clerk.                                $375.00   0.25    $93.75

10/18/2018   JD   Email        to J. Mayfield re: setting hearings on MSJ             $375.00   0.25    $93.75

10/18/2018   JD   Email        from J. Mayfield re: dates for hearing                 $375.00   0.25    $93.75

                               to J. Mayfield re: responded to email from J.
10/18/2018   JD   Email                                                               $375.00   0.25    $93.75
                               Mayfield re: dates for hearing

10/18/2018   JD   Email        from J. Mayfield re: providing dates for the hearing   $375.00   0.25    $93.75

                               to J. Mayfield re: responded to e-mail from J.
10/18/2018   JD   Email                                                               $375.00   0.25    $93.75
                               Mayfield re: dates for hearing

                               E-mail to OC forwarding Proposed Scheduling
10/19/2018   JD   Email                                                               $375.00   0.25    $93.75
                               Order and requesting conference.

10/19/2018   JD   Email        E-mail from OC.                                        $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail to OC.                                          $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail from OC re: timeframe.                          $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail to clients re: PI hearing dates.                $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail from WG re: hearing availability.               $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail from GB.                                        $375.00   0.25    $93.75

10/19/2018   AM   Email        E-mail re: supplemental initial disclosures.           $325.00   0.25    $81.25

10/19/2018   JD   Email        E-mail to OC re: additional hearing dates.             $375.00   0.25    $93.75

10/19/2018   JD   Email        E-mail from OC re: getting additional dates.           $375.00   0.25    $93.75

                  Documents    Review of intern's research re: distinguishing OC's
10/19/2018   AM                                                                       $325.00   0.50   $162.50
                  Reviewed     cases.

10/19/2018   AM   Email        E-mail re: unsolicited job postings.                   $325.00   0.25    $81.25

                               to J. Mayfield re: proposed scheduling order/
10/19/2018   JD   Email                                                               $375.00   0.25    $93.75
                               answer due date and Initial Disclosures

10/19/2018   JD   Email        from J. Mayfield re: hearing dates                     $375.00   0.25    $93.75

10/19/2018   JD   Email        from J. Mayfield re: call on dates                     $375.00   0.25    $93.75

10/19/2018   JD   Email        from J. Mayfield re: call                              $375.00   0.25    $93.75

10/19/2018   AM   Email        to C. Smith re: initial disclosures                    $325.00   0.25    $81.25

10/19/2018   JD   Email        to J. Mayfield re: conflict with suggested dates       $375.00   0.25    $93.75

10/19/2018   JD   Email        from J. Mayfield re: dates                             $375.00   0.25    $93.75

                               Reviewed Defendants' Answer to Amended
                  Documents
10/22/2018   AM                Complaint and Affirmative Defenses. Discussed the      $325.00   0.50   $162.50
                  Reviewed
                               same with JD.

                               Discussed Defendant's Answers and affirmative
10/22/2018   JD   Conference                                                          $375.00   0.25    $93.75
                               defenses/next steps on case with AM.

10/22/2018   NR   Email        E-mail to clients forwarding Defendant's answer.       $125.00   0.25    $31.25

10/22/2018   AM   Email        Forwarded draft of Reply to GB.                        $325.00   0.25    $81.25

10/22/2018   AM   Email        E-mail from GB re: edits.                              $325.00   0.25    $81.25
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10/22/2018   AM   Email       E-mail to GB.                                         $325.00   0.25     $81.25

10/22/2018   AM   Email       E-mail from GB.                                       $325.00   0.25     $81.25

10/22/2018   JD   Email       E-mail from JD re: websites and links.                $375.00   0.25     $93.75

                              Research for PI Reply, drafting of Reply,
                  Documents   screenshots of supporting evidence, editing of
10/22/2018   AM                                                                     $325.00   7.00   $2,275.00
                  Prepared    Reply, proofreading, determining exhibits, and
                              finalizing the same.

                  Documents   Reviewed and edited PI Reply; discussed the same
10/22/2018   JD   Prepared    with AM.                                              $375.00   2.00    $750.00


10/22/2018   NR   E-filed     Finalized and filed PI Reply.                         $125.00   0.25     $31.25

                              to G. Brown re: draft of the Preliminary Injunction
10/22/2018   AM   Email                                                             $325.00   0.25     $81.25
                              Reply

                              to G. Brown
10/22/2018   AM   Email                                                             $325.00   0.25     $81.25

10/22/2018   AM   Email       to G. Brown                                           $325.00   0.25     $81.25

10/22/2018   AM   Email       from G. Brown re: same                                $325.00   0.25     $81.25

10/23/2018   AM   Email       E-mail re: Supplemental Initial Disclosures.          $325.00   0.25     $81.25

10/23/2018   AM   Email       E-mail from WG.                                       $325.00   0.25     $81.25

10/23/2018   AM   Email       E-mail from CS.                                       $325.00   0.25     $81.25

                  Documents
10/23/2018   AM               Reviewed Motion for Leave to Exceed Page Limit.       $325.00   0.25     $81.25
                  Reviewed

10/23/2018   JD   Email       E-mail from OC re: exceeding page limits.             $375.00   0.25     $93.75

10/23/2018   AM   Email       E-mail from CS re: updated franchisee contact list.   $325.00   0.25     $81.25

10/23/2018   AM   Email       E-mail from CS re: witness list.                      $325.00   0.25     $81.25

10/23/2018   AM   Email       E-mail from CS.                                       $325.00   0.25     $81.25

10/23/2018   NR   Email       E-mail forwarding clients copy of reply.              $125.00   0.25     $31.25

                  Documents
10/23/2018   AM               Reviewed Amended Answer filed by Defendant            $325.00   0.75    $243.75
                  Reviewed

                              E-mails to and from JD/client and JD/OC re:
10/23/2018   JD   Email                                                             $375.00   3.50   $1,312.50
                              hearing date (14 x 0.25)

10/23/2018   AM   Email       to C. Smith re: Initial disclosures                   $325.00   0.25     $81.25

10/23/2018   AM   Email       from W. Garcia re: Initial disclosures                $325.00   0.25     $81.25

                              Reviewed Notice of Electronic Filing re: Opposed
10/23/2018   AM   Email                                                             $325.00   0.25     $81.25
                              Motion for Leave

                              from C. Smith re: updated franchisee contact info
10/23/2018   AM   Email                                                             $325.00   0.25     $81.25
                              list.

10/23/2018   AM   Email       from C. Smith re: witness list                        $325.00   0.25     $81.25

                  Documents   Reviewed Defendant's Amended Answer to First
10/23/2018   JD                                                                     $375.00   0.50    $187.50
                  Reviewed    Amended Complaint

                              Reviewed Notice of Electronic Filing re: Amended
10/24/2018   AM   Email       Motion to Amend/Correct Opposed Motion for            $325.00   0.25     $81.25
                              Leave

10/24/2018   NR   Email       to J. Mayfield re: update on additional dates         $125.00   0.25     $31.25
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10/24/2018   NR   Email       from J. Klein re: dates proposed                    $125.00   0.25     $31.25

10/24/2018   NR   Email       to J. Klein re: same                                $125.00   0.25     $31.25

                              to C. Smith re: alternatives dates for hearing on
10/24/2018   JD   Email                                                           $375.00   0.25     $93.75
                              Preliminary Injunction

10/24/2018   JD   Email       from G. Brown re: same - hearing dates              $375.00   0.25     $93.75

10/24/2018   NR   Email       from J. Klein re: hearing dates                     $125.00   0.25     $31.25

10/24/2018   JD   Email       from C. Smith re: alternative dates for hearing     $375.00   0.25     $93.75

10/24/2018   JD   Email       to J. Klein re: dates                               $375.00   0.25     $93.75

10/24/2018   JD   Email       to J. Klein re: dates                               $375.00   0.25     $93.75

10/24/2018   JD   Email       from J. Klein re: coordinate dates                  $375.00   0.25     $93.75

10/24/2018   JD   Email       from J. Klein re: dates                             $375.00   0.25     $93.75

10/24/2018   JD   Email       from C. Smith re: hearing dates                     $375.00   0.25     $93.75

10/24/2018   JD   Email       to C. Smith re: hearing date/ half-day/ witnesses   $375.00   0.25     $93.75

                              E-mails between JD/client and JD/OC re: hearing
10/25/2018   JD   Email                                                           $375.00   5.00   $1,875.00
                              dates (20 x 0.25)

10/25/2018   JD   Email       to C. Smith re: dates                               $375.00   0.25     $93.75

10/25/2018   JD   Email       from C. Smith re: re-coordination/ dates            $375.00   0.25     $93.75

                              to C. Smith re: responded to C. Smith previous
10/25/2018   JD   Email                                                           $375.00   0.25     $93.75
                              email re: hearing dates

10/25/2018   JD   Email       from C. Smith re: alternate dates                   $375.00   0.25     $93.75

10/25/2018   JD   Email       from G. Brown re: responded to JD e-mail            $375.00   0.25     $93.75

10/25/2018   JD   Email       from C. Smith re: hearing dates                     $375.00   0.25     $93.75

10/25/2018   JD   Email       from C. Smith re: November dates                    $375.00   0.25     $93.75

10/25/2018   JD   Email       to J. Klein re: dates in November                   $375.00   0.25     $93.75

10/25/2018   JD   Email       from J. Klein re: December dates                    $375.00   0.25     $93.75

10/25/2018   JD   Email       to J. Klein re: hearing in November                 $375.00   0.25     $93.75

10/25/2018   JD   Email       from J. Klein re: dates in December                 $375.00   0.25     $93.75

                              to J. Klein re: issues with dates/ proposed
10/25/2018   JD   Email                                                           $375.00   0.25     $93.75
                              scheduling order

10/25/2018   JD   Email       from J. Klein re: dates                             $375.00   0.25     $93.75

10/25/2018   JD   Email       to C. Smith re: dates the first week of December    $375.00   0.25     $93.75

10/25/2018   JD   Email       from C. Smith re: date in December                  $375.00   0.25     $93.75

10/25/2018   JD   Email       to J. Klein re: December availability               $375.00   0.25     $93.75

10/25/2018   JD   Email       from J. Klein re: same                              $375.00   0.25     $93.75

10/25/2018   JD   Email       from J. Mayfield re: December availability          $375.00   0.25     $93.75

                              to J. Mayfield re: dates in an attempt to get the
10/25/2018   JD   Email                                                           $375.00   0.25     $93.75
                              hearing set.

                  Documents
10/26/2018   JD               Reviewed Court's text order.                        $375.00   0.25     $93.75
                  Reviewed

                              E-mails between JD/clients and JD/OC
10/26/2018   JD   Email                                                           $375.00   2.00    $750.00
                              coordinating hearing dates (8 x 0.25)
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10/26/2018   JD   Email        to C. Smith re: dates for hearing                     $375.00   0.25    $93.75

10/26/2018   JD   Email        to C. Smith re: getting Judge's clerk dates           $375.00   0.25    $93.75

                               from C. Smith re: responded to JD email re: getting
10/26/2018   JD   Email                                                              $375.00   0.25    $93.75
                               Judge's clerk dates

10/26/2018   JD   Email        from C. Smith re: confirming dates in December        $375.00   0.25    $93.75

                               from C. Smith re: dates in November and
10/26/2018   JD   Email                                                              $375.00   0.25    $93.75
                               December

10/26/2018   JD   Email        to J. Mayfield re: hearing date                       $375.00   0.25    $93.75

10/26/2018   JD   Email        from J. Mayfield re: confirmed time with court on     $375.00   0.25    $93.75
                               hearing date

10/29/2018   JD   Email        E-mail from OC re: hearing dates.                     $375.00   0.25    $93.75

10/29/2018   AM   Phone Call   Called clerk; left a message.                         $325.00   0.25    $81.25

                               from J.Mayfield re: conflict with Judge/ dates to
10/29/2018   JD   Email                                                              $375.00   0.25    $93.75
                               circulate that works for the parties and counsel

                  Documents
10/30/2018   AM                Reviewed Court's text order.                          $325.00   0.25    $81.25
                  Reviewed

10/30/2018   JD   Email        E-mail from OC re: Dec. 13 hearing date.              $375.00   0.25    $93.75

10/30/2018   JD   Email        E-mail confirming hearing date.                       $375.00   0.25    $93.75

                               E-mail to clients re: hearing date and scheduling
10/30/2018   JD   Email                                                              $375.00   0.25    $93.75
                               prep.

10/30/2018   JD   Email        E-mail re: screenshots.                               $375.00   0.25    $93.75

10/30/2018   JD   Email        E-mail to OC re: scheduling order.                    $375.00   0.25    $93.75

10/30/2018   JD   Email        E-mail from CS.                                       $375.00   0.25    $93.75

10/30/2018   JD   Email        Reviewed Court's order setting hearing.               $375.00   0.25    $93.75

10/30/2018   JD   Email        E-mail from GB re: franchisee confusion.              $375.00   0.25    $93.75

                  Documents    Drafted discovery requests; discussed the same
10/30/2018   JD                                                                      $375.00   1.50   $562.50
                  Prepared     with AM.

                  Documents    Reviewed and edited discovery requests;
10/30/2018   AM                                                                      $325.00   0.75   $243.75
                  Prepared     Discussion with JD re: same

                               from J. Mayfield re: December date on the Motion
10/30/2018   JD   Email                                                              $375.00   0.25    $93.75
                               for Summary Judgment and the Injunction

10/30/2018   JD   Email        to J. Mayfield re: hearing date                       $375.00   0.25    $93.75

10/30/2018   JD   Email        to C. Smith re: hearing set/ prep meeting             $375.00   0.25    $93.75

10/30/2018   JD   Email        to C. Smith re: screen shot the sequence pages        $375.00   0.25    $93.75

                               to J. Mayfield re: agreeing on new Scheduling
10/30/2018   JD   Email                                                              $375.00   0.25    $93.75
                               Order

10/30/2018   JD   Email        from C. Smith re: same                                $375.00   0.25    $93.75

                               Reviewed Notice of Electronic Filing re: Order
10/30/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Setting Motions and Evidentiary Injunction Hearing

10/31/2018   JD   Email        E-mail to clients re: discovery requests.             $375.00   0.25    $93.75

                               E-mail to clients re: Supplemental Initial
10/31/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Disclosures.
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                  Documents
10/31/2018   AM                 Edited Supplemental Initial Disclosures.                $325.00   1.00   $325.00
                  Prepared

                                to C. Smith re: draft of the Supplemental Initial
10/31/2018   AM   Email                                                                 $325.00   0.25    $81.25
                                Disclosures prepared

11/01/2018   AM   Email         E-mail from GB re: deadline.                            $325.00   0.25    $81.25

                  Documents
11/01/2018   JD                 Reviewed Court's text order.                            $375.00   0.25    $93.75
                  Reviewed

11/01/2018   JD   Email         E-mail from GB.                                         $375.00   0.25    $93.75

11/01/2018   JD   Email         E-mail from GB re: prep session.                        $375.00   0.25    $93.75

                  Hearing
11/01/2018   JD                 Meeting to prepare for PI hearing.                      $375.00   1.00   $375.00
                  Preparation

                  Hearing
11/01/2018   AM                 Meeting to prepare for PI hearing.                      $325.00   1.00   $325.00
                  Preparation

                  Hearing
11/01/2018   NR                 Meeting to prepare for PI hearing.                      $125.00   1.00   $125.00
                  Preparation

11/01/2018   AM   Email         from G. Brown re: court deadline on disclosure          $325.00   0.25    $81.25

11/01/2018   AM   Email         from G. Brown re: same                                  $325.00   0.25    $81.25

                                Reviewed Notice of Electronic Filing re: Order
11/01/2018   AM   Email                                                                 $325.00   0.25    $81.25
                                Mooting Motion for Leave

11/05/2018   AM   Email         E-mail from CS re: updated franchisee list.             $325.00   0.25    $81.25

                                E-mail to OC re: Motion for Entry of Scheduling
11/05/2018   JD   Email                                                                 $375.00   0.25    $93.75
                                Order.

11/05/2018   JD   Email         E-mail from OC.                                         $375.00   0.25    $93.75

11/05/2018   JD   Email         E-mail to OC re: Motion.                                $375.00   0.25    $93.75

                  Documents
11/05/2018   JD                 Made edits to Discovery Requests.                       $375.00   0.50   $187.50
                  Prepared

                  Documents     Drafted Motion for Entry of Proposed Scheduling
11/05/2018   JD                                                                         $375.00   0.50   $187.50
                  Prepared      Order.

                                Finalized and filed Motion for Entry of Proposed
11/05/2018   NR   E-filed                                                               $125.00   0.25    $31.25
                                Scheduling Order.

11/05/2018   JD   Email         from G. Brown                                           $375.00   0.25    $93.75

                                to J. Mayfield re: filing a motion on entry of a new
11/05/2018   JD   Email                                                                 $375.00   0.25    $93.75
                                scheduling order.

11/05/2018   JD   Email         to J. Klein re: filing the last version as unopposed.   $375.00   0.25    $93.75

                                Reviewed Notice of Electronic Filing re: Proposed
11/05/2018   AM   Email                                                                 $325.00   0.25    $81.25
                                Scheduling Order filed Unopposed

                  Documents
11/06/2018   NR                 Formatted discovery requests.                           $125.00   1.00   $125.00
                  Prepared

                  Documents
11/06/2018   AM                 E-mail to SD forwarding case information.               $325.00   0.25    $81.25
                  Prepared

                  Documents
11/06/2018   AM                 Made edits to discovery requests.                       $325.00   0.50   $162.50
                  Prepared

                  Documents
11/06/2018   JD                 Reviewed and finalized discovery requests.              $375.00   0.50   $187.50
                  Prepared

11/06/2018   JD   Email         E-mail re: parent company.                              $375.00   0.25    $93.75
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11/06/2018   AM   Email       E-mail from SD.                                         $325.00   0.25    $81.25

11/06/2018   JD   Email       E-mail from CS.                                         $375.00   0.25    $93.75

11/06/2018   JD   Email       E-mail from GB.                                         $375.00   0.25    $93.75

11/06/2018   NR   Email       E-mail to OC forwarding discovery requests.             $125.00   0.25    $31.25

11/06/2018   AM   Email       E-mail to CS re: screenshots.                           $325.00   0.25    $81.25

11/06/2018   AM   Email       E-mail from CS re: screenshots.                         $325.00   0.25    $81.25

                              to S. Driver re: screenshots from April and
11/06/2018   AM   Email       Declaration filed in support of the Motion for          $325.00   0.25    $81.25
                              Preliminary Injunction

11/06/2018   AM   Email       from S. Driver re: screenshots                          $325.00   0.25    $81.25

11/06/2018   AM   Email       to C. Smith re: screenshots of websites                 $325.00   0.25    $81.25


11/06/2018   AM   Email       from C. Smith re: same                                  $325.00   0.25    $81.25

11/08/2018   AM   Email       E-mail following up on supplemental disclosures.        $325.00   0.25    $81.25

11/08/2018   AM   Email       E-mail from CS.                                         $325.00   0.25    $81.25

                              to C. Smith re: screenshots/ supplemental
11/08/2018   AM   Email                                                               $325.00   0.25    $81.25
                              disclosures

11/08/2018   AM   Email       from C. Smith re: attached screenshots                  $325.00   0.25    $81.25

11/09/2018   AM   Email       E-mail from CS.                                         $325.00   0.25    $81.25

11/09/2018   NR   Email       E-mail from NR.                                         $125.00   0.25    $31.25

11/09/2018   NR   Email       E-mail from CS.                                         $125.00   0.25    $31.25

11/09/2018   NR   Email       E-mail re: screenshots.                                 $125.00   0.25    $31.25

11/09/2018   NR   Email       E-mail from CS.                                         $125.00   0.25    $31.25

                              Finalized and served Plaintiff's Supplemental Initial
11/09/2018   NR   Email                                                               $125.00   0.25    $31.25
                              Disclosures.

11/09/2018   JD   Email       E-mail to OC re: initial disclosures.                   $375.00   0.25    $93.75

11/09/2018   JD   Email       E-mail from OC.                                         $375.00   0.25    $93.75

11/09/2018   AM   Email       from C. Smith re: MRR application                       $325.00   0.25    $81.25

11/09/2018   NR   Email       to C. Smith re: screenshots                             $125.00   0.25    $31.25

                              from C. Smith re: responded to NH e-mail re:
11/09/2018   NR   Email                                                               $125.00   0.25    $31.25
                              screenshots

11/09/2018   JD   Email       to C. Smith re: screenshots                             $375.00   0.25    $93.75

11/09/2018   NR   Email       to C. Smith re: screenshots                             $125.00   0.25    $31.25

11/09/2018   NR   Email       from C. Smith re: screenshots                           $125.00   0.25    $31.25

11/09/2018   JD   Email       to J. Klein re: initial disclosures/ filing a motion    $375.00   0.25    $93.75

11/09/2018   JD   Email       from S. Keppler re: producing initial disclosures       $375.00   0.25    $93.75

11/12/2018   JD   Email       E-mail from GB re: hearing prep.                        $375.00   0.25    $93.75

11/12/2018   JD   Email       E-mail from CS re: screenshot.                          $375.00   0.25    $93.75

11/12/2018   JD   Email       E-mail from SD re: powerpoint.                          $375.00   0.25    $93.75

                  Documents
11/12/2018   JD               Drafted Motion to Compel Initial Disclosures.           $375.00   1.00   $375.00
                  Prepared
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                  Documents   Reviewed and edited Motion to Compel Initial
11/12/2018   AM                                                                       $325.00   0.50   $162.50
                  Prepared    Disclosures.

                  Documents   Edited, finalized, and filed Motion to Compel Initial
11/12/2018   NR                                                                       $125.00   0.50    $62.50
                  Prepared    Disclosures.

11/12/2018   JD   Email       E-mail from GB re: hearing                              $375.00   0.25    $93.75
                              prep.
11/12/2018   JD   Email       E-mail from GB re: evidence.                            $375.00   0.25    $93.75

11/12/2018   JD   Email       E-mail from GB re: evidence                             $375.00   0.25    $93.75

11/12/2018   JD   Email       E-mail from GB re: evidence                             $375.00   0.25    $93.75

                  Documents   Reviewed Defendant's Initial Disclosures and
11/12/2018   JD                                                                       $375.00   0.50   $187.50
                  Reviewed    discussed the same with AM.

                  Documents   Reviewed Defendant's Initial Disclosures and
11/12/2018   AM                                                                       $325.00   0.50   $162.50
                  Reviewed    discussed the same with JD.

11/12/2018   JD   Email       E-mail from OC re: Initial Disclosures.                 $375.00   0.25    $93.75


11/12/2018   JD   Email       from G. Brown re: timeline/ adds by M. Liston           $375.00   0.25    $93.75

11/12/2018   JD   Email       from G. Brown re: Predictive's breach                   $375.00   0.25    $93.75

                  Documents
11/13/2018   JD               Reviewed Order Resetting Bench Trial                    $375.00   0.25    $93.75
                  Reviewed

11/14/2018   JD   Email       E-mail from CS re: timeline                             $375.00   0.25    $93.75

                  Documents
11/14/2018   AM               Reviewed timeline.                                      $325.00   0.25    $81.25
                  Reviewed

                              E-mail from OC re: settlement of Preliminary
11/15/2018   JD   Email                                                               $375.00   0.25    $93.75
                              Injunction

11/15/2018   JD   Email       E-mail to client re: OC's e-mail.                       $375.00   0.25    $93.75

11/15/2018   JD   Email       E-mail from GB.                                         $375.00   0.25    $93.75

11/15/2018   JD   Email       E-mail from GB.                                         $375.00   0.25    $93.75

11/15/2018   JD   Email       E-mail to OC re: issues with proposal.                  $375.00   0.25    $93.75

11/15/2018   JD   Email       E-mail from OC re: supplemental initial disclosures.    $375.00   0.25    $93.75

                  Documents
11/16/2018   JD               Reviewed Court's scheduling Order.                      $375.00   0.25    $93.75
                  Reviewed

11/19/2018   NR   Calendar    Calendared Scheduling Order dates.                      $125.00   0.25    $31.25

                  Documents
11/19/2018   JD               Drafted Proposed Order on Preliminary Injunction.       $375.00   1.00   $375.00
                  Prepared

11/19/2018   JD   Email       Forwarded proposed order to OC.                         $375.00   0.25    $93.75

11/19/2018   JD   Email       Forwarded draft to client.                              $375.00   0.25    $93.75

11/19/2018   JD   Email       E-mail from GB.                                         $375.00   0.25    $93.75

11/19/2018   JD   Email       E-mail from CS.                                         $375.00   0.25    $93.75

11/19/2018   JD   Email       E-mail re: trading partners definition.                 $375.00   0.25    $93.75

11/19/2018   JD   Email       E-mail from CS.                                         $375.00   0.25    $93.75

11/20/2018   JD   Email       E-mail from GB.                                         $375.00   0.25    $93.75

11/20/2018   NR   Email       E-mail forwarding PTN agreement.                        $125.00   0.25    $31.25

11/20/2018   JD   Email       E-mail from CS.                                         $375.00   0.25    $93.75
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11/20/2018   JD   Email        E-mail from OC.                                       $375.00   0.25    $93.75

11/21/2018   JD   Email        E-mail from CS re: application process.               $375.00   0.25    $93.75

                  Documents
11/21/2018   JD                Edited Motion to Compel Initial Disclosures.          $375.00   0.75   $281.25
                  Prepared

11/21/2018   JD   Email        E-mail from OC re: proposed order.                    $375.00   0.25    $93.75

                  Documents    Reviewed and Edited Motion to Compel Initial
11/21/2018   AM                                                                      $325.00   0.50   $162.50
                  Prepared     Disclosures.

                  Documents    Finalized supporting exhibits and filed Motion to
11/26/2018   NR                                                                      $125.00   1.50   $187.50
                  Prepared     Compel Supplemental Initial Disclosures.

                               E-mail to clients forwarding OC's edits to proposed
11/26/2018   JD   Email                                                              $375.00   0.25    $93.75
                               order.

11/27/2018   JD   Email        E-mail from GB re: edits.                             $375.00   0.25    $93.75

11/27/2018   JD   Email        E-mail to OC re: edits.                               $375.00   0.25    $93.75

11/27/2018   JD   Email        E-mail from OC re: scheduling phone call.             $375.00   0.25    $93.75

11/27/2018   JD   Email        E-mail to OC re: phone call.                          $375.00   0.25    $93.75

11/27/2018   JD   Email        from G. Brown re: Preliminary Injunction              $375.00   0.25    $93.75

                               Reviewed Notice of Electronic Filing re:MOTION to
11/28/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Appear Pro Hac Vice by Jordan A. Mayfield

11/29/2018   JD   Phone Call   Phone call with OC discussing PI agreement.           $375.00   0.50   $187.50

11/30/2018   JD   Email        E-mail from OC re: revised draft.                     $375.00   0.25    $93.75

11/30/2018   JD   Email        E-mail from JD.                                       $375.00   0.25    $93.75

                  Documents
11/30/2018   JD                Edited draft and sent to clients for review.          $375.00   0.50   $187.50
                  Prepared

11/30/2018   JD   Email        E-mail from CS.                                       $375.00   0.25    $93.75

11/30/2018   JD   Email        E-mail to OC forwarding updated draft.                $375.00   0.25    $93.75

11/30/2018   JD   Email        E-mail from OC re: scope.                             $375.00   0.25    $93.75

11/30/2018   JD   Email        E-mail from JD re: statutory language.                $375.00   0.25    $93.75

                               Reviewed Notice of Electronic Filing re: Order
11/30/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Granting Motion to Appear Pro Hac Vice

                               Reviewed Notice of Electronic Filing re: Notice of
11/30/2018   AM   Email                                                              $325.00   0.25    $81.25
                               Attorney Appearance

12/01/2018   JD   Email        E-mail to OC re: additional sentence.                 $375.00   0.25    $93.75

12/01/2018   JD   Email        E-mail from OC re: additional edits.                  $375.00   0.25    $93.75

                  Documents    Reviewed proposed PI, discussed with clients,
12/03/2018   JD                                                                      $375.00   1.00   $375.00
                  Reviewed     discussed with AM, and sent to OC.

                  Documents    Reviewed Proposed PI and discussed the same
12/03/2018   AM                                                                      $325.00   0.50   $162.50
                  Reviewed     with JD.

12/03/2018   AM   Email        E-mail from OC re: his client approving PI.           $325.00   0.25    $81.25

                  Documents    Reviewed Supplemental Initial Disclosures from
12/03/2018   AM                                                                      $325.00   0.25    $81.25
                  Reviewed     OC. Interoffice conference re: the same.

                  Documents    Reviewed Supplemental Initial Disclosures from
12/03/2018   JD                                                                      $375.00   0.25    $93.75
                  Reviewed     OC. Interoffice conference re: the same.
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                  Documents
12/03/2018   NR                Drafted Joint Motion for Entry of PI.                   $125.00   0.25    $31.25
                  Prepared

                  Documents
12/03/2018   JD                Reviewed Joint Motion for Entry of PI.                  $375.00   0.25    $93.75
                  Reviewed

                               E-mails to and from OC re: filing Joint Motion for PI
12/03/2018   NR   Email                                                                $125.00   1.00   $125.00
                               (4 x 0.25); finalizing and filing of the same.

                               E-mails to/from OC re: stipulations re: discovery (8
12/04/2018   JD   Email                                                                $375.00   2.00   $750.00
                               x 0.25)

                  Documents
12/04/2018   JD                Drafted Advisory to the Court.                          $375.00   0.25    $93.75
                  Prepared

12/04/2018   NR   E-filed      Filed Advisory to the Court.                            $125.00   0.25    $31.25

                  Documents
12/04/2018   JD                Reviewed Order Granting Preliminary Injunction          $375.00   0.25    $93.75
                  Reviewed

12/04/2018   JD   Email        E-mail to client re: next steps.                        $375.00   0.25    $93.75

12/04/2018   JD   Conference   Interoffice conference re: damage model.                $375.00   0.25    $93.75

12/04/2018   AM   Conference   Interoffice conference re: damage model.                $325.00   0.25    $81.25

                               Reviewed Notice of Filing re: Joint MOTION for
12/04/2018   AM   Email                                                                $325.00   0.25    $81.25
                               Preliminary Injunction Order by Protradenet, LLC.

                  Documents    Reviewed Notice of Electronic Filing re: Order
12/04/2018   AM                                                                        $325.00   0.25    $81.25
                  Reviewed     Granting Motion for Order on Preliminary Injunction

12/04/2018   NR   E-filed      Finalized and filed Advisory to the Court               $125.00   0.25    $31.25

                               from J. Mayfield re: draft of Proposed Protective
12/04/2018   JD   Email                                                                $375.00   0.25    $93.75
                               Order

                  Documents
12/05/2018   JD                Reviewed Defendant's Initial Discovery Requests.        $375.00   0.25    $93.75
                  Reviewed

                  Documents
12/06/2018   JD                Reviewed Court's text order.                            $375.00   0.25    $93.75
                  Reviewed

                  Documents
12/06/2018   JD                Reviewed Defendant's discovery responses.               $375.00   0.50   $187.50
                  Reviewed

12/06/2018   JD   Email        Forwarded discovery responses to client.                $375.00   0.25    $93.75

                  Documents    Reviewed Court Text Order r: Motion for
12/07/2018   AM                                                                        $325.00   0.25    $81.25
                  Reviewed     Preliminary Injunction

                  Documents    Reviewed docket text re: Order Cancelling Motion
12/12/2018   AM                                                                        $325.00   0.25    $81.25
                  Reviewed     Hearing

                  Documents    Reviewed docket text re: Order Granting Motion for
12/19/2018   AM                                                                        $325.00   0.25    $81.25
                  Reviewed     Summary Judgment

01/07/2019   JD   Email        to C. Smith re: getting responsive documents            $375.00   0.25    $93.75

01/07/2019   JD   Email        from C. Smith re: same                                  $375.00   0.25    $93.75

01/07/2019   NR   Email        to C. Smith re: discovery                               $125.00   0.25    $31.25

01/07/2019   NR   Email        from C. Smith re: same                                  $125.00   0.25    $31.25

                               to J. Mayfield re: redlined version of Protective
01/08/2019   NR   Email                                                                $125.00   0.25    $31.25
                               Order

01/08/2019   NR   Email        from J. Mayfield re: revisions                          $125.00   0.25    $31.25

01/08/2019   NR   Email        from J. Mayfield                                        $125.00   0.25    $31.25
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01/10/2019   JD   Phone Call   Phone call with Defense Counsel re: Websites          $375.00   0.25    $93.75

01/11/2019   AM   Email        to JD re: Responsive Emails Status                    $325.00   0.25    $81.25

                  Documents    Draft, Research, and Review Motion to Enforce;
01/14/2019   JD                                                                      $375.00   1.50   $562.50
                  Prepared     Correspondence with Client re: Same

                  Documents    Review, Draft, and Edit Plaintiff's Discovery
01/14/2019   JD                                                                      $375.00   0.75   $281.25
                  Prepared     Responses; Correspondence with Client re: Same

                  Documents    Draft and Edit Plaintiff's Discovery Responses;
01/14/2019   NR                                                                      $125.00   0.50    $62.50
                  Prepared     Correspondence with Client re: Same

01/15/2019   NR   Email        to J. Klein re: Discovery Responses                   $125.00   0.25    $31.25

01/15/2019   NR   Email        to S. Keppler re: returned email                      $125.00   0.25    $31.25

01/15/2019   NR   Email        from S. Keppler                                       $125.00   0.25    $31.25

                  Documents
01/15/2019   AM                Initial review responsive emails                      $325.00   1.25   $406.25
                  Prepared

                  Documents
01/15/2019   NR                Review and organize production                        $125.00   0.75    $93.75
                  Reviewed

01/16/2019   NR   Email        to J. Klein re: verification                          $125.00   0.25    $31.25

01/16/2019   NR   Email        from S. Keppler re: documents produced                $125.00   0.25    $31.25

                               to S. Keppler re: documents produced / bates
01/16/2019   NR   Email                                                              $125.00   0.25    $31.25
                               stamps

01/16/2019   NR   Email        from S. Keppler re: same                              $125.00   0.25    $31.25

                               to S. Keppler re: supplemental initial disclosure -
01/16/2019   NR   Email                                                              $125.00   0.25    $31.25
                               bates stamps

                               Eleeza Johnson (EJ): downloading emails from
                  Documents
01/16/2019   AM                shared drive, uploading to dropbox & unboxing          $45.00   1.50    $67.50
                  Prepared
                               folders

                               EJ: emails & messages with reviewers about
01/20/2019   AM   Email                                                               $45.00   0.25    $11.25
                               dropbox issues

                               Reviewed Notice of Electronic Filing re: filed J.
                  Documents
01/21/2019   AM                Mayfield; Docket Text: Joint Motion for Entry of      $325.00   0.25    $81.25
                  Reviewed
                               Confidentiality and Protective Order

01/21/2019   AM   Meeting      Meeting SK re: Motion for Enforcement                 $325.00   0.25    $81.25

01/21/2019   JD   Meeting      Meeting SK re: Motion for Enforcement                 $375.00   0.25    $93.75

01/21/2019   NR   Meeting      Meeting SK re: Motion for Enforcement                 $125.00   0.25    $31.25

                               to J. Dunnam re: Joint Motion for Entry of
01/21/2019   NR   Email                                                              $125.00   0.25    $31.25
                               Protective Order

                               EJ: Discovery Review

01/21/2019   AM   Discussion                                                          $45.00   4.20   $189.00



01/21/2019   AM   Discussion   Discussions with Jim/Eleeza/Reviewers                 $325.00   0.50   $162.50

01/21/2019   JD   Discussion   Discussions with Eleeza/Andrea/Reviewers              $375.00   0.50   $187.50

                               Reviewed Notice of Electronic Filing re: Docket
                  Documents
01/22/2019   AM                Text: Order Granting Motion for Entry of              $325.00   0.25    $81.25
                  Reviewed
                               Confidentiality and Protective Order

                  Documents    EJ: checking in on progress and running reports for
01/22/2019   AM                                                                       $45.00   1.00    $45.00
                  Reviewed     privileged documents
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                  Documents     reviewed Motion to Dismiss Order. Discussed the
01/23/2019   AM                                                                         $325.00   0.50   $162.50
                  Reviewed      same with JD

                  Documents     reviewed Motion to Dismiss Order. Discussed the
01/23/2019   JD                                                                         $375.00   0.50   $187.50
                  Reviewed      same with AM

01/23/2019   AM   Conference    conference with EJ re: document review software         $325.00   0.25    $81.25

                                EJ: conference with AM re: document review
01/23/2019   AM   Conference                                                             $45.00   0.25    $11.25
                                software

                                conference with document reviewer re: responsive
01/23/2019   AM   Conference                                                            $325.00   0.50   $162.50
                                document

                                reviewed Notice of Electronic Filing re: Docket Text:
                  Documents
01/23/2019   AM                 Order Granting in Part Defendants' Motion to            $325.00   0.25    $81.25
                  Reviewed
                                Dismiss in Member Case.

                                to G. Brown re: attachment of Order on Motion to
01/23/2019   AM   Email                                                                 $325.00   0.25    $81.25
                                Dismiss

                                to G. Brown re: Motion to Dismiss filed by the
01/23/2019   JD   Email                                                                 $375.00   0.25    $93.75
                                Judge

                                EJ: Discovery review
                  Documents
01/23/2019   AM                                                                          $45.00   2.00    $90.00
                  Reviewed

                                went through documents that reviewers had
                  Documents
01/24/2019   AM                 questions on; discussed Everlaw procedures with         $325.00   1.00   $325.00
                  Reviewed
                                EJ

01/24/2019   AM   Email         from G. Brown re: same                                  $325.00   0.25    $81.25

01/24/2019   JD   Email         from G. Brown re: Motion to Dismiss Order               $375.00   0.25    $93.75

                                to G. Brown re: evidence
01/24/2019   JD   Email                                                                 $375.00   0.25    $93.75

01/24/2019   JD   Email         from G. Brown re: same                                  $375.00   0.25    $93.75

01/24/2019   JD   Email         to G. Brown re: Motion to Dismiss order/ discovery      $375.00   0.25    $93.75

                                EJ: checking status and discovery review.
                  Documents
01/24/2019   AM                                                                          $45.00   0.25    $11.25
                  Reviewed


                                Discussions re: document production
01/25/2019   AM   Discussion                                                            $325.00   2.00   $650.00

01/25/2019   AM   Meeting       EJ: Meeting re: Review Program                           $45.00   0.50    $22.50

01/25/2019   JD   Meeting       Meeting with AM and EJ re: Review Program               $375.00   0.50   $187.50

01/25/2019   AM   Meeting       Meeting with AM and EJ re: Review Program               $325.00   0.50   $162.50

                                to J. Klein re: attached Plaintiff's supplemental
01/28/2019   NR   Email                                                                 $125.00   0.25    $31.25
                                production

                                to S. Kuykendall r: attached supplemental
01/28/2019   NR   Email                                                                 $125.00   0.25    $31.25
                                production from the Defendant's

                  Documents
01/28/2019   NR                 Review, format, finalize supplemental production.       $125.00   1.50   $187.50
                  Prepared

                  Interoffice
01/29/2019   MZ                 Interoffice conference with JD re: discovery matters    $125.00   0.25    $31.25
                  Conference
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                                    Meeting to discuss expert designation with Dwyer;
                      Interoffice
01/30/2019    AM                    interoffice conference re: the same. Phone call with    $325.00            3.00      $975.00
                      Conference
                                    additional expert.

                                    Meeting to discuss expert designation with Dwyer;
                      Interoffice
01/30/2019    NR                    interoffice conference re: the same. Phone call with    $125.00            3.00      $375.00
                      Conference
                                    additional expert.

                                    Meeting to discuss expert designation with Dwyer;
                      Interoffice
01/30/2019    JD                    interoffice conference re: the same. Phone call with    $375.00            3.00    $1,125.00
                      Conference
                                    additional expert.

                                    Discovery - production; conference with JD re: the
01/30/2019    AM      Conference                                                            $325.00            1.50      $487.50
                                    same

                                    Discovery - production; conference with JD re: the
01/30/2019    JD      Conference                                                            $375.00            1.50      $562.50
                                    same

                      Documents
01/31/2019    JD                    Final review of supplemental production of emails       $375.00            1.50      $562.50
                      Reviewed

                      Documents     Document Reviewers (Potential Production) -
02/01/2019    NR                                                                             $45.00          49.00     $2,205.00
                      Reviewed      1/15/2019 - 1/31/2019

                                    Finalized and filed Joint Motion to Extend
02/05/2019    NR      E-filed                                                               $125.00            0.50       $62.50
                                    Scheduling Order

                                    Reviewed Notice of Electronic Filing re: Docket
                      Documents     Text: Text Order Granting in Part and Denying in
02/05/2019    AM                                                                            $325.00            0.25       $81.25
                      Reviewed      part Motion to Extend Scheduling Order Deadlines


Non-billable Time Entries:

                      Documents
02/01/2019    NR                    Document Reviewers (Potential Production)                $45.00          15.00       $675.00
                      Reviewed

                                                                                             Totals:        253.20    $60,821.50

Expenses

Date          EE      Activity      Description                                                Cost        Quantity    Line Total

02/01/2019    NR      Software      Everlaw: 1.5 GB                                          $18.00             1.5       $27.00

                                                                                                   Expense Total:         $27.00


                                                                                           Time Entry Sub-Total:      $60,821.50
                                                                                             Expense Sub-Total:          $27.00
                                                                                                       Sub-Total:     $60,848.50


                                                                                                           Total:     $60,848.50
                                                                                                 Amount Paid:              $0.00

                                                                                                  Balance Due:        $60,848.50
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                     Balance         $9,362.50
Attn: Accounts Payable                                                              Invoice #       40713
1010 North University Parks Drive
Waco, TX 76707                                                                      Invoice Date    March 4, 2019
                                                                                    Payment Terms   Due on Receipt
                                                                                    Due Date        March 04, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
February 06, 2019 and February 28, 2019

Time Entries

Date         EE   Activity           Description                                           Rate     Hours   Line Total

                                     Reviewed Amended Counterclaim; discussed the
02/08/2019   AM   Review                                                                $325.00      0.50    $162.50
                                     same with JD.

                  Interoffice        Interoffice conference with AM re: Amended
02/08/2019   JD                                                                         $375.00      0.25     $93.75
                  Conference         Counterclaim.

                  Interoffice        Interoffice conference with JD re: discovery
02/08/2019   AM                                                                         $325.00      0.25     $81.25
                  Conference         requests.

                  Interoffice        Interoffice conference with AM re: discovery
02/08/2019   JD                                                                         $375.00      0.25     $93.75
                  Conference         requests.

                                     Correspondence with OC re: Mediation;
02/08/2019   JD   Email                                                                 $375.00      0.50    $187.50
                                     Correspondence with Client re: Same

02/08/2019   JD   Email              Correspondence with Dr. North re: Report           $375.00      0.25     $93.75

                                     AM/JD phone conference with VJ re: moving
02/13/2019   AM   Phone Conference                                                      $325.00      0.25     $81.25
                                     forward on case and answer to counterclaim.

                                     JD/AM phone conference with VJ re: moving
02/13/2019   JD   Phone Conference                                                      $375.00      0.25     $93.75
                                     forward on case and answer to counterclaim.

                  Interoffice
02/13/2019   JD                      Interoffice conference with AM.                    $375.00      0.25     $93.75
                  Conference

                  Interoffice
02/13/2019   AM                      Interoffice conference with JD.                    $325.00      0.25     $81.25
                  Conference

02/13/2019   JD   Conference         Conference with GM re: case.                       $375.00      0.25     $93.75

                                     Correspondence with Victor Johnson re:
02/19/2019   JD   Email              Counterclaim; Correspondence with Client re:       $375.00      0.50    $187.50
                                     Questions
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02/19/2019   JD   Meeting          Meeting with Client re: Answer and Counterclaim         $375.00   1.00    $375.00


02/19/2019   NR   Meeting          Meeting with Client re: Answer and Counterclaim         $125.00   1.00    $125.00

02/19/2019   AM   Meeting          Meeting with Client re: Answer and Counterclaim         $325.00   1.00    $325.00

02/20/2019   AM   Draft            Worked on draft of answer and counterclaim.             $325.00   0.25     $81.25

                  Interoffice      Interoffice conference re: draft of answer and
02/20/2019   LE                                                                            $125.00   0.25     $31.25
                  Conference       counterclaim.

                  Interoffice      Interoffice conference re: draft of answer and
02/20/2019   NR                                                                            $125.00   0.25     $31.25
                  Conference       counterclaim.

                  Interoffice      Interoffice conference re: draft of answer and
02/20/2019   JD                                                                            $375.00   0.25     $93.75
                  Conference       counterclaim.

                  Documents
02/20/2019   EJ                    (EJ) Document review                                     $45.00   7.50    $337.50
                  Reviewed

02/20/2019   AM   Research         (AB) Research re: counterclaim/                         $250.00   4.00   $1,000.00

                  Documents        Draft Answer and Counterclaim; Correspondence
02/20/2019   JD                                                                            $375.00   2.50    $937.50
                  Prepared         with Client re: Same

                  Interoffice      Interoffice conference with EJ re: discovery search
02/21/2019   AM                                                                            $325.00   1.00    $325.00
                  Conference       results and original answer.

                  Interoffice      (EJ) Interoffice conference with AM re: discovery
02/21/2019   AM                                                                            $325.00   1.00    $325.00
                  Conference       search results and original answer.

                  Interoffice
02/21/2019   AM                    Interoffice conference JD/EJ/AM re: search results      $325.00   0.25     $81.25
                  Conference

                  Interoffice      (EJ) Interoffice conference JD/EJ/AM re: search
02/21/2019   AM                                                                            $325.00   0.25     $81.25
                  Conference       results

                  Interoffice
02/21/2019   JD                    Interoffice conference JD/EJ/AM re: search results      $375.00   0.25     $93.75
                  Conference

02/21/2019   EJ   Review           Review document for answer                              $325.00   2.50    $812.50

                  Documents
02/21/2019   JD                    Review and Edit Answer and Counterclaim                 $375.00   0.50    $187.50
                  Prepared

                  Documents
02/21/2019   AM                    Review and Edit Answer and Counterclaim                 $325.00   0.50    $162.50
                  Prepared

                  Documents
02/21/2019   NR                    Finalize and File Answer and Counterclaim               $125.00   0.50     $62.50
                  Prepared

                  Interoffice      JD/AM - phone conference with VJ re: upcoming
02/22/2019   AM                                                                            $325.00   0.25     $81.25
                  Conference       deadlines, next steps, and discovery

                  Interoffice      JD/AM - phone conference with VJ re: upcoming
02/22/2019   JD                                                                            $375.00   0.25     $93.75
                  Conference       deadlines, next steps, and discovery

                                   Review of Defendants' discovery responses in
02/22/2019   AM   Review           preparation for drafting additional requests. Drafted   $325.00   0.50    $162.50
                                   additional requests

                  Interoffice
02/22/2019   AM                    Interoffice conference with JD re: depositions.         $325.00   0.25     $81.25
                  Conference

                  Interoffice
02/22/2019   JD                    Interoffice conference with AM re: depositions.         $375.00   0.25     $93.75
                  Conference

02/22/2019   JD   Correspondence   Email and Phone call with Victor re: Expert             $375.00   0.25     $93.75

                                   Correspondence with Dr. North re: Victor Johnson;
02/22/2019   JD   Email                                                                    $375.00   0.50    $187.50
                                   Correspondence with Client re: Case Status
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                                Production comparison and search for specific
02/25/2019   EJ   Review        emails.                                               $125.00           0.50      $62.50


02/25/2019   AM   Draft         Drafted Second Set for RFPs.                          $325.00           0.50     $162.50

02/25/2019   AM   Draft         Drafted Second Set of Interrogatories.                $325.00           0.50     $162.50

02/25/2019   AM   Draft         Worked on draft of PreCompel letter.                  $325.00           1.00     $325.00

                  Interoffice   Interoffice conference with EJ re: discovery
02/25/2019   AM                                                                       $325.00           0.25      $81.25
                  Conference    responses

                  Interoffice   Interoffice conference with AM re: discovery
02/25/2019   EJ                                                                       $325.00           0.25      $81.25
                  Conference    responses

                  Documents
02/25/2019   JD                 Review and edit supplemental discovery requests       $375.00           0.50     $187.50
                  Reviewed

                                     discovery review, search and discussion with
02/26/2019   EJ   Review                                                              $125.00           0.50      $62.50
                                AM re: the same.

                  Interoffice   Interoffice conference with EJ re:       discovery
02/26/2019   AM                                                                       $325.00           0.50     $162.50
                  Conference    review and search.

                                Correspondence with V. Johnson re: adtl discovery
02/26/2019   JD   Email                                                               $375.00           0.25      $93.75
                                requests

                                Correspondence with Client re: Mediation;
02/27/2019   JD   Emails                                                              $375.00           0.75     $281.25
                                Correspondence with OC re: Same

                                Correspondence with Dr. North and V. Johnson re:
02/28/2019   JD   Email                                                               $375.00           0.25      $93.75
                                Expert Report

                                                                                       Totals:         36.50   $9,362.50


                                                                                     Time Entry Sub-Total:     $9,362.50
                                                                                                 Sub-Total:    $9,362.50


                                                                                                     Total:    $9,362.50
                                                                                           Amount Paid:            $0.00

                                                                                            Balance Due:       $9,362.50
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                        Balance         $31,098.00
Attn: Accounts Payable                                                                 Invoice #       40797
1010 North University Parks Drive
Waco, TX 76707                                                                         Invoice Date    April 2, 2019
                                                                                       Payment Terms   Due on Receipt
                                                                                       Due Date        April 02, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
March 01, 2019 and March 31, 2019

Time Entries

Date         EE   Activity          Description                                               Rate     Hours   Line Total

03/01/2019   EJ   Email             Email and document review                               $45.00      3.50    $157.50

                  Interoffice
03/01/2019   AM                     Interoffice Conference with EJ re: discovery.          $325.00      0.50    $162.50
                  Conference

                  Interoffice
03/01/2019   EJ                     Interoffice Conference with AM re: discovery           $325.00      0.50    $162.50
                  Conference

03/03/2019   EJ   Email             Email and document review.                              $45.00      3.50    $157.50

03/04/2019   JD   Email             Email to GB re: enforcement.                           $375.00      0.25     $93.75

                                    Review emails and interoffice conference with
03/04/2019   EJ   Review                                                                    $45.00      2.50    $112.50
                                    JD/AM re: the same.

                  Interoffice       Interoffice conference with JD/EJ re: review of
03/04/2019   AM                                                                            $325.00      0.75    $243.75
                  Conference        emails.

                  Interoffice       Interoffice conference with JD/AM/EJ re: review of
03/04/2019   JD                                                                            $375.00      0.75    $281.25
                  Conference        emails.

03/05/2019   NR   Email             Email GB re: mediation.                                $125.00      0.25     $31.25

03/05/2019   NR   Email             Email from CS re: dates for mediation.                 $125.00      0.25     $31.25

03/05/2019   NR   Email             Email OC re: proposed mediation dates.                 $125.00      0.25     $31.25

03/05/2019   NR   Email             Email to/from OC re: additional mediation dates.       $125.00      0.30     $37.50

03/05/2019   NR   Email             Email to CS re: mediation dates (not on a Friday).     $125.00      0.25     $31.25

03/05/2019   NR   Email             Email to OC re: proposed April mediation dates.        $125.00      0.25     $31.25

                  Interoffice
03/05/2019   AM                     Interoffice conference with JD re: mediation.          $325.00      0.50    $162.50
                  Conference
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                  Interoffice
03/05/2019   JD   Conference    Interoffice conference with AM re: mediation.         $375.00   0.50    $187.50


03/06/2019   NR   Email         Email from OC re: mediation dates and mediator.       $125.00   0.25     $31.25

03/06/2019   JD   Email         Email to VJ re: status of damage calculations.        $375.00   0.25     $93.75

03/06/2019   NR   Email         Email OC re: approval of mediator.                    $125.00   0.25     $31.25

03/06/2019   NR   Email         Email to CS et al re: mediation date.                 $125.00   0.25     $31.25

03/06/2019   NR   Email         Email from CS re: confirmation of mediation.          $125.00   0.25     $31.25

                                Email from OC re: mediation and proposed joint
03/06/2019   NR   Email                                                               $125.00   0.25     $31.25
                                motion for amended scheduling order.

                                Review Joint Motion for Amended Scheduling
                  Documents
03/06/2019   JD                 Order and proposed Order, and email to SM et al       $375.00   0.50    $187.50
                  Prepared
                                re: same.

                                Email from Dr. North re: damages.
03/06/2019   JD   Email                                                               $375.00   0.25     $93.75

03/06/2019   JD   Email         Email to VJ et al re: meeting with Dr. North.         $375.00   0.25     $93.75

                  Interoffice   Interoffice conference re: case status and email to
03/06/2019   JD                                                                       $375.00   1.25    $468.75
                  Conference    GB/VJ re: case status.

03/06/2019   NR   Email         Email code for conference call to VJ/CD et al.        $125.00   0.25     $31.25

                                Review of discovery emails and interoffice
03/06/2019   EJ   Review                                                               $45.00   0.50     $22.50
                                conference with AM/JD re: the same.

                  Interoffice   Interoffice conference with JD/EJ re: review of
03/06/2019   AM                                                                       $325.00   0.25     $81.25
                  Conference    discovery emails.

                  Interoffice   Interoffice conference with AM/EJ re: review of
03/06/2019   JD                                                                       $375.00   0.25     $93.75
                  Conference    discovery emails.

03/07/2019   JD   Email         Email to OC re: scheduling and mediation matters.     $375.00   0.25     $93.75

03/07/2019   JD   Email         Email from OC re: amended motion for SO.              $375.00   0.25     $93.75

                                Review email discovery and interoffice conference
03/07/2019   EJ   Review                                                               $45.00   4.25    $191.25
                                with JD/AM re: the same.

                  Interoffice   Interoffice conference with JD/EJ re: review of
03/07/2019   AM                                                                       $325.00   0.50    $162.50
                  Conference    email discovery.

                  Interoffice   Interoffice conference with AM/EJ re: review of
03/07/2019   JD                                                                       $375.00   0.50    $187.50
                  Conference    email discovery.

03/08/2019   JD   Email         Email to/from VJ et al re: expert information.        $375.00   0.25     $93.75

03/08/2019   JD   Email         Email OC re: Scheduling Order.                        $375.00   0.25     $93.75

03/08/2019   JD   Email         Email from OC re: deadlines and scheduling order.     $375.00   0.25     $93.75

03/08/2019   JD   Email         Email from OC re: scheduling matters.                 $375.00   0.25     $93.75

                                Worked on and had numerous conferences re:
03/08/2019   JD   Worked        expert designation. Worked on discovery               $375.00   3.25   $1,218.75
                                supplementation.

                  Interoffice   Interoffice conference with JD re: expert
03/08/2019   AM                                                                       $325.00   0.50    $162.50
                  Conference    designation deadline and moving the trial date.

                  Interoffice   Interoffice conference with AM re: expert
03/08/2019   JD                                                                       $375.00   0.50    $187.50
                  Conference    designation deadline and moving the trial date.
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                                Email Dr. North re: damages.
03/10/2019   JD   Email                                                               $375.00   0.25    $93.75

                                Email from Dr. North re: damages.
03/10/2019   JD   Email                                                               $375.00   0.25    $93.75


                                Worked on and made numerous telephone calls re:
03/10/2019   JD   Worked                                                              $375.00   1.50   $562.50
                                expert designation.

                  Documents
03/10/2019   JD                 Review Expert Report                                  $375.00   1.00   $375.00
                  Reviewed

03/11/2019   JD   Email         Email from GB re: North Expert report.                $375.00   0.25    $93.75

                                Email from GB et al re: Expert report.
03/11/2019   JD   Email                                                               $375.00   0.25    $93.75

03/11/2019   JD   Email         Email to GB re: Expert report.                        $375.00   0.25    $93.75

                  Interoffice   Interoffice conference with JD/NR re: Expert
03/11/2019   AM                                                                       $325.00   0.50   $162.50
                  Conference    Designation and Initial Disclosures

                  Interoffice   Interoffice conference with AM/NR re: Expert
03/11/2019   JD                                                                       $375.00   0.50   $187.50
                  Conference    Designation and Initial Disclosures

                  Interoffice   Interoffice conference with JD/AM re: Expert
03/11/2019   NR                                                                       $125.00   0.50    $62.50
                  Conference    Designation and Initial Disclosures

                                Email from GB re: damages
03/11/2019   JD   Email                                                               $375.00   0.25    $93.75

03/11/2019   AM   Email         Email to GB re: damages.                              $325.00   0.25    $81.25

03/11/2019   AM   Email         Email to VJ re: damages.                              $325.00   0.25    $81.25

                                Email GB/VJ re: Second Supplemental Initial
03/11/2019   AM   Email                                                               $325.00   0.25    $81.25
                                Disclosures and Expert Designation.

                                Email Dr. North re: Second Supplemental Initial
03/11/2019   JD   Email                                                               $375.00   0.25    $93.75
                                Disclosures and Expert Designation.

03/11/2019   AM   Review        Reviewed report and email Dr. North.                  $325.00   0.25    $81.25

03/11/2019   AM   Email         Email from Dr. North re: revisions.                   $325.00   0.25    $81.25

                                Email GB re: Exhibit supplement to initial
03/11/2019   AM   Email                                                               $325.00   0.25    $81.25
                                disclosures.

                                Email OC re: expert designation and second
03/11/2019   AM   Email                                                               $325.00   0.25    $81.25
                                supplemental disclosures.

                                Forward of OC emails regarding scheduling order
03/11/2019   JD   Email                                                               $375.00   0.25    $93.75
                                to GB/VJ.

                  Interoffice
03/11/2019   JD                 Interoffice conference with AM/EJ/NR re: discovery.   $375.00   0.25    $93.75
                  Conference

                  Interoffice   Interoffice conference with AM/JD/NR re:
03/11/2019   EJ                                                                       $375.00   0.25    $93.75
                  Conference    discovery.

                  Interoffice
03/11/2019   AM                 Interoffice conference with JD/EJ/NR re: discovery.   $325.00   0.25    $81.25
                  Conference

                  Interoffice
03/11/2019   NR                 Interoffice conference with JD/AM/EJ re: discovery.   $125.00   0.25    $31.25
                  Conference

                  Interoffice   Interoffice conference with JD re: expert
03/11/2019   AM                                                                       $325.00   0.50   $162.50
                  Conference    designation.

                  Interoffice   Interoffice conference with AM re: expert
03/11/2019   JD                                                                       $375.00   0.50   $187.50
                  Conference    designation.
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                  Interoffice
03/11/2019   AM                      Interoffice conference with intern (KG) re: research.   $325.00   0.25     $81.25
                  Conference

                  Interoffice
03/11/2019   AM                      (KG) interoffice conference with AM re: research.       $125.00   0.25     $31.25
                  Conference

03/11/2019   AM   Draft              Drafted Designation of Experts.                         $325.00   1.50    $487.50

03/11/2019   JD   Worked             Worked on draft of Designation of Experts.              $375.00   1.00    $375.00

                                     Phone conference with Dr. Charles North re:
03/11/2019   AM   Phone Conference                                                           $325.00   0.50    $162.50
                                     expert report; Phone conference with VJ re: Same

                                     Phone conference with Dr. Charles North re:
03/11/2019   JD   Phone Conference                                                           $375.00   0.50    $187.50
                                     expert report; Phone conference with VJ re: Same

                                     Drafted supplemental initial disclosures; interoffice
03/11/2019   AM   Draft                                                                      $325.00   1.25    $406.25
                                     conference with JD re: the same.

                                     Review draft of supplemental initial disclosures;
03/11/2019   JD   Review                                                                     $375.00   0.75    $281.25
                                     interoffice conference with AM re: the same.

                                     Proofread, combined exhibits, bates labeled,
03/11/2019   AM   Proofread          finalized, and served Supplemental Initial              $325.00   1.00    $325.00
                                     Disclosures.

                                     (KG) Researched Expert Designation for Fact
03/11/2019   AM   Research                                                                   $125.00   0.25     $31.25
                                     Witness.

03/12/2019   NR   Email              Email from CS re: April mediation dates.                $125.00   0.25     $31.25

                                     Interoffice conference with AM/NR re: emails
                  Interoffice
03/12/2019   JD                      concerning opposed motion for entry of scheduling       $375.00   0.25     $93.75
                  Conference
                                     order.

                                     Interoffice conference with JD/NR re: emails
                  Interoffice
03/12/2019   AM                      concerning opposed motion for entry of scheduling       $325.00   0.25     $81.25
                  Conference
                                     order.

                                     Interoffice conference with JD/AM re: emails
                  Interoffice
03/12/2019   NR                      concerning opposed motion for entry of scheduling       $125.00   0.25     $31.25
                  Conference
                                     order.

                                     Interoffice conference with JD/EJ/NR re:
                  Interoffice
03/12/2019   AM                      responsive documents and prep information for           $325.00   0.25     $81.25
                  Conference
                                     phone conference.

                                     Interoffice conference with AM/EJ/NR re:
                  Interoffice
03/12/2019   JD                      responsive documents and prep information for           $375.00   0.25     $93.75
                  Conference
                                     phone conference.

                                     Interoffice conference with JD/AM/NR re:
                  Interoffice
03/12/2019   EJ                      responsive documents and prep information for           $375.00   0.25     $93.75
                  Conference
                                     phone conference.

                                     Interoffice conference with JD/EJ/AM re:
                  Interoffice
03/12/2019   NR                      responsive documents and prep information for           $125.00   0.25     $31.25
                  Conference
                                     phone conference.

                  Documents          Prepared Response to Opposed Motion to Amend
03/12/2019   JD                                                                              $375.00   2.75   $1,031.25
                  Prepared           Scheduling Order.

                                     Email to GB/VJ re: Response to Opposed Motion
03/12/2019   JD   Email                                                                      $375.00   0.25     $93.75
                                     to Amend Scheduling Order.

                                     Email all re: edits to Response to Opposed Motion
03/12/2019   AM   Email                                                                      $325.00   0.25     $81.25
                                     to Amend Scheduling Order.

                                     Email from/to VJ re: deadline to file Response to
03/12/2019   JD   Email                                                                      $375.00   0.25     $93.75
                                     Opposed Motion to Amend Scheduling Order.
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03/12/2019   JD   Email         Email to GB/VJ re: revisions to Response.             $375.00   0.25     $93.75

                                Email to GB/VJ re: additional edits to Response to
03/12/2019   AM   Email                                                               $325.00   0.25     $81.25
                                Opposed Motion to Amend Scheduling Order.

                                Email to GB/VJ re: additional revisions to
03/12/2019   JD   Email         Response.                                             $375.00   0.25     $93.75


                                Email from VJ re: edits to Response to Opposed
03/12/2019   JD   Email                                                               $375.00   0.25     $93.75
                                Motion to Amend Scheduling Order.

03/12/2019   JD   Email         Email to VJ et al re: discovery to produce.           $375.00   0.25     $93.75

                  Interoffice   Interoffice Conference with JD/NR re: review of
03/12/2019   AM                                                                       $325.00   0.50    $162.50
                  Conference    emails and summary of same.

                  Interoffice   Interoffice Conference with AM/NR re: review of
03/12/2019   JD                                                                       $375.00   0.50    $187.50
                  Conference    emails and summary of same.

                  Interoffice   Interoffice Conference with JD/AM re: review of
03/12/2019   NR                                                                       $125.00   0.50     $62.50
                  Conference    emails and summary of same.

03/12/2019   JD   Email         Email from GB re: prep on emails.                     $375.00   0.25     $93.75

03/12/2019   NR   Email         Email OC re: supplemental production.                 $125.00   0.25     $31.25

                                Email from OC re: receipt of supplemental
03/12/2019   NR   Email                                                               $125.00   0.25     $31.25
                                production.

                                Email to VJ/GB re: final revision to Response to
03/12/2019   JD   Email                                                               $375.00   0.25     $93.75
                                Opposed Motion to Amend Scheduling Order.

                                Email from CS re: new authorization codes to
03/12/2019   JD   Email                                                               $375.00   0.25     $93.75
                                transfer domains.

                                Email to OC re: new authorization codes to transfer
03/12/2019   JD   Email                                                               $375.00   0.25     $93.75
                                domains.

                  Interoffice
03/12/2019   AM                 Interoffice conference with EJ re: discovery.         $325.00   0.25     $81.25
                  Conference

                  Interoffice
03/12/2019   EJ                 Interoffice conference with AM re: discovery.         $325.00   0.25     $81.25
                  Conference

                  Interoffice   Interoffice conference with JD re: discovery and
03/12/2019   AM                                                                       $325.00   0.25     $81.25
                  Conference    conference call set by Court.

                  Interoffice   Interoffice conference with AM re: discovery and
03/12/2019   JD                                                                       $375.00   0.25     $93.75
                  Conference    conference call set by Court.

                                Reviewed and edited Scheduling Order Response;
03/12/2019   AM   Review                                                              $325.00   1.00    $325.00
                                performed legal research regarding the same.

                                Review of final stack of responsive discovery to
03/12/2019   AM   Review                                                              $325.00   4.00   $1,300.00
                                determine potential issues/confirm production.

                                Worked on discovery responses and scheduling
03/12/2019   JD   Worked                                                              $375.00   6.25   $2,343.75
                                order response.

                                Email from OC re: reaching out to client regarding
03/13/2019   JD   Email                                                               $375.00   0.25     $93.75
                                new transfer codes.

03/13/2019   JD   Email         Email from OC re: transfer codes.                     $375.00   0.25     $93.75

                                E-filed Response to Opposed Motion to Amend
03/13/2019   NR   Email                                                               $125.00   0.25     $31.25
                                Scheduling Order.

03/13/2019   JD   Email         Email to CS re: authorization code.                   $375.00   0.25     $93.75

                  Interoffice   Interoffice Conference with JD/EJ/NR re:
03/13/2019   AM                                                                       $325.00   0.25     $81.25
                  Conference    discovery.
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                  Interoffice        Interoffice Conference with AM/EJ/NR re:
03/13/2019   JD                                                                          $375.00   0.25    $93.75
                  Conference         discovery.

                  Interoffice        Interoffice Conference with JD/AM/NR re:
03/13/2019   EJ                                                                          $125.00   0.25    $31.25
                  Conference         discovery.

                  Interoffice        Interoffice Conference with JD/AM/EJ re:
03/13/2019   NR   Conference         discovery.                                          $125.00   0.25    $31.25


                                     Email to VJ/GB re: filed Response to Opposed
03/13/2019   JD   Email                                                                  $375.00   0.25    $93.75
                                     Motion to Amend Scheduling Order.

                                     Performed legal research for and proofread
03/13/2019   AM   Research           Response to Motion for Amended Scheduling           $325.00   3.00   $975.00
                                     Order.

                                     Worked on Response to Motion for Amended
03/13/2019   JD   Worked                                                                 $375.00   2.00   $750.00
                                     Scheduling Order.

                  Interoffice        Interoffice conference with AM/JD re: production
03/13/2019   EJ                                                                          $325.00   1.00   $325.00
                  Conference

                  Interoffice        Interoffice conference with AM/EJ re: production
03/13/2019   JD                                                                          $375.00   1.00   $375.00
                  Conference

                  Interoffice        Interoffice conference with JD/EJ re: production
03/13/2019   AM                                                                          $325.00   1.00   $325.00
                  Conference

                  Interoffice        Interoffice conference with AM/NR re: proposed
03/14/2019   JD                                                                          $375.00   0.25    $93.75
                  Conference         amended scheduling order from OC.

                                     Minute Entry filing by Court re: Scheduling
03/14/2019   JD   Receive/review                                                         $375.00   0.25    $93.75
                                     Conference.

                                     Email to CS/GB et al re: summary of Scheduling
03/14/2019   JD   Email                                                                  $375.00   0.45   $168.75
                                     Conference with Judge.

03/14/2019   JD   Email              Email from CS re: witness availability.             $375.00   0.25    $93.75

                  Interoffice        Interoffice conference with JD/NR re: issues with
03/14/2019   AM                                                                          $325.00   0.25    $81.25
                  Conference         proposed Scheduling Order.

                                     Email to OC re: issues with proposed Scheduling
03/14/2019   JD   Email                                                                  $375.00   0.25    $93.75
                                     Order.

03/14/2019   JD   Email              Email from CS re: trial length.                     $375.00   0.25    $93.75

03/14/2019   JD   Email              Email from VJ re: trial.                            $375.00   0.25    $93.75

03/14/2019   JD   Email              Email to CS re: trial length.                       $375.00   0.25    $93.75

                  Interoffice        Interoffice Conference with JD/NR re: Email/Memo
03/14/2019   AM                                                                          $325.00   0.25    $81.25
                  Conference         discovery.

                  Interoffice        Interoffice Conference with AM/NR re: Email/Memo
03/14/2019   JD                                                                          $375.00   0.25    $93.75
                  Conference         discovery.

                  Interoffice        Interoffice Conference with JD/AM re: Email/Memo
03/14/2019   NR                                                                          $125.00   0.25    $31.25
                  Conference         discovery.

                                     Phone hearing with Judge and interoffice
03/14/2019   JD   Phone Conference                                                       $375.00   0.50   $187.50
                                     conference with AM/NR re: the same.

                                     Phone hearing with Judge and interoffice
03/14/2019   AM   Phone Conference                                                       $325.00   0.50   $162.50
                                     conference with JD/NR re: the same.
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                                     Phone hearing with Judge and interoffice
03/14/2019   NR   Phone Conference                                                          $125.00   0.50    $62.50
                                     conference with JD/AM re: the same.

                                     Reviewed OC's proposed Scheduling Order and
03/14/2019   AM   Review                                                                    $325.00   0.25    $81.25
                                     interoffice conference with JD re: the same.

                  Interoffice        Interoffice conference with JD re: review of OC's
03/14/2019   JD                                                                             $375.00   0.25    $93.75
                  Conference         proposed Scheduling Order.

                  Interoffice        Interoffice conference with AM/JD re: proposed
03/14/2019   NR                                                                             $125.00   0.25    $31.25
                  Conference         amended scheduling order from OC.

03/15/2019   JD   Email              Email from CS re: witnesses availability.              $375.00   0.25    $93.75


                                     Email to GB et al re: Email/memo regarding
03/15/2019   AM   Email                                                                     $325.00   0.25    $81.25
                                     discovery.

                                     Email from GB re: discovery.
03/15/2019   AM   Email                                                                     $325.00   0.25    $81.25

03/15/2019   AM   E-filed            Email to GB re: discovery.                             $325.00   0.25    $81.25

                                     Email from GB re: discovery
03/15/2019   AM   Email                                                                     $325.00   0.25    $81.25

                  Interoffice
03/15/2019   AM                      Interoffice conference with JD re: discovery.          $325.00   0.25    $81.25
                  Conference

                  Interoffice
03/15/2019   JD                      Interoffice conference with AM re: discovery.          $375.00   0.25    $93.75
                  Conference

                  Interoffice        Interoffice Conference with AM/NR re: OC
03/18/2019   JD                                                                             $375.00   0.50   $187.50
                  Conference         correspondence regarding discovery.

                  Interoffice        Interoffice Conference with JD/NR re: OC
03/18/2019   AM                                                                             $325.00   0.50   $162.50
                  Conference         correspondence regarding discovery.

                  Interoffice        Interoffice Conference with AM/JD re: OC
03/18/2019   NR                                                                             $125.00   0.50    $62.50
                  Conference         correspondence regarding discovery.

03/18/2019   JD   Email              Email to OC re: discovery matters.                     $375.00   0.25    $93.75

                                     Email from OC (SK) re: discovery.
03/18/2019   JD   Email                                                                     $375.00   0.25    $93.75

03/19/2019   JD   Email              Email from CS re: mediation.                           $375.00   0.25    $93.75

03/19/2019   NR   Email              Email to CS re: mediation.                             $125.00   0.25    $31.25

03/19/2019   NR   Email              Email from CS re: April 5 mediation.                   $125.00   0.25    $31.25

03/25/2019   NR   Email              Email from CS re: cancellation of mediation.           $125.00   0.25    $31.25

03/25/2019   NR   Email              Email to CS re: mediation.                             $125.00   0.25    $31.25

                                     Email OC re: proposed dates for amended
03/25/2019   JD   Email                                                                     $375.00   0.25    $93.75
                                     scheduling order.

                                     Email from/to CS re: confirmation of cancellation of
03/25/2019   NR   Email                                                                     $125.00   0.25    $31.25
                                     mediation.

03/25/2019   JD   Email              Email to OC re: scheduling order issues continued.     $375.00   0.50   $187.50

                                     Email from CS re: cancellation of mediation and
03/25/2019   JD   Email                                                                     $375.00   0.25    $93.75
                                     pulled invites.

                  Interoffice        Interoffice conference with EJ re: discovery.
03/26/2019   AM                                                                             $325.00   0.25    $81.25
                  Conference

                  Interoffice        Interoffice conference with AM re: discovery.
03/26/2019   EJ                                                                             $325.00   0.25    $81.25
                  Conference
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03/26/2019   AM   Email        Email GB re: discovery.                                $325.00            0.25       $81.25

03/26/2019   AM   Email        Email from CS re: discovery.                           $325.00            0.25       $81.25

03/26/2019   AM   Email        Email from CS re: discovery.                           $325.00            0.25       $81.25

03/26/2019   AM   Email        Email from GB re: discovery.                           $325.00            0.25       $81.25

                               Email to GB/CS re: clarification of request
03/26/2019   AM   Email                                                               $325.00            0.25       $81.25
                               regarding discovery.

03/26/2019   AM   Email        Email from CS re: discovery.                           $325.00            0.25       $81.25

03/27/2019   JD   Email        Email from/to CS re: mediation scheduling.             $375.00            0.25       $93.75

                               Email to CS re: clarification of request for trial
03/27/2019   NR   Email                                                               $125.00            0.25       $31.25
                               dates.

03/28/2019   NR   Email        Email from CS re: witness availability.                $125.00            0.25       $31.25

                               Email to CS et al re: dates subject to Judge moving
03/28/2019   JD   Email                                                               $375.00            0.50      $187.50
                               them.

                                                                                       Totals:         95.00    $26,985.00

Expenses

Date         EE   Activity     Description                                               Cost        Quantity    Line Total

03/22/2019   NR   Expert Fee   Charles M. North                                      $4,050.00            1.0    $4,050.00

03/31/2019   NR   Software     Everlaw, Inc.                                           $18.00             3.5       $63.00

                                                                                             Expense Total:      $4,113.00


                                                                                     Time Entry Sub-Total:      $26,985.00
                                                                                       Expense Sub-Total:        $4,113.00
                                                                                                 Sub-Total:     $31,098.00


                                                                                                     Total:     $31,098.00
                                                                                           Amount Paid:              $0.00

                                                                                            Balance Due:        $31,098.00
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                        Balance         $7,198.75
Attn: Accounts Payable                                                                 Invoice #       40873
1010 North University Parks Drive
Waco, TX 76707                                                                         Invoice Date    April 30, 2019
                                                                                       Payment Terms   Due on Receipt
                                                                                       Due Date        April 30, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity          Description                                               Rate     Hours   Line Total

03/28/2019   NR   Email             Email OC re: SO.                                       $125.00      0.25     $31.25

03/28/2019   JD   Email             Email from OC re: proposed Order.                      $375.00      0.25     $93.75

03/28/2019   JD   Email             Email to/from OC re: revisions to proposed order.      $375.00      0.50    $187.50

                  Interoffice
03/31/2019   JD                     Interoffice conference with AM/NR re: discovery.       $375.00      0.25     $93.75
                  Conference

                  Interoffice
03/31/2019   AM                     Interoffice conference with JD/NR re: discovery.       $325.00      0.25     $81.25
                  Conference

                  Interoffice
03/31/2019   NR                     Interoffice conference with AM/JD re: discovery.       $125.00      0.25     $31.25
                  Conference

                  Interoffice       Interoffice conference with AM/NR re: motion to
04/01/2019   JD                                                                            $375.00      0.50    $187.50
                  Conference        compel.

                  Interoffice       Interoffice conference with JD/NR re: motion to
04/01/2019   AM                                                                            $325.00      0.50    $162.50
                  Conference        compel.

                  Interoffice       Interoffice conference with AM/JD re: motion to
04/01/2019   NR                                                                            $125.00      0.50     $62.50
                  Conference        compel.

04/02/2019   JD   Email             Email to VJ                                            $375.00      0.25     $93.75

04/02/2019   JD   Email             Email from OC re: proposed order.                      $375.00      0.25     $93.75

04/02/2019   JD   Email             Email to OC re: approval of proposed Order.            $375.00      0.25     $93.75

                  Interoffice       Work on response to OC and Interoffice conference
04/02/2019   JD                                                                            $375.00      0.75    $281.25
                  Conference        with AM/NR re: motion to compel.

                  Interoffice
04/02/2019   AM                     Interoffice conference with JD/NR re: discovery.       $325.00      0.50    $162.50
                  Conference

                  Interoffice
04/02/2019   NR                     Interoffice conference with AM/JD re: discovery.       $125.00      0.50     $62.50
                  Conference
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04/02/2019   NR   Email            Email to OC re: correspondence.                      $125.00   0.25    $31.25


04/03/2019   JD   Email            Email from CS re: discovery.                         $375.00   0.25    $93.75

04/03/2019   EJ   Email            Email to CS re: discovery.                           $300.00   0.25    $75.00

04/03/2019   LE   Email            Email from CS re: document production link.          $125.00   0.25    $31.25

                  Interoffice      Interoffice conference with JD/NR/EJ re: motion to
04/04/2019   AM                                                                         $325.00   0.50   $162.50
                  Conference       compel.

                  Interoffice      Interoffice conference with AM/NR/EJ re: motion to
04/04/2019   JD                                                                         $375.00   0.50   $187.50
                  Conference       compel.

                  Interoffice      Interoffice conference with JD/NR/AM re: motion to
04/04/2019   EJ                                                                         $300.00   0.50   $150.00
                  Conference       compel.

                  Interoffice      Interoffice conference with JD/AM/EJ re: motion to
04/04/2019   NR                                                                         $125.00   0.50    $62.50
                  Conference       compel.

04/04/2019   NR   Email            Email to/from OC re: Motion on SO.                   $125.00   0.25    $31.25

04/04/2019   JD   Email            Email to OC re: conference on discovery.             $375.00   0.25    $93.75

04/04/2019   JD   Receive/review   Receive/review Joint Motion to Extend SO.            $375.00   0.25    $93.75

04/04/2019   AM   Receive/review   Receive/review Joint Motion to Extend SO.            $325.00   0.25    $81.25

                  Documents
04/04/2019   EJ                    Downloaded/uploaded discovery.                        $45.00   2.00    $90.00
                  Reviewed

04/05/2019   AM   Receive/review   Receive/review Docket Text re: SO deadlines.         $325.00   0.25    $81.25

04/05/2019   JD   Receive/review   Receive/review Docket Text re: SO deadlines.         $375.00   0.25    $93.75

04/05/2019   NR   Email            Email Team re: trial date .                          $125.00   0.25    $31.25

                                   Receive/review response from OC re: discovery
04/05/2019   JD   Receive/review   and interoffice conference with AM/NR re: the        $375.00   0.75   $281.25
                                   same.

                  Interoffice      interoffice conference with JD/NR re:
04/05/2019   AM                                                                         $325.00   0.25    $81.25
                  Conference       correspondence response from OC.

                  Interoffice      interoffice conference with AM/JD re:
04/05/2019   NR                                                                         $125.00   0.25    $31.25
                  Conference       correspondence response from OC.

04/05/2019   EJ   Phone Call       Phone call re: Discovery.                             $45.00   0.25    $11.25

                  Documents
04/10/2019   EJ                    Upload emails.                                        $45.00   0.25    $11.25
                  Reviewed

04/15/2019   EJ   Receive/review   Receive/review and upload document production.        $45.00   1.00    $45.00

                  Interoffice      Interoffice conference with AM/NR re: conference
04/21/2019   JD                                                                         $375.00   0.25    $93.75
                  Conference       for motion.

                  Interoffice      Interoffice conference with JD/NR re: conference
04/21/2019   AM                                                                         $325.00   0.25    $81.25
                  Conference       for motion.

                  Interoffice      Interoffice conference with AM/JD re: conference
04/21/2019   NR                                                                         $125.00   0.25    $31.25
                  Conference       for motion.

                  Interoffice      Interoffice conference with JD/EJ/NR re: precompel
04/22/2019   AM                                                                         $325.00   0.50   $162.50
                  Conference       letter.

                  Interoffice      Interoffice conference with AM/JD/NR re:
04/22/2019   EJ                                                                         $300.00   0.50   $150.00
                  Conference       precompel letter.

                  Interoffice      Interoffice conference with AM/JD/EJ re: precompel
04/22/2019   NR                                                                         $125.00   0.50    $62.50
                  Conference       letter.
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                  Interoffice   Interoffice conference with AM/EJ/NR re:
04/22/2019   JD                                                                         $375.00           0.50     $187.50
                  Conference    precompel letter.

                  Interoffice   Interoffice conference with JD/NR/EJ re:
04/22/2019   AM                                                                         $325.00           0.75     $243.75
                  Conference    evidence.

                  Interoffice   Interoffice conference with AM/NR/EJ re:
04/22/2019   JD                                                                         $375.00           0.75     $281.25
                  Conference    evidence.

                  Interoffice   Interoffice conference with JD/AM/EJ re:
04/22/2019   NR                                                                         $125.00           0.75      $93.75
                  Conference    evidence.

                  Interoffice   Interoffice conference with JD/NR/AM re:
04/22/2019   EJ                                                                         $300.00           0.75     $225.00
                  Conference    evidence.

                  Documents
04/22/2019   EJ                 Pre-compel review of document produced.                 $300.00           3.00     $900.00
                  Reviewed

                  Documents
04/22/2019   AM                 Worked on precompel letter.                             $325.00           1.00     $325.00
                  Prepared

                  Interoffice
04/22/2019   AM                 Interoffice conference with EJ re: discovery status.    $325.00           0.50     $162.50
                  Conference

                  Interoffice
04/22/2019   EJ                 Interoffice conference with AM re: discovery status.    $300.00           0.50     $150.00
                  Conference

                  Interoffice   Interoffice conference with JD re: discovery
04/23/2019   AM                                                                         $325.00           0.25      $81.25
                  Conference    supplementation.

                  Interoffice   Interoffice conference with AM re: discovery
04/23/2019   JD                                                                         $375.00           0.25      $93.75
                  Conference    supplementation.

                  Documents
04/26/2019   EJ                 Production prepared, redacted and labeled.               $45.00           0.50      $22.50
                  Prepared

                                Email to/from Team re: final review of document
04/26/2019   JD   Email                                                                 $375.00           0.50     $187.50
                                production.

                                Email from CS re: confirmation of meeting for
04/29/2019   JD   Email                                                                 $375.00           0.25      $93.75
                                document review.

                                                                                         Totals:         27.75   $7,198.75


                                                                                       Time Entry Sub-Total:     $7,198.75
                                                                                                   Sub-Total:    $7,198.75


                                                                                                       Total:    $7,198.75
                                                                                             Amount Paid:            $0.00

                                                                                              Balance Due:       $7,198.75
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                       Balance         $4,743.75
Attn: Accounts Payable                                                                Invoice #       40974
1010 North University Parks Drive
Waco, TX 76707                                                                        Invoice Date    June 4, 2019
                                                                                      Payment Terms   Due on Receipt
                                                                                      Due Date        June 04, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity          Description                                              Rate     Hours   Line Total

                  Interoffice       Interoffice conference with AM/JD re: status of
05/01/2019   AM                                                                           $325.00      0.50    $162.50
                  Conference        discovery review.

                  Interoffice       Interoffice conference with AM/EJ re: discuss
05/01/2019   JD                                                                           $375.00      0.50    $187.50
                  Conference        discovery.

                  Interoffice       Interoffice conference with JD/AM re: discuss
05/01/2019   EJ                                                                           $300.00      0.50    $150.00
                  Conference        discovery (partial) and status of discovery review.

05/02/2019   JD   Email             Email from CS re: Team review of discovery.           $375.00      0.25     $93.75

05/02/2019   EJ   Meeting           Meet with CS re: discovery review.                    $300.00      1.00    $300.00

05/02/2019   EJ   Email             Email with C. Smith re: Employees                     $300.00      0.25     $75.00

                  Documents
05/06/2019   EJ                     Documents reviewed.                                    $45.00      6.00    $270.00
                  Reviewed

                  Interoffice       Interoffice conference with AM re: Motion to
05/08/2019   JD                                                                           $375.00      0.50    $187.50
                  Conference        Compel and Pre Compel letter

                  Interoffice       Interoffice conference with AM re: Motion to
05/08/2019   AM                                                                           $325.00      0.25     $81.25
                  Conference        Compel and Pre Compel letter

                  Interoffice       Interoffice conference with AM re:
05/09/2019   EJ                                                                           $300.00      0.50    $150.00
                  Conference        supplementation.

                  Interoffice
05/09/2019   AM                     Interoffice conference with EJ re: supplementation.   $325.00      0.50    $162.50
                  Conference

05/13/2019   NR   Email             Email to OC re: discovery supplementation.            $125.00      0.25     $31.25

                  Documents
05/13/2019   EJ                     Review of documents.                                   $45.00      3.00    $135.00
                  Reviewed

                  Documents         Prepare documents for production; Interoffice
05/13/2019   NR                                                                           $125.00      0.25     $31.25
                  Prepared          conference with EJ, JD, and AM re: Same
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05/13/2019   AM   Interoffice   Interoffice conference with JD, EJ, and NR re:        $325.00     0.25     $81.25
                  Conference    Production supplementation

                  Interoffice   Interoffice conference with JD, AM, and NR re:
05/13/2019   EJ                                                                       $300.00     0.25     $75.00
                  Conference    Production supplementation

                  Interoffice   Interoffice conference with AM, EJ, and NR re:
05/13/2019   JD                                                                       $375.00     0.25     $93.75
                  Conference    Production supplementation

                  Interoffice   Interoffice conference with EJ and JD re:
05/20/2019   AM                                                                       $325.00     0.50    $162.50
                  Conference    Production

                  Interoffice   Interoffice conference with EJ and AM re:
05/20/2019   JD                                                                       $375.00     0.50    $187.50
                  Conference    Production

                  Interoffice   Interoffice conference with AM and JD re:
05/20/2019   EJ                                                                       $300.00     0.50    $150.00
                  Conference    Production

05/22/2019   JD   Email         Email from OC re: request to depose witnesses.        $375.00     0.25     $93.75

                  Interoffice   Interoffice Conference with JD/NR/EJ re: previously
05/22/2019   AM                                                                       $325.00     0.25     $81.25
                  Conference    requested depositions of Defendant's witnesses.

                                Interoffice Conference with AM/NR/EJ re:
                  Interoffice
05/22/2019   JD                 previously requested depositions of Defendant's       $375.00     0.25     $93.75
                  Conference
                                witnesses.

                                Interoffice Conference with JD/AM/EJ re:
                  Interoffice
05/22/2019   NR                 previously requested depositions of Defendant's       $125.00     0.25     $31.25
                  Conference
                                witnesses.

                                Interoffice Conference with JD/AM/NR re:
                  Interoffice
05/22/2019   EJ                 previously requested depositions of Defendant's       $300.00     0.25     $75.00
                  Conference
                                witnesses.

                  Documents
05/23/2019   EJ                 Document review.                                       $45.00     0.25     $11.25
                  Reviewed

                  Interoffice   Interoffice Conference with AM/JD/NR re: witness
05/24/2019   EJ                                                                       $300.00     0.25     $75.00
                  Conference    to depose.

                  Interoffice   Interoffice Conference with EJ/JD/NR re: witness to
05/24/2019   AM                                                                       $325.00     0.50    $162.50
                  Conference    depose.

                  Interoffice   Interoffice Conference with AM/EJ/NR re: witness
05/24/2019   JD                                                                       $375.00     0.50    $187.50
                  Conference    to depose.

                  Interoffice   Interoffice Conference with AM/JD/EJ re: witness
05/24/2019   NR                                                                       $125.00     0.25     $31.25
                  Conference    to depose.

                  Documents
05/28/2019   EJ                 Review of documents.                                   $45.00     4.25    $191.25
                  Reviewed

                  Documents
05/28/2019   EJ                 Documents reviewed.                                    $45.00     1.50     $67.50
                  Reviewed

                  Interoffice
05/30/2019   AM                 Interoffice conference with JD re: Discovery review   $325.00     0.75    $243.75
                  Conference

                  Interoffice
05/30/2019   JD                 Interoffice conference with AM re: Discovery review   $375.00     0.75    $281.25
                  Conference

                  Interoffice
05/31/2019   AM                 Interoffice conference re: Discovery                  $325.00     0.50    $162.50
                  Conference

                  Interoffice
05/31/2019   JD                 Interoffice conference re: Discovery                  $375.00     0.50    $187.50
                  Conference

                                                                                       Totals:   27.75   $4,743.75
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                                                   Time Entry Sub-Total:   $4,743.75
                                                             Sub-Total:    $4,743.75


                                                                  Total:   $4,743.75
                                                         Amount Paid:          $0.00

                                                          Balance Due:     $4,743.75
             Case 6:18-cv-00038-ADA Document 121-1 Filed 03/02/20 Page 50 of 83


DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                      Balance         $16,717.21
Attn: Accounts Payable                                                               Invoice #       41035
1010 North University Parks Drive
Waco, TX 76707                                                                       Invoice Date    July 2, 2019
                                                                                     Payment Terms   Due on Receipt
                                                                                     Due Date        July 02, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
May 30, 2019 and June 30, 2019

Time Entries

Date         EE   Activity          Description                                             Rate     Hours   Line Total

05/30/2019   EJ   Review            Document review and training with reviewers           $45.00      1.25     $56.25

                                    Document Reviewer (KN): Review of Emails for
05/30/2019   NR   Review                                                                  $45.00      2.00     $90.00
                                    Production

                                    Document Reviewer (KN): Review of Emails for
05/31/2019   NR   Review                                                                  $45.00      0.50     $22.50
                                    Production

                                    Document Reviewer (KN): Review of Emails for
06/02/2019   NR   Review                                                                  $45.00      1.00     $45.00
                                    Production

                                    Email correspondence with Stephen Keppler
                                    re:response to April 2 correspondence; Interoffice
06/05/2019   JD   Correspondence                                                         $375.00      0.75    $281.25
                                    conference with AM re: Same. Requested phone
                                    call with SK next week.

                                    Worked on precompel letter; interoffice conference
                  Documents
06/05/2019   AM                     with JD re: the same and correspondence from         $325.00      1.25    $406.25
                  Prepared
                                    Stephen Klepper

                  Interoffice       Interoffice conference with AM and NR re:
06/05/2019   JD                                                                          $375.00      0.75    $281.25
                  Conference        precompel letter.

06/05/2019   NR   Emails            to/from CS re: deposition dates                      $125.00      0.25     $31.25

06/05/2019   JD   Email             from GB re: deposition dates                         $375.00      0.25     $93.75

                  Interoffice
06/05/2019   NR                     with JD regarding precompel letter                   $125.00      0.25     $31.25
                  Conference

                                    Document Reviewer (KN): Review of Emails for
06/05/2019   NR   Review                                                                  $45.00      2.00     $90.00
                                    Production

06/07/2019   JD   Emails            with CS and AM re: Mtn to Enforce filing             $375.00      0.25     $93.75
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                  Interoffice   Interoffice conference regarding letter to OC with
06/07/2019   JD   Conference    discovery responses                                    $375.00   0.50   $187.50


                  Interoffice   Interoffice conference regarding letter to OC with
06/07/2019   AM                                                                        $325.00   0.50   $162.50
                  Conference    discovery responses

                                Document Reviewer (KN): Review of Emails for
06/09/2019   NR   Review                                                                $45.00   1.00    $45.00
                                Production

                  Interoffice   Interoffice conference to follow up on the precompel
06/10/2019   EJ                                                                        $300.00   0.25    $75.00
                  Conference    letter

                  Interoffice   Interoffice conference to follow up on the precompel
06/10/2019   NR                                                                        $125.00   0.25    $31.25
                  Conference    letter

                  Interoffice   Interoffice conference to follow up on the precompel
06/10/2019   AM                                                                        $325.00   0.25    $81.25
                  Conference    letter

06/10/2019   EJ   Review        Document review and training with reviewer              $45.00   1.00    $45.00

                                Document Reviewer (DD): Review of Emails for
06/10/2019   NR   Review                                                                $45.00   3.00   $135.00
                                Production

                  Documents     Reviewed and edited precompel letter; Interoffice
06/11/2019   AM                                                                        $325.00   0.75   $243.75
                  Prepared      conference with JD and EJ re: Same

                  Documents     Made revision and emailed precompel letter;
06/11/2019   EJ                                                                        $300.00   0.75   $225.00
                  Prepared      Interoffice conference with AM re: Same

                  Documents     Reviewed and Edited Pre Compel Letter; Interoffice
06/11/2019   JD                                                                        $375.00   0.50   $187.50
                  Reviewed      conference with AM re: Same

                                Review compel letter and analyze responses for
06/11/2019   EJ   Review                                                               $300.00   1.50   $450.00
                                initial requests

06/11/2019   EJ   Review        Doc review related to compel review                     $45.00   0.25    $11.25

                                Document Reviewer (KN): Review of Emails for
06/11/2019   NR   Review                                                                $45.00   1.00    $45.00
                                Production

                                Document Reviewer (DD): Review of Emails for
06/11/2019   NR   Review                                                                $45.00   2.50   $112.50
                                Production

                                Document Reviewer (KN): Review of Emails for
06/12/2019   NR   Review                                                                $45.00   1.50    $67.50
                                Production

                                Document Reviewer (DD): Review of Emails for
06/12/2019   NR   Review                                                                $45.00   4.50   $202.50
                                Production

                                Document Reviewer (DD): Review of Emails for
06/13/2019   NR   Review                                                                $45.00   7.00   $315.00
                                Production

                                Document Reviewer (DD): Review of Emails for
06/14/2019   NR   Review                                                                $45.00   3.00   $135.00
                                Production

                                Document Reviewer (KN): Review of Emails for
06/17/2019   NR   Review                                                                $45.00   0.50    $22.50
                                Production

                                Document Reviewer (DD): Review of Emails for
06/17/2019   NR   Review                                                                $45.00   5.00   $225.00
                                Production

                                Interoffice conference with EJ re: discovery; made
                  Interoffice   edits to precompel letter. Interoffice conference
06/18/2019   AM                                                                        $325.00   1.00   $325.00
                  Conference    with JD re: the same. Proofread and finalized
                                precompel letter.

                  Interoffice
06/18/2019   EJ                 Interoffice conference with AM re: discovery.          $300.00   0.25    $75.00
                  Conference
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                  Interoffice   Interoffice conference with AM re: discovery and
06/18/2019   JD                                                                      $375.00    0.50    $187.50
                  Conference    precompel letter; Reviewed and edited same

                                Review precompel related to second sets of
06/18/2019   EJ   Review        production / interrogatories analyze response for    $300.00    1.25    $375.00
                                compliance


                                Doc review related to second set of discovery
06/18/2019   EJ   Review                                                              $45.00    0.25     $11.25
                                request and responses

                                Document Reviewer (DD): Review of Emails for
06/18/2019   NR   Review                                                              $45.00    3.00    $135.00
                                Production

                                With SK re: Following up on deposition dates;
06/19/2019   JD   Emails                                                             $375.00    0.50    $187.50
                                Interoffice conference re: Same

                  Interoffice
06/19/2019   AM                 Interoffice conference re: Deposition Dates          $325.00    0.25     $81.25
                  Conference

                  Interoffice
06/19/2019   NR                 Interoffice conference re: Deposition Dates          $125.00    0.25     $31.25
                  Conference

                                Document Reviewer (DD): Review of Emails for
06/20/2019   NR   Review                                                              $45.00    4.00    $180.00
                                Production

06/20/2019   EJ   Review        Document Review for Production                        $45.00    1.50     $67.50

                                Document Reviewer (DD): Review of Emails for
06/21/2019   NR   Review                                                              $45.00    8.00    $360.00
                                Production

                  Interoffice
06/24/2019   NR                 Re: Depositions                                      $125.00    0.25     $31.25
                  Conference

                  Interoffice
06/24/2019   JD                 Interoffice conference re: depositions.              $375.00    0.25     $93.75
                  Conference

                                Interoffice conference with EJ re: discovery
                  Interoffice
06/24/2019   AM                 supplementation; Conference with JD re:              $325.00    0.50    $162.50
                  Conference
                                Depositions

                  Interoffice   Interoffice conference with AM re: discovery
06/24/2019   EJ                                                                      $300.00    0.25     $75.00
                  Conference    supplementation.

06/24/2019   EJ   Review        Document Review for Production                        $45.00    6.75    $303.75

                                Document Reviewer (KN): Review of Emails for
06/25/2019   NR   Review                                                              $45.00    1.00     $45.00
                                Production

06/25/2019   EJ   Review        Document Review for Production                        $45.00    4.25    $191.25

                                To SK re: Depositions; Interoffice conference with
06/26/2019   JD   Email                                                              $375.00    0.50    $187.50
                                NR re: Same

                  Interoffice
06/26/2019   NR                 Interoffice conference with JD re: Depositions       $125.00    0.25     $31.25
                  Conference

06/26/2019   EJ   Review        Document Review for Production                        $45.00   12.75    $573.75

                                From KH re: profit and loss statement; Interoffice
06/27/2019   JD   Email                                                              $375.00    0.25     $93.75
                                conference re: Same

                  Interoffice   Review and Download supplementation from
06/27/2019   NR                                                                      $125.00    0.25     $31.25
                  Conference    Predictive; Interoffice conference re: Same

06/27/2019   EJ   Review        Document Review for Production                        $45.00   10.75    $483.75

                  Documents
06/27/2019   EJ                 Review and Analyze final documents for production    $300.00   10.00   $3,000.00
                  Reviewed
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                  Documents
06/28/2019   AM               Review file and draft Motion to Compel               $325.00            1.25      $406.25
                  Prepared

                  Documents
06/29/2019   EJ               Review and Analyze final documents for production    $300.00          12.00     $3,600.00
                  Reviewed

                                                                                                             $15,853.75
                                                                                    Totals:        128.00

Expenses

Date         EE   Activity    Description                                             Cost        Quantity    Line Total

06/19/2019   NR   Software    Everlaw, Inc                                         $863.46             1.0      $863.46

                                                                                          Expense Total:        $863.46


                                                                                  Time Entry Sub-Total:      $15,853.75
                                                                                    Expense Sub-Total:         $863.46
                                                                                              Sub-Total:     $16,717.21


                                                                                                  Total:     $16,717.21
                                                                                        Amount Paid:              $0.00

                                                                                         Balance Due:        $16,717.21
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                     Balance         $27,006.25
Attn: Accounts Payable                                                              Invoice #       41096
1010 North University Parks Drive
Waco, TX 76707                                                                      Invoice Date    August 2, 2019
                                                                                    Payment Terms   Due on Receipt
                                                                                    Due Date        August 02, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity          Description                                              Rate   Hours   Line Total

                                    Interoffice conferences re: Motion to Compel,
                  Interoffice       responsive documents for production and review of
07/01/2019   AM                                                                           $325.00    1.75    $568.75
                  Conferences       documents, offer of settlement, Predictive's
                                    Settlement Offer; Worked on same

                                    Interoffice conference re: Motion to Compel,
                  Interoffice       responsive documents for production and review of
07/01/2019   JD                                                                           $375.00    1.75    $656.25
                  Conference        documents, offer of settlement, Predictive's
                                    Settlement Offer; Worked on Same

                  Interoffice
07/01/2019   AM                     Interoffice conference with EJ re: supplementation.   $325.00    0.50    $162.50
                  Conference

                  Interoffice       Interoffice conference with AM re:
07/01/2019   EJ                                                                           $300.00    0.50    $150.00
                  Conference        supplementation.

07/01/2019   AM   Review            Review of responsive documents for production         $325.00    3.00    $975.00

                                    Worked on Motion to Compel Discovery, performed
07/01/2019   AM   Worked                                                                  $325.00    3.50   $1,137.50
                                    legal research regarding the same

                  Documents
07/01/2019   AM                     Drafted letter to OC re: Offer of Settlement          $325.00    0.50    $162.50
                  Prepared

                                    Reviewed and edited draft of supplemental initial
07/01/2019   AM   Review            disclosures. Reviewed written discovery to            $325.00    0.50    $162.50
                                    determine supplementation issues.

                                    Interoffice conferences re: Motion to Compel,
                  Interoffice       responsive documents for production and review of
07/01/2019   NR                                                                           $125.00    0.75     $93.75
                  Conferences       documents, offer of settlement, Predictive's
                                    Settlement Offer

                                    To GB re: P&L statement supplemented by
07/01/2019   NR   Email                                                                   $125.00    0.25     $31.25
                                    Predicitive

07/01/2019   JD   Email             From KH re: settlement offer                          $375.00    0.25     $93.75
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                                      To GB re: settlement demand and scheduling
07/01/2019   AM   Email                                                                      $325.00   0.25    $81.25
                                      order

                                      To GB re: discovery supplementation
07/01/2019   NR   Email                                                                      $125.00   0.25    $31.25

07/01/2019   AM   Email               From GB re: settlement offer                           $325.00   0.25    $81.25

07/01/2019   JD   Edits and Proofread Reviewed and Edited Offer of Settlement to OC          $375.00   0.50   $187.50

07/01/2019   NR   Email               To JK re: correspondence from JD                       $125.00   0.25    $31.25

                                      Reviewed and Revised Motion to Compel
07/01/2019   JD   Review                                                                     $375.00   1.50   $562.50
                                      Discovery

                                      To JK re: Attached Third Supplemental Initial
07/01/2019   NR   Email                                                                      $125.00   0.25    $31.25
                                      Disclosures

                  Documents           Reviewed and Edited Supplemental Initial
07/01/2019   JD                                                                              $375.00   0.50   $187.50
                  Reviewed            Disclosures

                  Documents
07/01/2019   NR                       Reviewed and Finalized Production of Documents         $125.00   2.00   $250.00
                  Reviewed

                  Documents
07/01/2019   JD                       Reviewed potential production for supplementation      $375.00   1.50   $562.50
                  Reviewed

                  Interoffice         Interoffice conference with JD re: MSJ and case
07/02/2019   AM                                                                              $325.00   0.75   $243.75
                  Conference          strategy and franchisee complaints

                  Interoffice         Interoffice conference with AM re: MSJ and case
07/02/2019   JD                                                                              $375.00   0.75   $281.25
                  Conference          strategy and franchisee complaints

                                      With VJ re: Motion for Summary Judgment and
07/02/2019   AM   Emails                                                                     $325.00   0.50   $162.50
                                      infringement portion

07/02/2019   JD   Email               From GB re: Job postings for RBW                       $375.00   0.25    $93.75

07/02/2019   NR   Email               To CS re: production                                   $125.00   0.25    $31.25

                  Interoffice         Interoffice conference with JD re: letter to OC and
07/03/2019   AM                                                                              $325.00   0.50   $162.50
                  Conference          franchisee complaints.

                  Interoffice         Interoffice conference with AM re: letter to OC and
07/03/2019   JD                                                                              $375.00   0.50   $187.50
                  Conference          franchisee complaints.

                  Interoffice
07/03/2019   AM                       Interoffice conference with NR re: supplementation.    $325.00   0.25    $81.25
                  Conference

                  Interoffice         Interoffice conference with AM re:
07/03/2019   NR                                                                              $125.00   0.25    $31.25
                  Conference          supplementation.

07/03/2019   AM   Phone Call          Phone call with GB re: letter to franchisees.          $325.00   0.25    $81.25

                                      Email with AM re: edits to letter for opposing
07/03/2019   JD   Miscellaneous       counsel, Email with GB and VJ re: same; Phone          $375.00   1.25   $468.75
                                      call with GB re: Same

07/03/2019   NR   Email               Email to counsel re: correspondence from JD            $125.00   0.25    $31.25

                                      Interoffice conference re: depo notice and Motion to
                  Interoffice
07/08/2019   AM                       Quash/Motion for Protective Order, Motion for          $325.00   0.75   $243.75
                  Conference
                                      Enforcement of Injunction

                                      Interoffice conference re: depo notice and Motion to
                  Interoffice
07/08/2019   JD                       Quash/Motion for Protective Order, Motion for          $375.00   0.75   $281.25
                  Conference
                                      Enforcement of Injunction

                                      Email from S. Keppler re: Deposition Notice to
07/08/2019   JD   Email                                                                      $375.00   0.25    $93.75
                                      North
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                  Interoffice   Interoffice conference re: depo notice and Motion to
07/08/2019   NR   Conference    Quash/Motion for Protective Order.                     $125.00   0.50    $62.50


07/08/2019   JD   Emails        Emails with Dr. North re: deposition                   $375.00   0.25    $93.75

07/09/2019   NR   Email         Email w/Victor. Called and scheduled                   $125.00   0.25    $31.25

                                Worked on Motion for Enforcement/Motion for
                  Documents
07/10/2019   AM                 Contempt. Performed legal research re: the same.       $325.00   1.50   $487.50
                  Prepared
                                Interoffice conference with JD re: the same.

                  Interoffice   Interoffice conference with AM re: Motion for
07/10/2019   JD                                                                        $375.00   0.25    $93.75
                  Conference    Enforcement/Motion for Contempt.

07/10/2019   JD   Email         Email with V. Johnson re: violations                   $375.00   0.25    $93.75

                  Documents
07/11/2019   AM                 Worked on Motion for Enforcement.                      $325.00   1.00   $325.00
                  Prepared

                                With AM re: letter from OC re: Discovery and letter
                  Interoffice
07/12/2019   JD                 to Court regarding discovery; Reviewing letter from    $375.00   0.75   $281.25
                  Conference
                                OC re: Same

                                With JD re: letter from OC re: Discovery and letter
                  Interoffice
07/12/2019   AM                 to Court regarding discovery; Reviewing letter from    $325.00   0.75   $243.75
                  Conference
                                OC re: Same

07/12/2019   AM   Draft         Initial draft of response to OC's letter.              $325.00   0.25    $81.25

                  Interoffice   With JD re: response letter to be sent to Court;
07/14/2019   AM                                                                        $325.00   0.25    $81.25
                  Conference    settlement conference

                  Interoffice   With AM re: response letter to be sent to Court;
07/14/2019   JD                                                                        $375.00   0.25    $93.75
                  Conference    settlement conference

                  Interoffice   Interoffice conference with JD re: offer of
07/15/2019   AM                                                                        $325.00   0.50   $162.50
                  Conference    settlement response.

                  Interoffice   Interoffice conference with AM re: offer of
07/15/2019   JD                                                                        $375.00   0.50   $187.50
                  Conference    settlement response.

                  Interoffice
07/16/2019   JD                 With AM re: response to motion filed                   $375.00   0.25    $93.75
                  Conference

                  Interoffice
07/16/2019   AM                 With JD re: response to motion filed                   $325.00   0.25    $81.25
                  Conference

                                Emails with J.Klein and J. Mayfield re:settlement
07/17/2019   JD   Emails                                                               $375.00   0.50   $187.50
                                conference in federal court

07/18/2019   JD   Email         Email with OC re:motion to substitute exhibit          $375.00   0.50   $187.50

                                Drafted Advisory to the Court; Interoffice
07/18/2019   JD   Draft                                                                $375.00   0.75   $281.25
                                conference with AM re: the same.

                                Reviewed and edited Advisory to the Court.
07/18/2019   AM   Review        Finalized and filed the same. Interoffice conference   $325.00   1.00   $325.00
                                with JD re: the same.

                                Emails with AM, NR and G. Brown re: discovery
07/19/2019   JD   Emails                                                               $375.00   0.25    $93.75
                                and mediation

07/19/2019   AM   Emails        Emails with G. Brown re: Motion for Enforcement        $325.00   0.25    $81.25

                  Interoffice   Interoffice conference with JD re: mediation and
07/19/2019   AM                                                                        $325.00   0.25    $81.25
                  Conference    potential mediation dates.

                  Interoffice   Interoffice conference with AM re: mediation and
07/19/2019   JD                                                                        $375.00   0.25    $93.75
                  Conference    potential mediation dates.
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07/19/2019   AM   Worked             Worked on draft of Motion for Enforcement.              $325.00   1.00    $325.00

                  Interoffice        Interoffice conference with JD re: Motion for Leave
07/22/2019   AM   Conference         response.                                               $325.00   0.25     $81.25


                  Interoffice        Interoffice conference with AM re: Motion for Leave
07/22/2019   JD                                                                              $375.00   0.25     $93.75
                  Conference         response.

                                     Finalized and E-filed Response to Motion for Leave
07/23/2019   NR   Miscellaneous                                                              $125.00   0.50     $62.50
                                     to Exceed Page Limitation.

07/23/2019   JD   Email              Email VJ re: research.                                  $375.00   0.25     $93.75

                                     Reviewed and edited Motion for Leave response.
07/23/2019   AM   Review                                                                     $325.00   1.00    $325.00
                                     Interoffice conference with JD/NR re: the same.

                  Interoffice        Interoffice conference with AM/NR re: Motion for
07/23/2019   JD                                                                              $375.00   0.50    $187.50
                  Conference         Leave response and Motion for Enforcement

                  Interoffice        Interoffice conference with AM/JD re: Motion for
07/23/2019   NR                                                                              $125.00   0.50     $62.50
                  Conference         Leave response and Motion for Enforcement

                                     Worked on Motion for Enforcement; research for
07/23/2019   AM   Worked                                                                     $325.00   2.00    $650.00
                                     Motion for Summary Judgment.

07/23/2019   JD   Draft              Drafted and Edited Response to Motion for Leave.        $375.00   0.25     $93.75

07/23/2019   JD   Email              Email OC re: page limits to response.                   $375.00   0.25     $93.75

07/23/2019   JD   Email              Email to VJ re: Motion for Enforcement.                 $125.00   0.25     $31.25

                                     Worked on Motion for Enforcement and Agreed
07/23/2019   JD   Worked                                                                     $125.00   0.50     $62.50
                                     Preliminary Injunction and email OC.

07/23/2019   JD   Email              Email with OC re: Enforcement of Injunction             $125.00   0.25     $31.25

07/24/2019   NR   Email              Emails to OC et al re: conference call.                 $125.00   0.50     $62.50

                                     Worked on Motion for Enforcement/Motion for
07/24/2019   AM   Worked                                                                     $325.00   3.50   $1,137.50
                                     Contempt; Performed research re: Same

                  Interoffice        Interoffice conference with EJ re: review of
07/24/2019   AM                                                                              $325.00   0.25     $81.25
                  Conference         documents and Motion to Compel.

                  Interoffice        Interoffice conference with AM re: review of
07/24/2019   EJ                                                                              $300.00   0.25     $75.00
                  Conference         documents and Motion to Compel.

                                     Phone Conference with OC re: Enforcement of
07/24/2019   JD   Correspondence     Injunction and Violations; Interoffice conference re:   $375.00   2.25    $843.75
                                     Same; Reviewed and Edited same

                                     Interoffice Conference re: Enforcement of
                  Interoffice
07/24/2019   AM                      Injunction and Violations and Conference with OC        $325.00   0.50    $162.50
                  Conference
                                     re: Same

                                     Interoffice Conference re: Enforcement of
                  Interoffice
07/24/2019   NR                      Injunction and Violations and Conference with OC        $125.00   0.50     $62.50
                  Conference
                                     re: Same

07/25/2019   NR   Email              Email OC re: mediation.                                 $125.00   0.25     $31.25

                  Documents          Reviewed documents for motion to compel
07/25/2019   EJ                                                                              $300.00   2.50    $750.00
                  Reviewed           response.

07/25/2019   AM   Prep for Hearing   Preparation for and attendance - phone hearing.         $325.00   1.00    $325.00

07/25/2019   JD   Prep for Hearing   Preparation for and attendance - phone hearing.         $375.00   1.00    $375.00

07/25/2019   EJ   Prep for Hearing   Preparation for and attendance - phone hearing.         $300.00   1.00    $300.00
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                  Interoffice        Interoffice conference with EJ re: Motion to Compel
07/25/2019   AM                                                                            $325.00   0.50   $162.50
                  Conference         response.

                  Interoffice        Interoffice conference with AM re: Motion to
07/25/2019   EJ                                                                            $300.00   0.50   $150.00
                  Conference         Compel response.

                                     Review of Motion to Compel response and
                                     Predictive's answer in preparation of phone
07/25/2019   AM   Review             meeting. Interoffice conference with JD re: the       $325.00   0.50   $162.50
                                     same.


                  Interoffice        Interoffice conference with AM re: Motion to
07/25/2019   JD                                                                            $375.00   0.25    $93.75
                  Conference         Compel Response and Predictive's answer.

                                     Worked on Motion for Summary Judgment;
07/25/2019   AM   Worked                                                                   $325.00   1.25   $406.25
                                     Interoffice Conference with JD re: Same

                                     Phone conference with VJ re: Motion for
07/25/2019   AM   Phone Conference   Enforcement/Motion for Contempt and phone             $325.00   0.25    $81.25
                                     hearing.

                                     Phone conference with VJ re: Motion for
07/25/2019   JD   Phone Conference   Enforcement/Motion for Contempt and phone             $375.00   0.25    $93.75
                                     hearing.

                  Interoffice
07/25/2019   JD                      Interoffice conference with AM re: MSJ                $375.00   0.25    $93.75
                  Conference

07/26/2019   AM   Email              Email from OC re: deposition of Plaintiff's expert.   $325.00   0.25    $81.25

                  Interoffice        Interoffice conference with AM/NR re: Expert
07/26/2019   JD                                                                            $375.00   0.25    $93.75
                  Conference         deposition.

                  Interoffice        Interoffice conference with JD/NR re: Expert
07/26/2019   AM                                                                            $325.00   0.25    $81.25
                  Conference         deposition.

                  Interoffice        Interoffice conference with AM/JD re: Expert
07/26/2019   NR                                                                            $125.00   0.25    $31.25
                  Conference         deposition.

                                     Receive/review GB email to MT/LS re: call with
07/26/2019   AM   Receive/review                                                           $325.00   0.25    $81.25
                                     Judge Allbright.

                                     Review of case and email re: deadline to produce
07/26/2019   JD   Review                                                                   $375.00   1.00   $375.00
                                     documents.

                                     Email from/to Dr. North re: deposition; Emails with
07/26/2019   NR   Email                                                                    $125.00   0.50    $62.50
                                     OC re: Same

                                     Email from OC re: privileged documents in
07/26/2019   JD   Email                                                                    $375.00   0.50   $187.50
                                     inadvertently produced by Defendant.

                                     Performed legal research for and worked on
07/26/2019   AM   Research                                                                 $325.00   2.00   $650.00
                                     drafting Motion for Summary Judgment.

                  Interoffice        Interoffice conference with JD re: supplementing
07/26/2019   AM                                                                            $325.00   0.25    $81.25
                  Conference         discovery.

                  Interoffice        Interoffice conference with AM re: supplementing
07/26/2019   JD                                                                            $375.00   0.25    $93.75
                  Conference         discovery.

                  Documents          Reviewed and Edited Motion for Summary
07/26/2019   JD                                                                            $375.00   0.50   $187.50
                  Prepared           Judgement Draft

                  Interoffice        Interoffice conference with NR re: privileged
07/29/2019   JD                                                                            $375.00   0.25    $93.75
                  Conference         documents produced by Defendant.

                  Interoffice        Interoffice conference with JD re: privileged
07/29/2019   NR                                                                            $125.00   0.25    $31.25
                  Conference         documents produced by Defendant.
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07/29/2019   JD   Email         Email from OC re: privilege logs of Defendant.          $375.00            0.25       $93.75

                                Email from GB re: review of supplemental
07/29/2019   JD   Email                                                                 $375.00            0.25       $93.75
                                production.

                                Updating database re Discovery, archived and
                  Documents     downloaded to serve, upload of new PP
07/29/2019   EJ                                                                         $300.00            2.25      $675.00
                  Reviewed      production.


                                Downloaded and Reviewed Supplemental
                                Production by Defendants; Reviewed
                  Documents     correspondence from OC re: Inadvertent
07/29/2019   NR                                                                         $125.00            1.75      $218.75
                  Reviewed      Production; Removed production re: Same;
                                Correspondence to Client re: Production; Interoffice
                                conference with EJ re: Same

                  Documents     Reviewed supplemental production; Emails re:
07/29/2019   JD                                                                         $375.00            0.25       $93.75
                  Reviewed      Same

07/30/2019   NR   Email         Email to/from GB re: conference call.                   $125.00            0.25       $31.25

                  Interoffice   Multiple interoffice conferences with EJ re: OC's
07/30/2019   AM                                                                         $325.00            1.00      $325.00
                  Conference    supplemental discovery.

                  Interoffice   Multiple interoffice conferences with AM re: OC's
07/30/2019   EJ                                                                         $300.00            1.00      $300.00
                  Conference    supplemental discovery.

                  Interoffice   Interoffice conference with NR re: Court's call and
07/30/2019   AM                                                                         $325.00            0.25       $81.25
                  Conference    scheduling issues.

                  Interoffice   Interoffice conference with AM re: Court's call and
07/30/2019   NR                                                                         $125.00            0.25       $31.25
                  Conference    scheduling issues.

                                Analysis and comparison of supplemental
                  Documents
07/30/2019   EJ                 production. Crated notes and spreadsheet re: the        $300.00            6.50    $1,950.00
                  Reviewed
                                same.

                  Documents
07/30/2019   JD                 Review supplemental production                          $375.00            0.50      $187.50
                  Reviewed

                                Performed legal research for MSJ; Worked on MSJ
07/31/2019   AM   Research                                                              $325.00            2.00      $650.00
                                draft

                                                                                         Totals:         87.75    $27,006.25


                                                                                       Time Entry Sub-Total:      $27,006.25
                                                                                                   Sub-Total:     $27,006.25


                                                                                                       Total:     $27,006.25
                                                                                             Amount Paid:              $0.00

                                                                                              Balance Due:        $27,006.25
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




The Dwyer Group                                                                 Balance           $52,055.05
Attn: Accounts Payable                                                          Invoice #         41174
1010 North University Parks Drive
Waco, TX 76707                                                                  Invoice Date      September 5, 2019
                                                                                Payment Terms     Due on Receipt
                                                                                Due Date          September 05, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
August 01, 2019 and August 31, 2019

Time Entries

Date         EE   Activity          Description                                            Rate      Hours   Line Total

                                    Emails with G. Brown and C. Smith re: mediation
08/01/2019   JD   Emails                                                                $375.00       0.25     $93.75
                                    setting; Emails with V. Johnson re: Same

08/01/2019   NR   Email             Email to V. Johnson re: supplemental discovery      $125.00       0.25     $31.25

                  Interoffice       Meeting with AM re: mediation memo and timeline;
08/01/2019   JD                                                                         $375.00       1.50    $562.50
                  Conference        and made edits to document

                  Interoffice
08/01/2019   AM                     Meeting with JD re: mediation memo and timeline     $325.00       0.50    $162.50
                  Conference

                                    Phone Call to Court Clerk re: MSJ filing timeline
08/01/2019   AM   Phone Call                                                            $325.00       0.25     $81.25
                                    and court's text order.

                  Documents         Worked on draft of mediation memo; worked on
08/01/2019   AM                                                                         $325.00       3.00    $975.00
                  Prepared          timeline exhibit to mediation memo;

                                    Emails with S. Keppler re: Motion for Summary
08/05/2019   JD   Emails            Judgment; Email to V. Johnson re: mediation         $375.00       0.50    $187.50
                                    memo, trade dress and IP

                  Interoffice       Meeting with JD re: predictive supplementation
08/05/2019   AM                                                                         $325.00       0.50    $162.50
                  Conference        review and mediation memo

                  Interoffice       Meeting with AM re: predictive supplementation
08/05/2019   JD                                                                         $375.00       0.50    $187.50
                  Conference        review and mediation memo

                  Documents
08/06/2019   JD                     Review and Edited Mediation memo                    $375.00       1.75    $656.25
                  Prepared

                                    Email to G. Brown re: mediation memo and
08/06/2019   AM   Email                                                                 $325.00       0.25     $81.25
                                    timeline

                                    Review of documents and edits/comments made to
08/06/2019   EJ   Review                                                                $300.00       0.50    $150.00
                                    mediation memo.
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                  Documents
08/06/2019   AM                       Reviewed and Edited Mediation Memo                     $325.00    0.50    $162.50
                  Prepared

                                      Email from G. Brown re: edits to memo; Reviewed
08/07/2019   AM   Email                                                                      $325.00    0.50    $162.50
                                      and incorporated changes into Memo re: Same;

08/07/2019   JD   Edits and Proofread Proofread and edited memo, reviewed exhibits           $375.00    3.00   $1,125.00

                                      Email to G. Brown re: mediation memo and
08/07/2019   JD   Email                                                                      $375.00    0.25     $93.75
                                      timeline

                  Interoffice
08/07/2019   AM                       Interoffice conference re: mediation memo.             $325.00    0.75    $243.75
                  Conference

                  Interoffice
08/07/2019   EJ                       Interoffice conference re: mediation memo.             $300.00    0.75    $225.00
                  Conference

                  Interoffice
08/07/2019   JD                       Interoffice conference re: mediation memo.             $375.00    0.75    $281.25
                  Conference

                  Interoffice
08/07/2019   NR                       Interoffice conference re: mediation memo.             $125.00    0.75     $93.75
                  Conference

                  Documents           Reviewed and Edited Mediation Memo and
08/07/2019   AM                                                                              $325.00    1.00    $325.00
                  Prepared            Timeline

                                      Worked on timeline, mediation memo and
08/07/2019   EJ   Worked                                                                     $300.00    6.00   $1,800.00
                                      documents to include.

                                      Review documents and production for Mediation
08/07/2019   NR   Document Review                                                            $125.00    2.25    $281.25
                                      Memo

                                      Review Defendant's Supplemental Production for
08/07/2019   NR   Document Review                                                            $125.00    2.25    $281.25
                                      Timeline

                                      Email from G. Brown re: mediation memo; Emails
                                      with S. Keppler re: discovery; Emails with V.
                                      Johnson re: invoices; Emails from V. Johnson re:
08/08/2019   JD   Emails                                                                     $375.00    0.75    $281.25
                                      same



                                      Email to Judge Manske re:mediation memo; Email
08/08/2019   AM   Emails                                                                     $325.00    0.25     $81.25
                                      to G. Brown re: same

                  Documents           Reviewed, Edited and Finalized Mediation Memo
08/08/2019   JD                                                                              $375.00    5.00   $1,875.00
                  Prepared            and timeline

                  Documents           Reviewed, Edited and Finalized Mediation Memo
08/08/2019   EJ                                                                              $300.00    3.00    $900.00
                  Prepared            and timeline

                  Documents           Reviewed, Edited and Finalized Mediation Memo
08/08/2019   AM                                                                              $325.00    5.00   $1,625.00
                  Prepared            and timeline

                                      Reviewed, Edited and Finalized Mediation Memo
                  Documents
08/08/2019   NR                       and timeline; Reviewing documents for Memo and         $125.00    3.75    $468.75
                  Prepared
                                      Timeline

                                      Email to V. Johnson re: exhibits and draft of Motion
08/12/2019   NR   Email                                                                      $125.00    0.25     $31.25
                                      for Enforcement

08/12/2019   NR   Mediation           Attend Mediation                                       $125.00   10.00   $1,250.00

08/12/2019   JD   Mediation           Attend Mediation                                       $375.00   10.00   $3,750.00

08/12/2019   AM   Mediation           Attend Mediation                                       $325.00   10.00   $3,250.00

                                      Drafted self management letter and emailed to
08/13/2019   JD   Draft               team; Email from V. Johnson with edits; Email to V.    $375.00    0.50    $187.50
                                      Johnson re: motion for contempt
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                                    Emails with C. Smith re: North deposition and prep
08/13/2019   NR   Emails                                                                      $125.00    0.25     $31.25
                                    session

                                    Reviewed and Edited Motion for Enforcement and
                                    Motion to Contempt; Emails with Client re: Same;
08/13/2019   JD   Miscellaneous                                                               $375.00    7.25   $2,718.75
                                    Reviewed Exhibits for Motion; Interoffice
                                    conferences re: Same

                                    Reviewed and edited draft of Motion for
                                    Enforcement; Emails with Client re: Same;
08/13/2019   AM   Review                                                                      $325.00   10.00   $3,250.00
                                    Interoffice Conferences re: Same; Reviewing
                                    Exhibits re: Same

                                    Reviewed and Finalized Motion for Enforcement
                  Documents
08/13/2019   NR                     and Motion to Contempt; Reviewed and Compiled             $125.00    4.50    $562.50
                  Prepared
                                    Exhibits re: Same

                  Interoffice
08/14/2019   AM                     Meeting with NR re: dispositive motion deadline.          $325.00    0.25     $81.25
                  Conference

                  Interoffice
08/14/2019   NR                     Meeting with AM re: dispositive motion deadline.          $125.00    0.25     $31.25
                  Conference

                                    Emails with G. Brown and V. Johnson re: Motion to
                                    be filed today and email to OC; Email from V.
                                    Johnson with edits; Email from G. Brown to file
08/14/2019   JD   Emails                                                                      $375.00    0.50    $187.50
                                    motion; Email to opposing counsel re: Motion for
                                    Leave to re-open discovery; SMG third party
                                    discovery

                                    Email with V. Johnson re: damages
08/15/2019   JD   Email                                                                       $375.00    0.25     $93.75

08/15/2019   NR   Emails            Emails with North re: deposition prep                     $125.00    0.25     $31.25

                                    Emails with North re: meeting for deposition
08/16/2019   NR   Emails                                                                      $125.00    0.25     $31.25
                                    preparation

                  Interoffice       Conference with JD re: MSJ and briefing schedule
08/19/2019   AM                                                                               $325.00    0.50    $162.50
                  Conference        and Duces Tecum response

                  Interoffice       Conference with AM re: MSJ and briefing schedule
08/19/2019   JD                                                                               $375.00    0.50    $187.50
                  Conference        and Duces Tecum response.

                                    Phone call with clerk re: MSJ briefing schedule.
08/19/2019   AM   Phone Call                                                                  $325.00    0.50    $162.50
                                    Drafted Joint Motion and sent to opposing counsel.

                  Documents         Finalized and Filed Joint Motion on Summary
08/19/2019   NR                                                                               $125.00    0.50     $62.50
                  Prepared          Judgment Submission Schedule

                                    Review document production and emails re:
08/19/2019   NR   Document Review                                                             $125.00    1.75    $218.75
                                    Exhibits for Motion for Summary Judgment

08/20/2019   JD   Email             Email to North re: discovery                              $375.00    0.25     $93.75

                                    Review and Draft Motion for Summary Judgment;
                                    Emails with client re: edits and revisions; Interoffice
08/20/2019   JD   Miscellaneous                                                               $375.00   13.25   $4,968.75
                                    conferences re: Same; Draft and Edit Response to
                                    Motion for Leave to Exceed Page Limits

                                    Review and Draft Motion for Summary Judgment;
                                    Emails with client re: edits and revisions; Interoffice
08/20/2019   AM   Miscellaneous                                                               $325.00   18.00   $5,850.00
                                    conferences re: Same; Draft and Edit Response to
                                    Motion for Leave to Exceed Page Limits
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                                    Review, Edit and Finalize Motion for Summary
                                    Judgment; Interoffice conferences re: Same;
                                    Review and Compile Exhibits re: same; Preparing
08/20/2019   NR   Miscellaneous     and Filing of Same; Review, Edit, Finalize and Filed   $125.00   12.00   $1,500.00
                                    Response to Motion for Leave to Exceed Page
                                    Limits


08/20/2019   JD   Meeting           Meeting with Dr. North to prep for Deposition          $375.00    1.00    $375.00

                                    Emails with G. Brown re: MSJ filed by predictive
08/21/2019   NR   Emails                                                                   $125.00    0.25     $31.25
                                    and our MSJ

                                    Emails with G. Brown re: responses and Mary's
                                    review; Email to LE to send one email to G. Brown
08/21/2019   JD   Emails                                                                   $375.00    0.25     $93.75
                                    re: Trial prep


                  Interoffice       Meeting re: North's deposition and email from OC
08/21/2019   JD                                                                            $375.00    0.75    $281.25
                  Conference        and Court's Ruling

                  Interoffice       Meeting re: North's deposition and email from OC
08/21/2019   AM                                                                            $325.00    0.75    $243.75
                  Conference        and Court's Ruling

                  Interoffice
08/21/2019   NR                     Meeting re: North's deposition and email from OC       $125.00    0.25     $31.25
                  Conference

                                    Review and Analyze Predictive Profiles' Motions for
08/21/2019   JD   Document Review   Summary Judgment; Interoffice conference re:           $375.00    1.25    $468.75
                                    Same

                                    Review and Analyze Predictive Profiles' Motions for
08/21/2019   AM   Document Review   Summary Judgment; Interoffice conference re:           $325.00    1.25    $406.25
                                    Same

                                    Email to G. Brown re: Motion for contempt; Emails
08/22/2019   JD   Emails                                                                   $375.00    0.50    $187.50
                                    with V. Johnson re: North's damages

                  Interoffice       With AM and NR re: untimely filing and Motion to
08/22/2019   JD                                                                            $375.00    0.25     $93.75
                  Conference        Strike

                  Interoffice       With JD and NR re: untimely filing and Motion to
08/22/2019   AM                                                                            $325.00    0.25     $81.25
                  Conference        Strike

                  Interoffice       With AM and JD re: untimely filing and Motion to
08/22/2019   NR                                                                            $125.00    0.25     $31.25
                  Conference        Strike

                                    Interoffice conference with JD re: expert deposition
                  Interoffice
08/22/2019   AM                     and MFE response filed; began preliminary review       $325.00    0.75    $243.75
                  Conference
                                    of the same.

                  Interoffice       Interoffice conference with AM re: expert
08/22/2019   JD                                                                            $375.00    0.50    $187.50
                  Conference        deposition and MFE response filed.

                                    Preparation for and attending the Deposition of
08/22/2019   JD   Deposition                                                               $375.00    6.00   $2,250.00
                                    Charles North

                  Interoffice
08/23/2019   JD                     Meeting with NR re: Response with exhibits             $375.00    0.25     $93.75
                  Conference

                  Interoffice
08/23/2019   NR                     Meeting with JD re: Response with exhibits             $125.00    0.25     $31.25
                  Conference

                  Interoffice       Meeting with JD and NR re: meeting being moved
08/26/2019   AM                                                                            $325.00    0.25     $81.25
                  Conference        and Motion for Enforcement reply

                  Interoffice       Meeting with AM and NR re: meeting being moved
08/26/2019   JD                                                                            $375.00    0.25     $93.75
                  Conference        and Motion for Enforcement reply
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                  Interoffice   Meeting with JD and AM re: meeting being moved
08/26/2019   NR                                                                    $125.00           0.25        $31.25
                  Conference    and Motion for Enforcement reply

                  Documents     Worked on Motion for Enforcement Reply;
08/27/2019   AM                                                                    $325.00           2.50       $812.50
                  Prepared      interoffice conference with JD re: the same.

                  Documents     Review and Edit Motion for Enforcement Reply;
08/27/2019   JD   Prepared      interoffice conference with AM re: the same.       $375.00           0.75       $281.25


                  Interoffice   Meeting with JD re: Reply on Motion for
08/28/2019   AM                                                                    $325.00           0.75       $243.75
                  Conference    Enforcement Motion to Contempt and edits made

                  Interoffice   Meeting with AM re: Reply on Motion for
08/28/2019   JD                                                                    $375.00           0.75       $281.25
                  Conference    Enforcement Motion to Contempt and edits made

                                Email to team re: updated Reply on Motion for
08/29/2019   AM   Email                                                            $325.00           0.25        $81.25
                                Enforcement Motion for Contempt

                                Review and Edit Reply on Motion for Enforcement
                  Documents
08/29/2019   JD                 Motion for Contempt; Interoffice conference re:    $375.00           1.25       $468.75
                  Prepared
                                Same

                                Review and Edit Reply on Motion for Enforcement
                  Documents
08/29/2019   AM                 Motion for Contempt; Interoffice conference re:    $325.00           1.00       $325.00
                  Prepared
                                Same

                                Review, Finalize, and File Reply on Motion for
                  Documents
08/29/2019   NR                 Enforcement Motion for Contempt; Interoffice       $125.00           0.75        $93.75
                  Prepared
                                conference re: Same

                                Meeting with Clients re: MSJ Responses and
08/29/2019   AM   Meeting                                                          $325.00           1.00       $325.00
                                Motion for Enforcement Reply

                                Meeting with Clients re: MSJ Responses and
08/29/2019   JD   Meeting                                                          $375.00           1.00       $375.00
                                Motion for Enforcement Reply

                                Meeting with Clients re: MSJ Responses and
08/29/2019   NR   Meeting                                                          $125.00           1.00       $125.00
                                Motion for Enforcement Reply

                                Meeting with Clients re: MSJ Responses and
08/29/2019   MD   Meeting                                                          $125.00           1.00       $125.00
                                Motion for Enforcement Reply

                                                                                    Totals:        175.50    $51,206.25

Expenses

Date         EE   Activity      Description                                           Cost        Quantity    Line Total

08/13/2019   NR   Court fees    Motion for Enforcement and Motion for Contempt      $13.40             1.0       $13.40

08/14/2019   NR   Software      Everlaw                                            $748.33             1.0      $748.33

08/26/2019   NR   Mailing       FedEx Overnight: Correspondence to SMG              $87.07             1.0       $87.07

                                                                                          Expense Total:        $848.80


                                                                                  Time Entry Sub-Total:      $51,206.25
                                                                                    Expense Sub-Total:         $848.80
                                                                                              Sub-Total:     $52,055.05


                                                                                                  Total:     $52,055.05
                                                                                        Amount Paid:              $0.00

                                                                                         Balance Due:        $52,055.05
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                                    Balance          $39,852.51
Attn: Accounts Payable                                                              Invoice #        41220
1010 North University Parks Drive
Waco, TX 76707                                                                      Invoice Date     October 2, 2019
                                                                                    Payment Terms    Due on Receipt
                                                                                    Due Date         October 02, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
September 01, 2019 and September 30, 2019

Time Entries

Date         EE   Activity         Description                                                Rate   Hours   Line Total

                                   Email to team re: motion being filed to object and
09/05/2019   JD   Email                                                                    $375.00    0.25     $93.75
                                   strike the opinions of Dr. North.

09/06/2019   JD   Email            Email to G. Brown re: information on disclosures        $375.00    0.25     $93.75

                                   Emails with J. Mayfield re: contempt response and
09/09/2019   JD   Emails                                                                   $375.00    0.25     $93.75
                                   MSJ responses.

                                   Email and Phone Call with M. Fishbein (OC) re:
09/10/2019   NR   Correspondence   Motion to File Under Seal; Interoffice conference       $125.00    0.75     $93.75
                                   with JD re: Same

                                   (AS - Intern) Research, reviewed, cited case law,
09/10/2019   LE   Research         and drafted sections of MSJ reply; Interoffice          $125.00    3.25    $406.25
                                   conference with JD re: Same

                                   Interoffice conference with NR re: re: Motion to File
                  Interoffice
09/10/2019   JD                    Under Seal; Interoffice conference with Intern re:      $375.00    0.75    $281.25
                  Conference
                                   MSJ Reply Research

                                   Review M. Thompson's Notes; Draft, Edit and
09/11/2019   AM   Miscellaneous    Review Declaration; Meeting w/ JD re: Mary's            $325.00    1.75    $568.75
                                   declaration

                                   Review and Edit Mary's Declaration; Meeting w/
09/11/2019   JD   Miscellaneous                                                            $375.00    1.50    $562.50
                                   AM re: review of Mary's declaration

                                   Emails with G. Brown re: Declaration of M.
09/11/2019   JD   Emails                                                                   $375.00    0.50    $187.50
                                   Thompson edits

                                   Review and Compile Emails Mary Requested;
09/11/2019   NR   Email            Email to team re: same; Review and Edit                 $125.00    1.00    $125.00
                                   Declaration
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09/11/2019   AM   Worked      Worked on MSJ responses                              $325.00    2.50
                                                                                                      $812.50

                  Documents
09/11/2019   JD               Reviewed and Edited MSJ Responses                    $375.00    1.75    $656.25
                  Prepared

                              (AS - Intern) Research, reviewed, cited case law,
09/11/2019   LE   Research                                                         $125.00    2.50    $312.50
                              and drafted sections of MSJ reply.

                              Worked on Three Motion for Summary Judgment
                              Responses, performed legal research regarding the
09/12/2019   AM   Worked      same, and interoffice conferences regarding the      $325.00   11.25   $3,656.25
                              same; Meeting with EJ re: bates labeling of
                              documents

                              Worked on summary judgment, timeline and
09/12/2019   EJ   Worked      declaration; Meeting with AM re: bates labeling of   $300.00    1.75    $525.00
                              documents

                              Reviewed and Edited Three Motion for Summary
                              Judgment Responses, and interoffice conferences
                  Documents   regarding the same; Email from C. Smith re:
09/12/2019   JD                                                                    $375.00    6.25   $2,343.75
                  Prepared    Declaration of M. Thompson with her edits; Emails
                              with V. Johnson re: MSJ Response and Expert
                              Challenge

                              Reviewed and Edited Three Motion for Summary
                  Documents
09/12/2019   NR               Judgment Responses, and interoffice conferences      $125.00    3.25    $406.25
                  Prepared
                              regarding the same.

                              (AS - Intern) Research, reviewed, cited case law,
09/12/2019   LE   Research                                                         $125.00    3.50    $437.50
                              and drafted sections of MSJ reply.

                              Emails with M. Thompson, G. Brown, C. Smith, and
09/13/2019   JD   Emails      V. Johnson re: MSJ Responses and IP                  $375.00    1.25    $468.75
                              Registrations

                              Worked on Three Motion for Summary Judgment
                              Responses, performed legal research regarding the
                              same, reviewed and edited the same, worked on
09/13/2019   AM   Worked                                                           $325.00   17.00   $5,525.00
                              supporting evidence for the same, interoffice
                              conferences regarding the same, and finalizing of
                              the same.

                              Worked on summary judgment, timeline,
09/13/2019   EJ   Worked      declaration and organizing documents; Interoffice    $300.00    6.75   $2,025.00
                              conferences re: Same

                              (AS - Intern) Research, reviewed, cited case law,
09/13/2019   LE   Research                                                         $125.00    9.25   $1,156.25
                              and drafted sections of MSJ reply.

                              Worked on Three Motion for Summary Judgment
                              Responses, performed legal research regarding the
                              same, reviewed and edited the same, worked on
                  Documents   supporting evidence for the same, interoffice
09/13/2019   JD                                                                    $375.00   16.25   $6,093.75
                  Prepared    conferences regarding the same, and finalizing of
                              the same; Emails with M. Thompson, G. brown, C.
                              Smith, and V. Johnson re: MSJ Responses and IP
                              Registrations.

                              Reviewed, Edited, and gathered cites for Three
                              Motion for Summary Judgment Responses,
                  Documents
09/13/2019   NR               compiled supporting evidence for the same,           $125.00   11.25   $1,406.25
                  Prepared
                              interoffice conferences regarding the same, and
                              finalizing and filing of same
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                                    Reviewed and Edited Three Motion for Summary
                                    Judgment Responses, performed legal research
09/13/2019   MD   Document Review   regarding the same, interoffice conferences           $125.00   7.25    $906.25
                                    regarding the same.


                                    Emails with Dr. North and V. Johnson re:
09/14/2019   JD   Emails            declaration for expert challenge response;            $375.00   0.75    $281.25
                                    Reviewing and Editing Same

09/16/2019   NR   Emails            Emails with G. Brown re: file marked Motions          $125.00   0.25     $31.25

09/16/2019   AM   Emails            Emails with C.North re:Declaration                    $325.00   0.25     $81.25

                                    Emails with S. Keppler re: Motion for Leave; Emails
09/16/2019   JD   Emails                                                                  $375.00   0.50    $187.50
                                    with V. Johnson re: Same

                                    Emails with V. Johnson and NR re: Motion to
09/16/2019   JD   Emails                                                                  $375.00   0.75    $281.25
                                    Strike; made edits re: the same.

                  Interoffice       Interoffice conference re: MTS Response;
09/16/2019   AM                                                                           $325.00   0.50    $162.50
                  Conference        Reviewing and editing same

                                    Reviewing and editing MTS Response; Interoffice
09/16/2019   JD   Review                                                                  $375.00   1.00    $375.00
                                    conference re: Same

                  Interoffice
09/16/2019   AM                     Interoffice conference with intern (AS) re: MSJ.      $325.00   0.25     $81.25
                  Conference

                  Interoffice
09/16/2019   AM                     (Intern AS) Interoffice conference with AM re: MSJ.   $125.00   0.25     $31.25
                  Conferences

                                    Drafted Motion for Leave; Email correspondence
                  Documents
09/16/2019   NR                     re: Same; Interoffice conference re: same and         $125.00   1.25    $156.25
                  Prepared
                                    Motion to Strike

09/17/2019   JD   Emails            Emails with C. Smith re: witnesses                    $375.00   0.25     $93.75

                                    Meeting with NR re: witnesses; Emails with C.
09/17/2019   JD   Miscellaneous                                                           $375.00   0.50    $187.50
                                    Smith re: same

                                    (AS - Intern) Research, reviewed, cited case law,
09/17/2019   LE   Research                                                                $125.00   2.75    $343.75
                                    and drafted sections of MSJ reply.

                  Interoffice       Meeting with JD re: Witnesses.
09/17/2019   NR                                                                           $125.00   0.50     $62.50
                  Conference

                  Interoffice
09/18/2019   AM                     Interoffice conference re: Predictive Reply.          $325.00   0.25     $81.25
                  Conference

                  Interoffice
09/18/2019   JD                     Interoffice conference re: Predictive Reply           $375.00   0.25     $93.75
                  Conference

                                    (AS - Intern) Research, reviewed, cited case law,
09/18/2019   LE   Research                                                                $125.00   2.25    $281.25
                                    and drafted sections of MSJ reply.

                  Interoffice
09/18/2019   NR                     Interoffice conference re: Predictive Reply           $125.00   0.25     $31.25
                  Conference

                                    Reviewed and Edited Motion for Summary
09/19/2019   JD   Edits                                                                   $375.00   4.75   $1,781.25
                                    Judgment Reply; Interoffice conference re: same

                                    Worked on MSJ Reply. Interoffice conference re:
09/19/2019   AM   Worked                                                                  $325.00   3.50   $1,137.50
                                    the same

                  Interoffice
09/19/2019   AM                     (AS - Intern) Interoffice conference re: MSJ Reply.   $125.00   0.50     $62.50
                  Conference

                                    (AS - Intern) Research, reviewed, cited case law,
09/19/2019   LE   Research                                                                $125.00   3.00    $375.00
                                    and drafted sections of MSJ reply.
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                                     Reviewed and Edited Motion for Summary
09/19/2019   NR   Miscellaneous                                                             $125.00       0.75       $93.75
                                     Judgment Reply; Interoffice conference re: same

09/20/2019   JD   Emails             Emails with G. Brown re: MSJ denial by Judge           $375.00       0.25       $93.75

                                     Interoffice conference re: trial prep and MSJ Reply;
09/20/2019   JD   Miscellaneous      Review Orders Denying MSJs; Interoffice                $375.00       1.75      $656.25
                                     conference re: Same

                                     Interoffice conference re: trial prep and MSJ Reply;
                  Interoffice
09/20/2019   NR                      Review and Download Orders Denying MSJs;               $125.00       1.75      $218.75
                  Conference
                                     Interoffice conference re: Same

                                     Interoffice conference re: trial prep and MSJ Reply;
                  Interoffice
09/20/2019   AM                      Review Orders Denying MSJs; Interoffice                $325.00       2.00      $650.00
                  Conference
                                     conference re: Same

                  Interoffice
09/20/2019   EJ                      Interoffice conference re: trial prep                  $325.00       0.75      $243.75
                  Conference

                                     Emails with G. Brown re: Pre-Trial hearing setting
09/24/2019   NR   Emails                                                                    $125.00       0.25       $31.25
                                     and parties to attend

                                     Emails with C. Smith to set up prep sessions for
09/24/2019   NR   Emails                                                                    $125.00       0.25       $31.25
                                     upcoming hearing

                                     Prepare for and phone call with OC re: settlement;
09/25/2019   AM   Phone Call                                                                $325.00       0.50      $162.50
                                     interoffice conference re: the same.

                                     Prepare for and phone call with OC re: settlement;
09/25/2019   JD   Phone Call                                                                $375.00       0.50      $187.50
                                     interoffice conference re: the same.

                                     Email to G. Brown re: phone call with OC regarding
09/25/2019   JD   Email                                                                     $375.00       0.25       $93.75
                                     settlement.

                                     Prepare for and phone call with OC re: settlement;
09/25/2019   NR   Phone Conference                                                          $125.00       0.50       $62.50
                                     interoffice conference re: the same.

                  Interoffice        Meeting re: scheduling a prep meeting and pretrial
09/27/2019   JD                                                                             $375.00       0.50      $187.50
                  Conference         disclosures

09/27/2019   NR   Email              Email to Dwyer team re: prep session                   $125.00       0.25       $31.25

                                     Emails with S. Keppler re: pretrial amended
                                     scheduling order; Email to NR to file; Interoffice
09/27/2019   JD   Emails                                                                    $375.00       1.00      $375.00
                                     conference re: pretrial disclosures and prep
                                     meeting

                                     Review of local rules; Draft memo re: Same;
09/27/2019   AM   Miscellaneous      Interoffice conference re: Prep meeting and pretrial   $325.00       1.75      $568.75
                                     disclosures

                  Interoffice        Interoffice conference re: Pretrial Meeting and
09/27/2019   NR                                                                             $125.00       1.25      $156.25
                  Conference         Disclosures

                                     Email to J. Mayfield re: electronic signature on
09/30/2019   NR   Email                                                                     $125.00       0.25       $31.25
                                     scheduling filing

                                     Email to V. Johnson re: findings / conclusions for
09/30/2019   JD   Email                                                                     $375.00       0.25       $93.75
                                     pre-trial and exhibits

                                     Finalizing and Filing of Joint Motion to Extend Pre-
09/30/2019   NR   E-filed                                                                   $125.00       0.50       $62.50
                                     Trial Deadlines

                                                                                             Totals:    151.75    $39,468.75

Expenses

Date         EE   Activity           Description                                               Cost    Quantity    Line Total
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09/18/2019   NR   Software    Everlaw, Inc.                      $383.76            1.0      $383.76

                                                                        Expense Total:       $383.76


                                                                Time Entry Sub-Total:     $39,468.75
                                                                  Expense Sub-Total:        $383.76
                                                                           Sub-Total:     $39,852.51


                                                                               Total:     $39,852.51
                                                                      Amount Paid:             $0.00

                                                                       Balance Due:       $39,852.51
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                                   Balance          $59,104.81
Attn: Accounts Payable                                                             Invoice #        41257
1010 North University Parks Drive
Waco, TX 76707                                                                     Invoice Date     November 4, 2019
                                                                                   Payment Terms    Due on Receipt
                                                                                   Due Date         November 04, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity        Description                                                Rate     Hours   Line Total

10/01/2019   NR   Email           Email to team re: potential witness list.               $125.00      0.25     $31.25

10/01/2019   JD   Emails          Emails with G. Brown re: document review                $375.00      0.25     $93.75

                                  Emails with G. Brown re: documents sent over for
10/01/2019   AM   Emails                                                                  $325.00      0.25     $81.25
                                  review.; Also sent via dropbox to M. Thompson

                  Interoffice     Meeting re: Joint Pretrial Order - local rules and
10/01/2019   AM                                                                           $325.00      0.50    $162.50
                  Conference      expert designation deadline.

                  Interoffice     Meeting re: Joint Pretrial Order - local rules and
10/01/2019   JD                                                                           $375.00      0.50    $187.50
                  Conference      expert designation deadline.

                                  Compiled Document and Email to team and M.
10/01/2019   EJ   Miscellaneous                                                           $375.00      1.25    $468.75
                                  Thompson re: dropbox link to production

10/01/2019   AM   Worked          Worked on Pretrial Disclosure.                          $325.00      0.50    $162.50

                  Interoffice
10/01/2019   NR                   Meeting re: Joint Pretrial Order - local rules          $125.00      0.25     $31.25
                  Conference

                  Interoffice     Meeting re: Joint Pretrial Order - local rules and
10/01/2019   MD                                                                           $125.00      0.50     $62.50
                  Conference      expert designation deadline.

                                  Email to LE re: Notice of Trial Witnesses; Email to
10/02/2019   JD   Emails          EJ re: List of Exhibits for Joint Pre-trial Order;      $375.00      0.25     $93.75
                                  Email to G. Brown re: Notice of Trial Witnesses

                  Interoffice     Interoffice conference re: FOF and COL and Exhibit
10/02/2019   AM                                                                           $325.00      1.25    $406.25
                  Conference      List. Performed research re: the same.

                  Interoffice     Interoffice conference re: FOF and COL and exhibit
10/02/2019   JD                                                                           $375.00      0.75    $281.25
                  Conference      list

                  Interoffice
10/02/2019   NR                   Interoffice conference re: exhibit list.                $125.00      0.25     $31.25
                  Conference
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                  Interoffice
10/02/2019   EJ   Conference        Interoffice conference re: exhibit list                 $125.00   0.25     $31.25


                  Documents         Email with JD re: Pretrial Documents; Drafting of
10/02/2019   LE                                                                             $125.00   0.75     $93.75
                  Prepared          same

                  Interoffice       Interoffice conference re: FOF and COL and exhibit
10/02/2019   MD                                                                             $125.00   0.25     $31.25
                  Conference        list

10/03/2019   NR   Emails            Emails with C. Smith re: "Will Call" lists              $125.00   0.25     $31.25

                                    Emails with G. Brown re: meeting to discuss
10/03/2019   JD   Emails                                                                    $375.00   0.25     $93.75
                                    witness and exhibit lists

                                    Email and Phone Conference with V. Johnson re:
10/03/2019   AM   Correspondence                                                            $325.00   0.75    $243.75
                                    proposed findings of fact and conclusions of law

                  Interoffice
10/03/2019   AM                     Interoffice conference re: exhibit list.                $325.00   0.25     $81.25
                  Conference

                                    Drafted and worked on Proposed Findings of Fact.
10/03/2019   AM   Draft                                                                     $325.00   2.50    $812.50
                                    Performed legal research regarding the same.

                                    Interoffice conference re: Motion for Contempt
                  Interoffice
10/03/2019   AM                     ruling and Proposed FOF and COL; review of the          $325.00   0.75    $243.75
                  Conference
                                    same

                                    Review Documents and Compile Exhibit List;
10/03/2019   EJ   Miscellaneous                                                             $250.00   3.50    $875.00
                                    Interoffice conference re: same.

                                    Interoffice conference re: Contempt ruling and FOF
                  Interoffice
10/03/2019   JD                     and COL; Review of same; Phone Conference with          $375.00   2.00    $750.00
                  Conference
                                    V. Johnson re: Same

                  Documents         Reviewed files to compile exhibits; Interoffice
10/03/2019   NR                                                                             $125.00   2.25    $281.25
                  Prepared          conference re: Same

                                    Interoffice conference re: Motion for Contempt
                  Interoffice
10/03/2019   MD                     ruling and Proposed FOF and COL; review of the          $125.00   0.50     $62.50
                  Conference
                                    same

                                    Emails with V. Johnson re: revisions to proposed
10/04/2019   JD   Emails                                                                    $375.00   0.25     $93.75
                                    findings of fact and conclusions of law

10/04/2019   AM   Emails            Emails with V. Johnson re: exhibit list                 $325.00   0.25     $81.25

                  Drafted and       Researched, edited, and proofed Pre-Trial
10/04/2019   MD                                                                             $125.00   5.75    $718.75
                  Proofread         Disclosure

                  Interoffice       Interoffice conference with EJ re: exhibits. Review
10/04/2019   AM                                                                             $325.00   0.75    $243.75
                  Conference        of the Court's instructions re: exhibits.

                                    Reviewed and edited Findings of Fact. Interoffice
                                    conference with JD re: the same. Made edits to
                                    Findings of Fact. Drafted Pretrial Disclosures.
10/04/2019   AM   Document Review                                                           $325.00   6.75   $2,193.75
                                    Finalized and filed Pretrial Disclosures, Witness
                                    List., Exhibit List, and Findings of Fact; Email with
                                    Client re: Same

                  Interoffice
10/04/2019   EJ                     Interoffice conference with AM re: exhibits.            $125.00   0.50     $62.50
                  Conference

                                    Reviewed and edited Findings of Fact, Pretrial
10/04/2019   JD   Miscellaneous     Disclosures, Witness List. and Exhibit List;            $375.00   5.75   $2,156.25
                                    Interoffice conferences re: Same

10/07/2019   NR   Emails            Emails with C. Smith re: teleconference                 $125.00   0.25     $31.25
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                                    Email to Dwyer team re: reschedule of prep
10/07/2019   JD   Email                                                                   $375.00   0.25    $93.75
                                    session, trial binder and brief.

                                    Emails with S. Keppler re: bates numbered
10/08/2019   JD   Emails                                                                  $375.00   0.25    $93.75
                                    documents and objections

                                    Email from K. Hoffman re: List of Exhibits bates
10/08/2019   JD   Email                                                                   $375.00   0.25    $93.75
                                    stamped

                  Documents
10/08/2019   NR                     Properly label and numbering of Trial Exhibits        $125.00   2.25   $281.25
                  Prepared

                  Interoffice       Interoffice conference re: pretrial, trial, and
10/08/2019   AM                                                                           $325.00   0.50   $162.50
                  Conference        objections.

                  Interoffice       Interoffice conference re: pretrial, trial, and
10/08/2019   JD                                                                           $375.00   2.00   $750.00
                  Conference        objections; Work on file re: Same

                                    Review Bates identification of Defendant's exhibits
10/08/2019   EJ   Document Review                                                         $125.00   1.50   $187.50
                                    and compiling of same

                  Interoffice       Interoffice conference re: pretrial, trial, and
10/08/2019   NR                                                                           $125.00   0.75    $93.75
                  Conference        objections.

                  Interoffice       Interoffice conference re: pretrial, trial, and
10/08/2019   MD                                                                           $125.00   0.25    $31.25
                  Conference        objections.

                  Interoffice
10/09/2019   AM                     Meeting with EJ re: Witness list                      $325.00   0.25    $81.25
                  Conference

                  Interoffice
10/09/2019   EJ                     Meeting with AM re: Witness list                      $325.00   0.25    $81.25
                  Conference

10/10/2019   EJ   Email             Email to team re: list of exhibits                    $375.00   0.25    $93.75

                  Interoffice
10/10/2019   AM                     Meeting re: filings due                               $325.00   0.25    $81.25
                  Conference

                  Interoffice
10/10/2019   JD                     Meeting re: filings due                               $375.00   0.25    $93.75
                  Conference

                                    Email to Dwyer team re: copies of documents not
10/10/2019   JD   Email                                                                   $375.00   0.25    $93.75
                                    bates stamped

                  Interoffice
10/10/2019   NR                     Meeting re: filings due                               $125.00   0.25    $31.25
                  Conference

                  Interoffice
10/10/2019   MD                     Meeting re: filings due                               $125.00   0.25    $31.25
                  Conference

10/11/2019   AM   Email             Email to team re: edits to Objections to Exhibits     $325.00   0.25    $81.25

                                    Emails with V. Johnson re: edits to objection to
10/11/2019   JD   Emails                                                                  $375.00   0.25    $93.75
                                    exhibits.

10/11/2019   JD   Emails            Emails with S. Keppler re: exhibit list               $375.00   0.25    $93.75

                  Documents         Review, compile, and rename Exhibits for Trial;
10/11/2019   NR                                                                           $125.00   2.75   $343.75
                  Prepared          Interoffice conference re: Same

                  Interoffice
10/11/2019   JD                     Interoffice conference re: Exhibits for Trial.        $375.00   0.50   $187.50
                  Conference

                                    Emails with G. Brown re: hearing cancelled and
10/15/2019   NR   Emails                                                                  $125.00   0.25    $31.25
                                    prep session.; Emails with C. Smith re: same

                  Interoffice
10/15/2019   JD                     Meeting with AM re: Discovery.                        $375.00   0.25    $93.75
                  Conference

                  Interoffice
10/15/2019   AM                     Meeting with JD re: Discovery.                        $325.00   0.25    $81.25
                  Conference
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10/15/2019   JD   Email             Email to S. Keppler re: statement                        $375.00   0.25     $93.75

                  Documents
10/16/2019   NR                     Finalize Trial Exhibits and Delivery to the Court        $125.00   1.75    $218.75
                  Prepared

                                    Preparation for and Meeting with Client re: Trial
10/16/2019   NR   Meeting           Prep                                                     $125.00   1.50    $187.50


                                    Preparation for and Meeting with Client re: Trial
10/16/2019   JD   Meeting                                                                    $375.00   1.50    $562.50
                                    Prep

                  Interoffice
10/16/2019   AM                     Interoffice conference re: trial prep.                   $325.00   0.25     $81.25
                  Conference

                                    Reviewed Predictive's objections to exhibits and
10/16/2019   AM   Review                                                                     $325.00   2.00    $650.00
                                    performed legal research re: evidence.

                  Interoffice
10/16/2019   JD                     Interoffice conference re: trial prep.                   $375.00   0.25     $93.75
                  Conference

10/16/2019   AM   Email             Email to G. Brown re: updated witness list               $325.00   0.25     $81.25

10/16/2019   JD   Emails            Emails with V. Johnson re: trial                         $375.00   0.25     $93.75

                  Interoffice
10/16/2019   NR                     Interoffice conference re: trial prep.                   $125.00   0.25     $31.25
                  Conference

10/16/2019   JD   Research          Review file and preform research re Trial                $375.00   2.00    $750.00

                  Interoffice       Interoffice conference re: trial prep; Review file re:
10/16/2019   MD                                                                              $125.00   0.75     $93.75
                  Conference        Same

10/17/2019   JD   Emails            Emails with A. Bleiman re: payment of invoice            $375.00   0.25     $93.75

                  Interoffice
10/17/2019   JD                     Meeting with AM re: Discovery.                           $375.00   0.25     $93.75
                  Conference

                  Interoffice
10/17/2019   AM                     Meeting with JD re: Discovery.                           $325.00   0.25     $81.25
                  Conference

10/17/2019   JD   Document Review   Review documents and prepare for trial                   $375.00   4.75   $1,781.25

                                    Worked on trial prep. Meeting with JD/NR re: the
10/18/2019   AM   Worked                                                                     $325.00   1.25    $406.25
                                    same.

                                    Research for attorneys' fees/expert designation and
10/18/2019   AM   Research          local rules for trial. Interoffice conference with JD    $325.00   0.50    $162.50
                                    re: the same.

                  Interoffice
10/18/2019   JD                     Interoffice conference with AM/NR re: trial prep.        $375.00   0.75    $281.25
                  Conference

                                    Interoffice conference with AM re:
                  Interoffice
10/18/2019   JD                     attorneys'fees/expert deposition and local rules for     $375.00   0.75    $281.25
                  Conference
                                    trial.

                  Interoffice
10/18/2019   NR                     Interoffice conference with AM/JD re: trial prep.        $125.00   0.75     $93.75
                  Conference

                  Document Review   Preparing exhibits for trial; Creating binders re:
10/18/2019   NR                                                                              $125.00   3.75    $468.75
                  & Compilation     same

                                    Emails with A. Bleiman re: deficiencies in
10/18/2019   JD   Emails                                                                     $375.00   0.50    $187.50
                                    statement

                                    Emails with V. Johnson re: items to prove up with
10/18/2019   JD   Emails                                                                     $375.00   0.25     $93.75
                                    fact witnesses

                  Hearing
10/18/2019   JD                     Document review and Trial Preparation.                   $375.00   3.25   $1,218.75
                  Preparation
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10/19/2019   JD   Document Review   Review documents for trial; prepare trial strategy.    $375.00         6.25     $2,343.75

                  Hearing
10/20/2019   JD                     Document review and trial preparation.                 $375.00        11.00     $4,125.00
                  Preparation

                  Hearing
10/20/2019   NR                     Trial Preparation.                                     $125.00         8.00     $1,000.00
                  Preparation

                  Hearing
10/20/2019   AM                     Prepped for trial; Legal research re: the same.        $325.00        11.00     $3,575.00
                  Preparation

                  Hearing
10/20/2019   MD                     Trial Preparation                                      $125.00        10.00     $1,250.00
                  Preparation

10/21/2019   AM   Hearing           Attendance at trial; meetings re: the same.            $325.00        11.50     $3,737.50

10/21/2019   MD   Hearing           Attendance at trial; meetings re: the same.            $125.00        10.50     $1,312.50

10/21/2019   NR   Hearing           Preparation and attending Bench Trial.                 $125.00        11.50     $1,437.50

10/21/2019   JD   Hearing           Preparation for and attending Bench Trial.             $375.00        12.50     $4,687.50

10/22/2019   AM   Hearing           Attendance at trial; meetings re: the same.            $325.00        10.50     $3,412.50

10/22/2019   MD   Hearing           Attendance at trial; meetings re: the same.            $125.00        10.50     $1,312.50

10/22/2019   JD   Hearing           Preparation for and attending Bench Trial.             $375.00        11.50     $4,312.50

10/22/2019   NR   Hearing           Preparation for and attending Bench Trial              $125.00        10.00     $1,250.00

                                    Emails with S. Keppler re: Amended Findings of
10/22/2019   AM   Emails            Fact & Conclusions of Law and due date; emails         $325.00         0.25       $81.25
                                    with A. Bleiman re: same

                                    Emails with S. Keppler re: Amended Findings of
10/22/2019   JD   Email                                                                    $375.00         0.25       $93.75
                                    Fact & Conclusions of Law and due date

                                    Email from A. Bleiman re: date for submission of
10/24/2019   JD   Email                                                                    $375.00         0.25       $93.75
                                    Amended Findings of Fact & Conclusions of Law

                                    Emails with Court Reporter re: Clarification of
10/29/2019   NR   Email                                                                    $125.00         0.25       $31.25
                                    Testimony

                                                                                            Totals:      220.00    $56,925.00

Expenses

Date         EE   Activity          Description                                               Cost      Quantity    Line Total

10/16/2019   NR   Binder            Trial Binders                                           $22.50           5.0     $112.50

10/28/2019   NR   Transcript        Trial Transcript                                      $1,604.80          1.0    $1,604.80

10/28/2019   NR   Software          Everlaw, Inc database                                  $383.76           1.0     $383.76

10/28/2019   NR   Research          TLO Search: Carla Bainbridge                            $11.25           1.0      $11.25

10/28/2019   NR   Research          TLO Search: Carla Rutt Bain-Bridge                      $11.25           1.0      $11.25

10/28/2019   NR   Research          TLO: Predictive Profiles                                $11.25           1.0      $11.25

                                    TLO: Predictive Profiles Comprehensive Business
10/28/2019   NR   Research                                                                  $45.00           1.0      $45.00
                                    Report

                                                                                                  Expense Total:    $2,179.81
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                                                    Time Entry Sub-Total:   $56,925.00
                                                      Expense Sub-Total:     $2,179.81
                                                              Sub-Total:    $59,104.81


                                                                   Total:   $59,104.81
                                                          Amount Paid:           $0.00

                                                           Balance Due:     $59,104.81
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                             Balance              $13,162.51
Attn: Accounts Payable                                                       Invoice #            41298
1010 North University Parks Drive
Waco, TX 76707                                                               Invoice Date         December 3, 2019
                                                                             Payment Terms        Due on Receipt
                                                                             Due Date             December 03, 2019



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
November 01, 2019 and November 30, 2019

Time Entries

Date         EE   Activity      Description                                                Rate     Hours   Line Total

                                Email to S. Keppler re: hearing date and motion for
11/01/2019   JD   Email                                                                 $375.00      0.25     $93.75
                                North's expenses.

                                Emails with A. Bleiman re: dates for amended
11/04/2019   JD   Emails                                                                $375.00      0.25     $93.75
                                Findings of Fact and Conclusions of Law

                  Documents     Research and Draft Motion for North Expert Fees;
11/04/2019   JD                                                                         $375.00      1.50    $562.50
                  Prepared      Meeting with AM re: Same

                  Interoffice
11/04/2019   AM                 Meeting with JD re: Motion for North Expert Fees        $325.00      0.25     $81.25
                  Conference

                                Emails with V. Johnson re: Findings and
11/04/2019   JD   Emails                                                                $375.00      0.25     $93.75
                                Conclusions

                                Began draft of Amended Findings of Fact; Review
                  Documents
11/05/2019   JD                 Trial Transcript re: Same; Interoffice conference re:   $375.00      4.25   $1,593.75
                  Prepared
                                Same

                  Interoffice   Interoffice conference re: Amended Findings of
11/05/2019   NR                                                                         $125.00      0.25     $31.25
                  Conference    Fact

                  Interoffice
11/05/2019   JD                 Meeting with AM re: findings                            $375.00      0.25     $93.75
                  Conference

                  Interoffice
11/05/2019   AM                 Meeting with JD re: findings                            $325.00      0.25     $81.25
                  Conference

                  Interoffice   Interoffice conference with JD re: Amended
11/05/2019   AM                                                                         $325.00      0.25     $81.25
                  Conference    Findings of Fact.

                  Interoffice   Interoffice conference with AM re: Amended
11/05/2019   JD                                                                         $375.00      0.25     $93.75
                  Conference    Findings of Fact.
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11/06/2019   AM   Interoffice       Interoffice conference with JD re: Amended              $325.00           0.25
                  Conference        Findings of Fact.                                                                     $81.25


                  Interoffice       Interoffice conference with JD re: Amended Filings
11/06/2019   JD                                                                             $375.00           0.25        $93.75
                  Conference        of Fact.

                                    Discussion and correspondence with V. Johnson
11/07/2019   JD   Correspondence                                                            $375.00           0.25        $93.75
                                    re: Findings and Conclusions

                                    Discussion and correspondence with V. Johnson
11/08/2019   JD   Correspondence                                                            $375.00           0.25        $93.75
                                    re: draft

                                    (Intern AS) Research re: Transcript Summary;
11/11/2019   LE   Review                                                                    $125.00           3.25       $406.25
                                    Interoffice conference re: Same

                  Interoffice       Interoffice conference re: Same; Review Transcript
11/11/2019   JD                                                                             $375.00           0.75       $281.25
                  Conference        Summary re: Same

                  Interoffice
11/12/2019   AM                     Interoffice conference with JD re: Findings of Fact     $325.00           0.25        $81.25
                  Conference

                  Interoffice       Interoffice conference with Intern re: Findings of
11/12/2019   AM                                                                             $325.00           0.25        $81.25
                  Conference        Fact.

                  Interoffice
11/12/2019   JD                     Interoffice conference with AM re: Findings of Fact.    $375.00           0.25        $93.75
                  Conference

11/12/2019   LE   Research          Research re: FOF/COL.                                   $125.00           3.25       $406.25

                                    Discussion and correspondence with S. Keppler re:
11/19/2019   JD   Correspondence                                                            $375.00           0.25        $93.75
                                    agreed date; NR will advise court

11/19/2019   JD   Document Review   Review FOF/COL; Interoffice conference re: Same         $375.00           1.75       $656.25

11/30/2019   LE   Worked            (Intern AS) Worked on FOF/COL.                          $125.00           7.25       $906.25

                                                                                             Totals:         26.25     $6,268.75

Expenses

Date         EE   Activity          Description                                                Cost        Quantity    Line Total

11/04/2019   NR   Expert Fee        Charles M. North                                       $6,510.00            1.0    $6,510.00

11/25/2019   NR   Software          Everlaw, Inc                                            $383.76             1.0      $383.76

                                                                                                   Expense Total:      $6,893.76


                                                                                           Time Entry Sub-Total:       $6,268.75
                                                                                             Expense Sub-Total:        $6,893.76
                                                                                                       Sub-Total:     $13,162.51


                                                                                                           Total:     $13,162.51
                                                                                                 Amount Paid:              $0.00

                                                                                                  Balance Due:        $13,162.51
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                                     Balance           $12,921.26
Attn: Accounts Payable                                                               Invoice #         41353
1010 North University Parks Drive
Waco, TX 76707                                                                       Invoice Date      December 30, 2019
                                                                                     Payment Terms     Due on Receipt
                                                                                     Due Date          December 30, 2019



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity              Description                                             Rate      Hours   Line Total

                  Interoffice           Interoffice conference with JD re: Amended
12/02/2019   AM                                                                              $325.00       0.25     $81.25
                  Conference            Findings.

                  Interoffice           Interoffice conference with AM re: Amended
12/02/2019   JD                                                                              $375.00       0.25     $93.75
                  Conference            Findings.

12/02/2019   AM   Worked                Worked on Amended Findings.                          $325.00       3.00    $975.00

                                        Discussion and correspondence with V. Johnson
12/03/2019   JD   Correspondence                                                             $375.00       0.25     $93.75
                                        re: transcript

                                        Discussion and correspondence with V. Johnson
12/04/2019   JD   Correspondence                                                             $375.00       0.25     $93.75
                                        re: draft of findings of fact

                  Interoffice           Meeting with AM re: edits to Amended Findings of
12/04/2019   JD                                                                              $375.00       0.25     $93.75
                  Conference            Fact

                  Interoffice           Meeting with JD re: edits to Amended Findings of
12/04/2019   AM                                                                              $325.00       0.25     $81.25
                  Conference            Fact

                                        Proofread and edited findings of fact and
12/04/2019   JD   Edits and Proofread                                                        $375.00       2.25    $843.75
                                        conclusions of law

                                        Discussion and correspondence with J. Klein re:
12/05/2019   JD   Correspondence                                                             $375.00       0.25     $93.75
                                        deadline extension

                                        Proofread and edited findings of fact and
12/05/2019   JD   Edits and Proofread                                                        $375.00       0.50    $187.50
                                        conclusions of law

                                        Worked on Amended Findings of Fact and
12/05/2019   AM   Worked                Conclusions of Law. incorporated VJ's edits.         $325.00       3.00    $975.00
                                        Interoffice conference with JD re the same.

                  Interoffice           Interoffice conference with AM re: Amended
12/05/2019   JD                                                                              $375.00       0.50    $187.50
                  Conference            Findings of Fact and Conclusions of Law.

                  Interoffice           Meeting with JD re: updated draft of amended
12/06/2019   AM                                                                              $325.00       0.25     $81.25
                  Conference            proposed findings of fact
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                  Interoffice           Meeting with AM re: updated draft of amended
12/06/2019   JD                                                                               $375.00         0.25       $93.75
                  Conference            proposed findings of fact

                                        Discussion and correspondence with G. Brown re:
12/06/2019   JD   Correspondence                                                              $375.00         0.25       $93.75
                                        edits to draft of proposed findings and conclusions

                                        Proofread and edited findings of fact and
12/06/2019   JD   Edits and Proofread                                                         $375.00         1.75      $656.25
                                        conclusions of law

                                        Reviewed and edited Amended Findings of Fact
12/06/2019   AM   Review                and Conclusions of Law. Interoffice conferences       $325.00         1.00      $325.00
                                        with JD/NR re: the same.

                  Interoffice           Interoffice conferences with AM/NR re: Amended
12/06/2019   JD                                                                               $375.00         0.25       $93.75
                  Conference            Findings of Fact and Conclusions of Law.

                  Interoffice           Interoffice conferences with AM/JD re: Amended
12/06/2019   NR                                                                               $125.00         0.25       $31.25
                  Conference            Findings of Fact and Conclusions of Law.

                                        Proofread and edited Findings of Fact and
12/07/2019   JD   Edits and Proofread                                                         $375.00         2.50      $937.50
                                        Conclusions of Law

                                        Proofread and edited Findings of Fact and
12/08/2019   JD   Edits and Proofread                                                         $375.00         5.75     $2,156.25
                                        Conclusions of Law

                                        Discussion and correspondence with V. Johnson
12/09/2019   AM   Correspondence                                                              $325.00         0.25       $81.25
                                        re: edits to Findings of Fact

                  Interoffice
12/09/2019   JD                         Meetings re: Amended Findings                         $375.00         0.75      $281.25
                  Conferences

                  Interoffice
12/09/2019   NR                         Meetings re: Amended Findings                         $125.00         0.75       $93.75
                  Conferences

                  Interoffice
12/09/2019   AM                         Meetings re: Amended Findings                         $325.00         0.75      $243.75
                  Conferences

                                        Discussion and correspondence with G. Brown re:
12/09/2019   JD   Correspondence                                                              $375.00         0.25       $93.75
                                        edits to Amended proposed Findings of Fact

                                        Review, Edit, and Finalized Amended Findings of
12/09/2019   JD   Edits and Proofread                                                         $375.00         3.25     $1,218.75
                                        Fact

                                        Review, Edit, Compile Citations, Finalize and File
12/09/2019   NR   Edits and Proofread                                                         $125.00         6.75      $843.75
                                        Amended Findings of Fact

                                        Reviewed and edited Amended Findings of Fact.
12/09/2019   AM   Review                                                                      $325.00         3.00      $975.00
                                        Phone call with VJ re: the same.

                  Interoffice
12/09/2019   MD                         Meeting re: Amended Findings                          $275.00         0.50      $137.50
                  Conferences

12/09/2019   MD   Edits and Proofread Review and Edit Amended Findings of Fact                $275.00         0.75      $206.25

                                        Discussion and correspondence with G. Brown re:
12/10/2019   JD   Correspondence                                                              $375.00         0.25       $93.75
                                        Amended Findings of Fact and Conclusion of Law

                                                                                               Totals:       40.50    $12,537.50

Expenses

Date         EE   Activity              Description                                              Cost      Quantity    Line Total

12/27/2019   NR   Software              Everlaw                                               $383.76           1.0     $383.76

                                                                                                     Expense Total:     $383.76
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                                                   Time Entry Sub-Total:   $12,537.50
                                                     Expense Sub-Total:      $383.76
                                                             Sub-Total:    $12,921.26


                                                                  Total:   $12,921.26
                                                         Amount Paid:           $0.00

                                                          Balance Due:     $12,921.26
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                                 Balance               $971.26
Attn: Accounts Payable                                                           Invoice #             41415
1010 North University Parks Drive
Waco, TX 76707                                                                   Invoice Date          February 7, 2020
                                                                                 Payment Terms         Due on Receipt
                                                                                 Due Date              February 07, 2020



Protradenet LLC v. Predictive Profiles, Inc.


Time Entries

Date         EE   Activity         Description                                              Rate          Hours   Line Total

                                   Emails Court re: FoF and CoL in word Format;
01/15/2020   AM   Correspondence                                                        $325.00            0.75    $243.75
                                   Interoffice conference re: Same

                  Interoffice      Interoffice conference re: Email from Court re FoF
01/15/2020   JD                                                                         $375.00            0.75    $281.25
                  Conference       and CoL

                  Interoffice      Interoffice conference re: Email from Court re FoF
01/15/2020   NR                                                                         $125.00            0.50     $62.50
                  Conference       and CoL

                                                                                          Totals:          2.00    $587.50

Expenses

Date         EE   Activity         Description                                              Cost       Quantity   Line Total

01/29/2020   NR   Software         Everlaw                                              $383.76             1.0    $383.76

                                                                                                Expense Total:     $383.76


                                                                                        Time Entry Sub-Total:      $587.50
                                                                                          Expense Sub-Total:       $383.76
                                                                                                    Sub-Total:     $971.26


                                                                                                        Total:     $971.26
                                                                                              Amount Paid:           $0.00

                                                                                               Balance Due:        $971.26
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DUNNAM & DUNNAM, L.L.P
4125 West Waco Drive
Waco, TX 76710
United States
(254) 753-6437




Neighborly f/k/a The Dwyer Group                                                     Balance         $5,456.25
Attn: Accounts Payable                                                               Invoice #       41451
1010 North University Parks Drive
Waco, TX 76707                                                                       Invoice Date    March 2, 2020
                                                                                     Payment Terms   Due on Receipt
                                                                                     Due Date        March 02, 2020



Protradenet LLC v. Predictive Profiles, Inc.

For services rendered between
February 01, 2020 and February 19, 2020

Time Entries

Date         EE   Activity         Description                                              Rate     Hours   Line Total

                                   Discussion and correspondence with V. Johnson
02/04/2020   JD   Correspondence   re: injunction language; Interoffice conference re:   $375.00      0.25     $93.75
                                   Same

                  Interoffice
02/04/2020   AM                    Meeting re: injunction language                       $325.00      0.25     $81.25
                  Conference

                                   Discussion and correspondence with client re:
02/07/2020   JD   Correspondence                                                         $375.00      0.25     $93.75
                                   proposed final judgment

                                   Preform research re: Bill of Cost; Interoffice
02/10/2020   NR   Research                                                               $125.00      0.25     $31.25
                                   conference re: Same

                  Interoffice      Interoffice conference re: Bill of Costs and
02/10/2020   JD                                                                          $375.00      0.50    $187.50
                  Conference       Injunction language

                                   Discussion and correspondence with V. Johnson
02/10/2020   AM   Correspondence   re: injunction language; Interoffice conference re:   $325.00      0.25     $81.25
                                   Same

                  Interoffice      Interoffice conference re: Proposed Judgment;
02/11/2020   NR                                                                          $125.00      0.25     $31.25
                  Conference       Reviewing of same

                  Interoffice      Interoffice conference re: Proposed Judgment;
02/11/2020   JD                                                                          $375.00      0.50    $187.50
                  Conference       Reviewing of same

                                   Discussion and correspondence with client re:
02/11/2020   JD   Correspondence                                                         $375.00      0.25     $93.75
                                   domain names

                                   Discussion and Correspondence with Client re:
02/12/2020   NR   Miscellaneous    Proposed Judgment; Interoffice conference re:         $125.00      0.50     $62.50
                                   Domains and Proposed Judgment
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                                    Discussion and correspondence with client re:
02/12/2020   JD   Correspondence    Judgment; Interoffice conference re: Same and        $375.00           0.50     $187.50
                                    Domains


                  Interoffice       Interoffice conference re: Domain names and
02/12/2020   AM                                                                          $325.00           0.25      $81.25
                  Conference        Proposed Judgment

                                    Correspondence with V. Johnson re: Domain
02/12/2020   NR   Correspondence                                                         $125.00           0.25      $31.25
                                    names

                                    Interoffice conferences re: Proposed Judgment;
02/13/2020   NR   Miscellaneous     Review and Edit Same; Draft Notice of Filing         $125.00           2.50     $312.50
                                    Proposed Judgment; E-Filing of Same

                                    Discussion and correspondence with V. Johnson
02/13/2020   JD   Correspondence                                                         $375.00           0.25      $93.75
                                    re: Domain names

                                    Interoffice conference re: Proposed Judgment;
02/13/2020   JD   Miscellaneous     Review and Edit Same; Discussion and                 $375.00           5.25   $1,968.75
                                    Correspondence with Client re: Same

                                    Discussion and correspondence with V. Johnson
02/13/2020   AM   Correspondence                                                         $325.00           0.25      $81.25
                                    re: FoF and Judgment

                                    Interoffice conference re: Proposed Judgment;
02/13/2020   AM   Miscellaneous                                                          $325.00           3.75   $1,218.75
                                    Review and Edit Same

                  Interoffice
02/19/2020   NR                     Interoffice conference re: Amended Findings          $125.00           0.25      $31.25
                  Conference

02/19/2020   JD   Correspondence    Correspondence with Counsel re: Court 's findings    $375.00           0.25      $93.75

                                    Review and Download Final Judgment; Interoffice
02/19/2020   NR   Document Review                                                        $125.00           0.50      $62.50
                                    conference re: Same

                                    Review Final Judgment; Interoffice conference re:
02/19/2020   AM   Document Review                                                        $325.00           0.50     $162.50
                                    Same

                                    Review Final Judgment; Interoffice conference re:
02/19/2020   JD   Document Review                                                        $375.00           0.50     $187.50
                                    Same

                                                                                          Totals:         18.25   $5,456.25


                                                                                        Time Entry Sub-Total:     $5,456.25
                                                                                                    Sub-Total:    $5,456.25


                                                                                                        Total:    $5,456.25
                                                                                              Amount Paid:            $0.00

                                                                                               Balance Due:       $5,456.25
